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                     Exhibit 4
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                                 UNITED STATES DISTRICT COURT
6
                                SOUTHERN DISTRICT OF NEW YORK
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8    HERMÈS INTERNATIONAL and                 CASE NO. 1:22-cv-00384-JSR
9    HERMÈS OF PARIS, INC.,
10
                  Plaintiffs,
11   v.                                      EXPERT REPORT SUBMITTED BY
12                                           DR. BRUCE ISAACSON MEASURING THE
     MASON ROTHSCHILD,                       LIKELIHOOD OF CONFUSION BETWEEN
13                                           METABIRKINS AND BIRKIN HANDBAGS
14                Defendant.
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1                                                Exhibits

2

3    Exhibit 1: Dr. Bruce Isaacson CV and Testimony Experience

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8    Exhibit 6: Questionnaire for Interviews Conducted Among NFT Purchasers

9    Exhibit 7: Terminations and Removals for Interviews Conducted Among NFT Purchasers

10   Exhibit 8: Cross Tabulation Tables for Interviews Conducted Among NFT Purchaserss

11   Exhibit 9: Questionnaire for Interviews Conducted Among Handbag Purchasers

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1    1.        I have been retained by attorneys representing the Plaintiff in this matter, Hermès

2    International and Hermès of Paris, Inc. (“Hermès”). This report provides the results of surveys I

3    conducted measuring the likelihood of confusion between Birkin bags from Hermès and

4    MetaBirkins NFTs, which are sold by the Defendant, Mason Rothschild.

5    2.        The opinions expressed in this report are based on materials I reviewed, research I

6    conducted, and my experience. All aspects of my surveys were designed and carried out by me

7    personally or under my direct supervision. I reserve the right to supplement this report in light

8    of ongoing discovery in this matter.

9

10   Overview of My Likelihood of Confusion Surveys

11   3.        Hermès alleges that Mr. Rothschild “is stealing the goodwill in Hermès’ famous

12   intellectual property to create and sell his own collection of NFT products and run a business

13   that promotes speculation in NFTs.”1 Mr. Rothschild sells digital products in the form of non-

14   fungible tokens (“NFTs”)2 that he calls METABIRKINS, and that Hermès alleges include “nearly

15   indistinguishable blurry images of BIRKIN handbags with minor differences in style and color.”3

16   4.        Hermès also asserts that the NFTs from Mr. Rothschild “simply rips off Hermès’ famous

17   BIRKIN trademark by adding the generic prefix ‘meta’ to the famous trademark BIRKIN,” 4 and

18   that confusion is likely because the NFTs “point to images that reflect the distinctive design of

19   the BIRKIN handbag.”5 Hermès alleges that Mr. Rothschild is trying to “create the same kind of

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     1
         Amended Complaint, dated March 2, 2022, ¶ 11.
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     2
       NFTs are digital files whose ownership and/or transaction records are stored in a decentralized manner
22   using a public ledger called the blockchain. On the blockchain, records of ownership are clear, even if
     the item is digital rather than tangible, so tokens like those Mr. Rothschild sells are “non-fungible”—that
23   is, not interchangeable. Vanier, Rachel. “Blockchain explained to your grandparents.” Medium,
     September 17, 2018, https://medium.com/station-f/blockchain-explained-to-your-grandparents-
24
     c7fe71a9a339, last accessed July 19, 2022. See also Amended Complaint, ¶ 4: “NFTs can be created to
25   transfer ownership of any physical thing or digital media, including an actual handbag or the image of a
     handbag.”
26   3
         Amended Complaint, ¶ 78.
27   4
         Amended Complaint, ¶ 2.
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28       Amended Complaint, ¶ 14.

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1    illusion that [the BIRKIN handbag] has in real life as a digital commodity,”6 swapping “’real life’

2    rights for ‘virtual rights’,”7 which will “ultimately preempt Hermès’ ability to offer products and

3    services in virtual marketplaces that are uniquely associated with Hermès and meet Hermès’

4    quality standards.”8

5    5.         My surveys measured the likelihood of confusion, if any, between the MetaBirkins

6    NFTs, sold by Mr. Rothschild, and Hermès, including the Birkin handbag. Specifically, my

7    surveys measured the likelihood of confusion associated with the NFTs using elements related

8    to Hermès’ marks, including “the famous BIRKIN Mark and HERMÈS Mark,” and the “mark for

9    the BIRKIN handbag’s distinctive design.”9

10   6.         As described in this report, I measured likelihood of confusion using the Eveready

11   format, which is a well-accepted format for measuring likelihood of confusion.10 For example,

12   McCarthy on Trademarks and Unfair Competition refers to Eveready as a “now-standard survey

13   format.”11 The Eveready format is commonly used, particularly with regard to well-known

14   marks. In this matter, Hermès asserts that the name and likeness of its Birkin handbag is

15   “famous”12 and “iconic,”13 and also that the “distinctive shape and notoriety of the BIRKIN

16   handbag has been judicially recognized around the world.”14

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         Amended Complaint, ¶ 77.
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     7
         Amended Complaint, ¶ 4.
21   8
         Amended Complaint, ¶ 15.
22   9
         Amended Complaint, ¶ 55.
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23     Swann, Jerre B. “Likelihood of Confusion.” Trademark and Deceptive Advertising Surveys: Law,
     Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann, ABA Publishing, 2012, pp. 62-
24   64.
     11
25     McCarthy, J. Thomas. §32:174 “Survey Formats—Eveready confusion format.” McCarthy on
     Trademarks and Unfair Competition, 4th ed., Thomson Reuters, 2009, p. 1.
26   12
          Amended Complaint, ¶¶ 2, 8, 9, 11, 14, 27, 33, 55, 73, 76, 94, 99, 176.
27   13
          Amended Complaint, ¶ 36.
     14
28        Amended Complaint, ¶ 53.

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1    7.        My surveys measured likelihood of confusion relative to the MetaBirkins webpage,

2    which is located at www.metabirkins.com. This webpage advertises MetaBirkins NFTs, shows

3    pictures and text relating to the NFTs, and provides links to online marketplaces where

4    consumers can purchase the NFTs.15 My surveys showed this webpage to respondents and

5    then asked questions to measure the likelihood of confusion with Hermès and Birkin handbags.

6    8.        The surveys measured two versions of the MetaBirkins webpage. The “test version”

7    measured the MetaBirkins webpage as consumers would encounter this page in the real world.

8    Figure 1 below shows the test webpage, which prominently displays images of 17 MetaBirkins

9    handbags and also describes the MetaBirkins NFTs.

10   9.        The surveys measured the webpage in a desktop format, which showed the webpage as

11   a consumer would see it on a device such as a desktop or laptop computer, and a mobile

12   version, which showed the webpage as a consumer would see it on a device such as a cell

13   phone.

14   10.       Figure 1 shows the desktop format of the MetaBirkins webpage. In this format, when a

15   user scrolls over a MetaBirkins handbag, words appear superimposed over the handbag in a

16   manner that reads “NOT YOUR MOTHER’S BIRKIN” across each row of handbags. My surveys

17   replicated this feature. Figure 2 shows MetaBirkins handbags from the webpage, with and

18   without these words superimposed over the handbags. Exhibit 2 shows the test webpage and

19   test handbags displayed in the surveys, in both desktop and mobile versions.

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28        Amended Complaint, ¶¶ 6, 18, 24.

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1                                              Figure 1:
          Test Version of the MetaBirkins Webpage Measured in the Confusion Surveys (1 of 2)16
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       Due to space constraints, the MetaBirkins webpage is reproduced across multiple pages of this report.
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     In the actual surveys, consumers saw the webpage as a single image, in a size and format similar to what
28   they would encounter in the real world.

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1                                        Figure 1:
     Test Version of the MetaBirkins Webpage Measured in the Confusion Surveys (2 of 2)
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1                                       Figure 2:
                   Examples of Test Versions of MetaBirkins Handbags
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                     With and Without Superimposed Words (1 of 2)
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              Handbag Without Words                 Handbag With Words
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1                                       Figure 2:
                   Examples of Test Versions of MetaBirkins Handbags
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                     With and Without Superimposed Words (2 of 2)
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              Handbag Without Words                 Handbag With Words
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1    11.     My surveys also measured an altered or “control” version of the MetaBirkins webpage.

2    The measures from any survey can be affected by variables other than those the survey is

3    intended to measure. For example, survey measures may be affected by pre-existing attitudes

4    among respondents, by respondents who are hurried or inattentive, or by other types of

5    “general background noise.”17 A control provides a means to adjust the survey measures for

6    the effect of such extraneous influences and to isolate the effect associated with certain

7    elements,18 which here are the elements of Mr. Rothschild’s webpage and NFTs to which

8    Hermès objects.

9    12.     The control version of the webpage measured in my surveys is similar to the test

10   webpage, but the control alters elements on the MetaBirkins webpage that Hermès claims are

11   likely to cause confusion with Hermès and/or the Birkin handbag. Specifically, the control

12   webpage alters the following elements:

13             i.    Names: For the control, the word “Birkin” was changed to “Handbag”

14                   everywhere it occurred. For example, “NOT YOUR MOTHER’S BIRKIN” on the

15                   test reads “NOT YOUR MOTHER’S HANDBAG” on the control. Similarly,

16                   “MetaBirkins” was changed to “MetaHandbags.” Also, on the control, “Hermès”

17                   was changed to a fictitious control name, “Darcy.”

18             ii.   Shape of the Handbag: For the control, the shape of the handbags was changed

19                   to a shape that is more square, with less tapered sides and a flatter top.

20            iii.   Features on the Handbag: The control removed the padlock on the front of each

21                   handbag. Also, where vertical metallic lines were visible on the test handbags,

22                   the control handbags removed those lines from the front of the handbags.

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26     McCarthy, J. Thomas. § 32:187 “The need for a survey control.” McCarthy on Trademarks and Unfair
     Competition, 5th ed., Thomson Reuters, 2021, p. 32-552.
27   18
       Diamond, Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific
28   Evidence, 3rd ed., National Academies Press, 2011, p. 398.

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1    13.    Figure 3 below shows the control version of the MetaBirkins webpage measured in my

2    surveys, in desktop format. In this format, when a user scrolls over a MetaHandbags handbag,

3    words appear superimposed over the handbag in a manner that reads “NOT YOUR MOTHER’S

4    HANDBAG” across each row of handbags. My control replicated this feature. Figure 4 shows

5    MetaHandbags handbags from the control webpage, with and without these words

6    superimposed over the handbags. Exhibit 2 shows the control webpage and control handbags

7    displayed in the surveys, in both desktop and mobile versions.

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1                                                Figure 3:
          Control Version of the MetaBirkins Webpage Measured in the Confusion Surveys (1 of 2)19
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       Due to space constraints, the control webpage is reproduced across multiple pages of this report. In
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     the actual survey, consumers saw the webpage as a single image, in a size and format similar to what
28   they would encounter in the real world.

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1                                          Figure 3:
     Control Version of the MetaBirkins Webpage Measured in the Confusion Surveys (2 of 2)
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1                                       Figure 4:
                  Examples of Control Versions of MetaBirkins Handbags
2
                     With and Without Superimposed Words (1 of 2)
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              Handbag Without Words                  Handbag With Words
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1                                       Figure 4:
                  Examples of Control Versions of MetaBirkins Handbags
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                     With and Without Superimposed Words (2 of 2)
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              Handbag Without Words                  Handbag With Words
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1    14.     My surveys were conducted online. As described later in this report, I conducted two

2    surveys, involving interviews among two different audiences.

3    15.     The confusion survey conducted among NFT purchasers reflects 201 interviews with

4    respondents 18 years or older who, among other qualification criteria, answered that they are

5    likely to purchase an NFT for either digital artwork or fashion apparel or accessories in the next

6    12 months, and would be willing to spend $2,500 or more on that NFT.

7    16.     The confusion survey conducted among handbag purchasers reflects 164 interviews

8    with respondents 18 years or older who, among other qualification criteria, answered that they

9    are likely to purchase a handbag in the next 12 months, and would be willing to spend $10,000

10   or more on that handbag. As described later in this report, the opinions that I express in this

11   report are based on the survey I conducted among NFT purchasers.20

12   17.     After qualification, respondents in both surveys were randomly assigned to see either

13   the test webpage or the control webpage, but not both webpages. After seeing their assigned

14   webpage, respondents answered questions that measured whether they believed that the

15   items shown on the webpage were made or provided by, or sponsored, authorized, or

16   approved by Hermès or Birkin. As is typical for Eveready surveys, respondents in my surveys

17   were never shown any item from Hermès. They were counted as confused only if, in response

18   to the test or control version of the MetaBirkins webpage they were shown, they mentioned

19   Hermès or Birkin in response to any of the questions that measured confusion. Providing such

20   a response would require that they make a connection in their mind between the MetaBirkins

21   webpage they were shown and Hermès or Birkin.21

22   18.     The following survey questions measured the likelihood of confusion:

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        This report and the Exhibits to this report discuss both surveys, and provide analysis of the data from
24   both surveys. My opinions are based only on the survey conducted among purchasers of NFTs, because
25   that audience corresponds to the commonly accepted audience for a survey measuring forward
     likelihood of confusion. See Swann, Jerre B. “Likelihood of Confusion.” Trademark and Deceptive
26   Advertising Surveys: Law, Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann,
     ABA Publishing, 2012, p. 63.
27   21
       Swann, Jerre B. “Likelihood of Confusion.” Trademark and Deceptive Advertising Surveys: Law,
28   Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann, ABA Publishing, 2012, p. 53.

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1              i.    Question 1 asked, “What company, companies, person, or people do you think

2                    makes or provides the items shown on the webpage?”

3             ii.    Question 3 asked, “Are you aware of any other brands or products made or

4                    provided by whoever makes or provides the items shown on the webpage?” For

5                    those answering yes, Question 4 asked, “What other brands or products do you

6                    think are made or provided by whoever makes or provides the items shown on

7                    the webpage?”

8             iii.   Question 6 asked respondents whether they think that whoever makes or

9                    provides the items shown on the webpage they viewed is or is not sponsored,

10                   authorized, or approved by another company, person or brand. For those who

11                   answered in the affirmative, Question 7 asked, “What other company, person,

12                   or brand do you believe sponsors, authorizes, or approves whoever makes or

13                   provides the items shown on the webpage?”

14   19.    Questions, 2, 5, and 8 asked respondents to explain their answers, asking, “What makes

15   you think that? Please be as specific as possible.”

16   20.    For the confusion survey conducted among NFT purchasers, the database includes 201

17   interviews, with 97 interviews involving test items and 104 involving control items. Across

18   Questions 1, 4, and 7, which measured confusion as to source and confusion as to sponsorship,

19   authorization, or approval, 21 respondents (21.6%) shown the test version of the webpage

20   provided a response that referred to either Hermès or Birkin. Three respondents (2.9%) shown

21   the control webpage provided a response that referred to either Hermès or Birkin.

22   21.    The net percentage, which is calculated as the test measure minus the control measure,

23   is 18.7%, which is calculated as 21.6% minus 2.9%.

24   22.    In my experience, the measures from the survey conducted among NFT purchasers

25   would typically be viewed as indicating a substantial likelihood of confusion between the

26   MetaBirkins webpage and Hermès or Birkin.

27   23.    After providing background information, I will discuss both surveys in more detail.

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1    My Qualifications

2    24.    I am the President of MMR Strategy Group (“MMR”), a marketing research and

3    consulting firm, and am experienced in research, surveys, and marketing. During my career, I

4    have designed, conducted, and analyzed many hundreds of research studies, including many

5    surveys for matters involving intellectual property and false advertising litigation. I have

6    provided testimony, by written report and/or deposition, regarding surveys that I or others

7    conducted in approximately 100 matters.

8    25.    I have testified about surveys in matters before the National Advertising Division of the

9    Better Business Bureau, federal courts, state courts, the Trademark Trial and Appeal Board

10   (TTAB), the U.S. International Trade Commission, the U.S. Court of Federal Claims, and other

11   venues and authorities. Also, I have been retained in at least 22 matters by government

12   agencies, including the U.S. Federal Trade Commission, the U.S. Department of Justice, and

13   the U.S. Patent and Trademark Office.

14   26.    For more than 46 years, MMR Strategy Group has provided marketing research and

15   consulting, consisting primarily of the design, execution, and analysis of thousands of surveys,

16   as well as expertise related to marketing and strategy. I have been President of MMR for

17   more than 16 years. During that time, I have provided marketing research and consulting for

18   such well-known organizations as Farmers Insurance Group, Allstate Insurance, Goodyear Tire

19   & Rubber Company, Nestlé USA, Inc., RE/MAX, Kaplan Test Prep, and other organizations.

20   27.    I have provided these and other companies with advice on topics such as marketing

21   products and services, managing and growing brands, sizing and segmenting markets,

22   measuring and improving customer experiences, identifying and analyzing new markets,

23   evaluating and launching new products, satisfying and retaining customers, pricing products

24   and services, and other topics relating to marketing, consumer behavior, and strategy.

25   28.    I received a Bachelor of Science degree in engineering from the Technological Institute

26   at Northwestern University in 1985, and Master of Business Administration and Doctor of

27   Business Administration degrees from the Harvard Graduate School of Business

28   Administration in 1991 and 1995, respectively. At Harvard, I received my MBA with highest
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1    distinction as a Baker Scholar and was a Dean’s Doctoral Fellow, writing publications on

2    marketing and strategy, including best-selling teaching materials. I have won awards for

3    research I conducted from institutions including The Institute for the Study of Business

4    Markets at Penn State University and Harvard University. My education included masters-

5    level and doctoral-level coursework in marketing, research design, statistics, buyer behavior,

6    strategy, and other topics.

7    29.    I have taught marketing and strategy for executive groups and executive MBA

8    programs. Since 1994, I have been on the editorial board of the Journal of Business-to-

9    Business Marketing, which publishes peer-reviewed research on business marketing. Since

10   2010, I have been a member of The Trademark Reporter Committee of the International

11   Trademark Association; TMR publishes peer-reviewed research on trademarks. I am also a

12   member of the American Marketing Association and the Insights Association (a merger of the

13   former Marketing Research Association and the former Council of American Survey Research

14   Organizations). My firm is a member of the International Trademark Association.

15   30.    I regularly consult with clients regarding marketing, research, and strategy, and also

16   address conferences and groups on these issues. My public speaking includes addressing law

17   firms and bar associations on the use of surveys in litigation, and related topics. For example:

18             i.    I am co-author of an article that discusses how to measure likelihood of

19                   confusion and was published in the May-June 2021 edition of The Trademark

20                   Reporter, a peer-reviewed journal that publishes research on trademarks.

21            ii.    In March of 2020, I was a speaker at a seminar held at a law firm to discuss

22                   the use of consumer perception surveys in litigation matters.

23            iii.   In May of 2018, at the annual conference of the International Trademark

24                   Association, I was a speaker on a panel discussing, among other topics,

25                   conducting surveys to support claims on packaging and advertising for

26                   litigation matters.

27            iv.    In 2018, 2016, 2013, and 2010, I led roundtable discussions on litigation

28                   surveys at the annual conference of the International Trademark Association.
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1             v.    In October of 2015, I was co-presenter for a Continuing Legal Education

2                   seminar on litigation surveys sponsored by the Bar Association of San

3                   Francisco.

4             vi.   In March of 2015, I presented to the U.S. Department of Justice, Civil

5                   Division, Commercial Litigation Branch on the topic of using surveys to

6                   measure attitudes and behaviors.

7            vii.   In October of 2013, I was a speaker at the Corporate Researchers Conference

8                   hosted by the Marketing Research Association.

9    31.    In terms of professional experience, I have been a marketing and strategy consultant

10   at The Boston Consulting Group, a global consulting firm; Senior Vice President at a publicly

11   traded data processing company that is now a division of Intuit; Division President at a media-

12   services company that is now a division of News Corporation; and Vice President responsible

13   for marketing and strategy at a financial services company. I also served as the West Coast

14   Practice Leader of an executive-education practice at a strategy-consulting firm, where I

15   developed and taught educational programs for marketing and strategy.

16   32.    I have authored or co-authored more than 18 publications on the subjects of

17   marketing, surveys, and business strategy, for publications including The Trademark Reporter;

18   the Intellectual Property Law Newsletter of the American Bar Association’s Section of

19   Intellectual Property Law; Intellectual Property Today; Intellectual Property Magazine; Quirk’s

20   Marketing Research Review; and others. My publications have included book chapters as well

21   as teaching materials on marketing, consumer behavior, and other topics published by

22   Harvard Business Publishing and used for business school curricula.

23   33.    Exhibit 1 shows my curriculum vitae and testimony experience, including but not

24   limited to matters in which I have testified as an expert during the previous four years.

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1    Materials Reviewed and Compensation

2    34.     For purposes of this report, I have gathered and/or reviewed a wide variety of

3    materials, including the following:

4              i.    The Complaint, dated January 14, 2022, and Amended Complaint, dated March

5                    2, 2022, as well as related Exhibits.

6              ii.   A Memorandum Order from the Court, dated May 18, 2022.

7             iii.   Data on the demographics of Hermès buyers, provided by counsel.

8             iv.    Visits to websites for MetaBirkins, at https://metabirkins.com, and Hermès, at

9                    www.hermes.com.

10             v.    Visits to digital marketplaces where NFTs are sold, including OpenSea at

11                   https://opensea.io, LooksRare at https://looksrare.org, and Rarible at

12                   https://rarible.com.

13            vi.    Review of other materials that discuss MetaBirkins, including an article22 and a

14                   music video.23 Also, other materials that discuss NFTs and cryptocurrencies,

15                   including a discussion held June 27, 2022 with Professor Scott Duke Kominers,

16                   Professor of Business Administration at Harvard Business School and other

17                   materials.24.

18   35.     In addition, I consulted published literature, cases, and popular or industry press

19   articles relevant to the issues and theories in this matter, the most relevant of which are cited

20   in this report. I also rely on my knowledge in fields such as surveys, consumer behavior, and

21   marketing.

22
     22
23     Northman, Tora. “The MetaBirkin vs. Hermès Saga Continues.” High Snobiety, February 10, 2022,
     https://www.highsnobiety.com/p/hermes-metabirkin-nft/, last accessed August 1, 2022.
24   23
       “MetaBirkin.” YouTube, uploaded by DeeHouse MF - Topic, December 5, 2021,
25   https://www.youtube.com/watch?v=HwktgfEKakI, last accessed July 19, 2022.
     24
       For example, Goldman, Matt, “Non-Fungible Tokens: Copyright Implications in the Wild West of
26   Blockchain Technology” (2021). AELJ Blog. 281. https://larc.cardozo.yu.edu/aelj-blog/281. See also
     Musiala, et al. “Introduction to Non-Fungible Tokens-Part 1.” July 22, 2022,
27
     https://www.bakerlaw.com/webfiles/Privacy/2022/1-Introduction-to-Non-Fungible-Tokens.pdf, last
28   accessed August 4, 2022.

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1    36.       For all activities and research described in this report, my firm billed $130,000. After

2    this report, my time is billed at $900 per hour, with a daily rate of $7,000 per day for testimony

3    at trial or deposition. My compensation is not dependent on the outcome of this matter.

4    37.       The next section describes the methodology for my survey of NFT purchasers.

5

6    Methodology for the Survey of NFT Purchasers

7    38.       Exhibit 6 shows the questions used to qualify prospective NFT purchasers for this survey,

8    as well as the questions that measured confusion in these interviews.25

9    39.       For this survey, the demographic distribution of the survey database across gender, age,

10   and geography reflects likely purchasers of NFTs for digital artwork, fashion apparel, or fashion

11   accessories. These questions qualified prospective respondents for this survey:

12                i.    Gender: Question A asked respondents their gender. The database of

13                      respondents is 65.2% male, and 34.8% female.

14               ii.    Age: Question B asked respondents their age. The survey database reflects

15                      three age groups, including 18 to 34 years old (47.8% of respondents), 35 to 54

16                      years old (47.8%), and 55 years old or older (4.5%).

17               iii.   Geography: Question C asked respondents for the ZIP code of their home

18                      address. The database reflects the four regions of the U.S., including Midwest

19                      (18.9% of respondents), Northeast (16.9%), South (43.8%), and West (20.4%). 26

20               iv.    Future purchase of a fashion or artwork NFT: Question D asked respondents

21                      whether they were likely to purchase certain items in the next 12 months,

22                      including a non-fungible token/NFT, a virtual private network (VPN)

23                      subscription, a virtual reality headset, and a website domain name (URL).

24                      Among those who answered that they were likely to purchase an NFT, Question

25
     25
26        Exhibit 6 contains programming instructions that were not visible to respondents.
     26
       These regions are established by the US Census Bureau. “Census Regions and Divisions of the United
27
     States.” U.S. Census Bureau, U.S. Department of Commerce, https://www2.census.gov/geo/pdfs/maps-
28   data/maps/reference/us_regdiv.pdf, last accessed August 1, 2022.

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1                   E asked whether they were likely to purchase certain types of NFTs.

2                   Respondents qualified on Question E if they answered that they were likely to

3                   purchase “An NFT for digital artwork” and/or “An NFT for fashion apparel or

4                   fashion accessories.”

5              v.   Amount willing to spend to purchase an NFT: Question F asked respondents

6                   which price range reflected the most they would be willing to spend to purchase

7                   an NFT. Respondents qualified if they selected “$2,500 - $4,999” or “$5,000 or

8                   more.”

9             vi.   Payment method for online purchase: Question G asked respondents which

10                  payment method they would consider using for an online purchase.

11                  Respondents qualified if they answered cryptocurrency and/or credit card.

12   40.     Prospective respondents also were screened on other criteria, such as not working for

13   certain types of companies where they could have gained unusual knowledge,27 not

14   participating in any other surveys about NFTs in the past month, and taking the survey on a

15   desktop computer, laptop computer, tablet, or smartphone.

16   41.     After qualifying for the survey, NFT purchasers were instructed as follows:

17
             As a reminder, if you need eyeglasses or contact lenses to see the screen clearly,
18           please put them on now.

19           Below is a webpage that you may or may not have seen before. Please look at
20           the webpage as you typically would if you came across this page online.

21           Because this is a picture of a webpage, the links in the picture are not active.
22           You may need to scroll to see all of the webpage.
23
             When you are ready to proceed, click or tap the “Next” button, which will appear
24           below the webpage after a brief pause.
25

26

27   27
       The types of companies included an advertising or public relations agency, a marketing research
28   agency, and a company that creates or mints NFTs.

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1    42.       This survey next displayed either the test or control version of the MetaBirkins

2    webpage. After viewing the webpage, respondents were asked whether they could see the

3    webpage clearly. Respondents who answered that they could were then instructed as follows:

4              Now you will be asked a few questions about the webpage you just viewed. The
5              webpage will appear below each question if you would like to view it again.

6              As before, please do not guess. If you do not know the answer to a question or
               do not have an opinion, please indicate that you do not know.
7

8    43.       Next, the survey among NFT purchasers asked questions to measure confusion, starting
9    with confusion as to source. Question 1 asked, “What company, companies, person, or people
10   do you think makes or provides the items shown on the webpage? Please be as specific as
11   possible. If you don’t know, please select ‘I don’t know.’” Question 2 asked, “What makes you
12   think that? Please be as specific as possible. If you don’t know, please select ‘I don’t know.’”
13   Both Question 1 and Question 2 were open-ended, with respondents answering in their own
14   words or checking a box labeled “I don’t know.”
15   44.       Question 3 asked, “Are you aware of any other brands or products made or provided by
16   whoever makes or provides the items shown on the webpage? Please answer yes, no, or you
17   don’t know.”28 Respondents who answered affirmatively were asked Questions 4 and 5.
18   Question 4 asked, “What other brands or products do you think are made or provided by
19   whoever makes or provides the items shown on the webpage? Please be as specific as
20   possible. If you don’t know, please select ‘I don’t know.’” Question 5 asked, “What makes you
21   think that? Please be as specific as possible. If you don’t know, please select ‘I don’t know.’”
22   Questions 4 and 5 were open-ended questions.
23   45.       The next three questions measured confusion as to sponsorship, authorization, or
24   approval. Question 6 asked, “Do you think that whoever makes or provides the items shown
25   on the webpage…” The response options included:
26

27
     28
28        The order of “yes” and “no” in Question 3 and its answer options was rotated randomly.

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1               “Is sponsored, authorized, or approved by another company, person, or brand”

2               “Is not sponsored, authorized, or approved by another company, person, or brand”

3               “I don’t know”

4    46.     Respondents who chose “Is sponsored…” were asked Question 7 and Question 8.

5    Question 7 asked, “What other company, person or brand do you believe sponsors, authorizes,

6    or approves whoever makes or provides the items shown on the webpage? Please be as

7    specific as possible. If you don’t know, please select ‘I don’t know.’” Question 8 asked, “What

8    makes you think that? Please be as specific as possible. If you don’t know, please select ‘I don’t

9    know.’” Question 7 and Question 8 were open-ended questions.

10   47.     The survey of NFT purchasers was conducted online in a self-administered manner,

11   meaning that respondents entered their own answers to questions, without any human

12   interviewer. The survey was programmed by Simple Opinions, a provider of services to

13   marketing research companies.29

14   48.     Prospective respondents for the survey were recruited through an online panel from

15   Prodege, a leading marketing research sample provider that operates panels with more than

16   60 million panelists globally. Prodege uses a variety of quality control processes relating to

17   panelists and responses.30 Exhibit 3 provides additional information on the recruiting methods

18   for the survey, including additional description of the panel from Prodege.

19   49.     Respondents invited to participate in either the NFT survey or the handbag survey could

20   not participate in the other survey.

21
     29
       Information about Simple Opinions is available at https://www.simpleopinions.com/. The staff at
22   Simple Opinions has decades of experience at marketing research companies that include J.D. Power
     and Associates, Nielsen Entertainment, and others. I and other staff at MMR checked the survey
23   program extensively to confirm that it matched the questionnaire and programming instructions
     provided to Simple Opinions. Staff at Simple Opinions were never aware of the sponsor or purpose of
24   the survey.
25   30
        Online panels are used frequently for surveys conducted in both litigation and commercial contexts.
     Panel companies such as the one used for this survey operate professionally managed panels, with
26   databases of people who have indicated their willingness to take surveys from time to time. For
     example, Prodege uses quality control measures that include double opt-in registration, digital
27
     fingerprinting, physical address verification, device verification, CAPTCHA software, and third-party
28   validation methods.

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1    50.     Exhibit 4 describes the quality control measures that were used during and after data

2    gathering, including procedures to validate respondents.

3    51.     The survey among NFT purchasers was conducted from July 8 to July 13, 2022, resulting

4    in a database of 221 completed interviews. Of these, 20 respondents (9.0%) were removed

5    during quality control or validation, leaving 201 NFT purchasers in the final database. This

6    database is of more than sufficient size to be reliable.31

7    52.     Exhibit 7 provides a summary indicating how many prospective respondents were

8    screened out or removed from this survey, including the reasons for termination.

9    53.     The next section describes my findings from this survey.

10

11   Findings From the Survey of NFT Purchasers

12   54.     Respondents answered the questions that measured confusion in their own words. To

13   analyze the data from these questions, I assigned codes to each verbatim response that

14   reflected the themes that were indicated by the response.32 Exhibit 5 lists these codes.

15   55.     I coded a response as referring to Hermès or Birkin if it mentioned Hermès, Birkin

16   handbags, or any name or product that likely referred to Hermès or Birkin handbags, in any

17   spelling. I counted these responses as confused, because they mentioned Hermès or Birkin

18   when shown the MetaBirkins webpage. I coded responses as referring to MetaBirkins or Mr.

19   Rothschild if they referred to MetaBirkins or Mason Rothschild, in any spelling.

20

21

22

23   31
        For surveys such as this one, statistics can provide general indicators of reliability. (See Diamond,
     Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific Evidence, 3rd
24   ed., National Academies Press, 2011, pp. 382-383.) (The margin of error at the 95% level of confidence is
25   approximately (SE × 1.96), where SE refers to the survey’s standard error.) See also Moore, David S., et
     al. “Chapter 8: Inference for Proportions.” Introduction to the Practice of Statistics, 6th ed., W.H.
26   Freeman and Company, 2009, pp. 487–524.) For example, the survey’s test measure of 21.6%, at a
     sample size of 97 respondents, has a margin of error of approximately +/- 8.2%.
27   32
       For the survey, MMR staff working at my direction assisted with coding. I have personally reviewed or
28   assigned every code for every survey response from the survey.

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1    56.       Exhibit 8 provides cross tabulation tables, which show an analysis of all questions asked

2    of NFT purchasers. Exhibit 12 shows all responses from all NFT purchasers, including a data

3    map indicating which responses correspond to each variable in the database.

4    57.       This section summarizes key results from the survey conducted among NFT purchasers,

5    including results for confusion as to source (Questions 1 and 4) and for confusion as to

6    sponsorship, authorization, or approval (Question 7).

7    58.       Question 1 asked respondents who they think makes or provides the items on the

8    webpage they were shown. Table A summarizes the results from Question 1.

9
                                             Table A:
10                                  Survey of NFT Purchasers,
11                            Summary of Results From Question 1
      Q.1 Who do you think makes or provides the items shown on   Test                              Control
12    the webpage?                                               Webpage                            Webpage
      Sample size                                                  97                                 104
13
          Hermès or Birkin                                                       17.5%                 1.9%
14
          MetaBirkins or Rothschild                                              51.5%                17.3%
15
          Another clothing company, media company, or retailer33                 13.4%                10.6%
16
          Another technology company34                                           12.4%                23.1%
17        MetaHandbags35                                                          0.0%                23.1%
18        Other                                                                   8.2%                14.4%
19        I don’t know                                                           10.3%                16.3%
20

21

22

23

24

25   33
      Includes responses that referenced another clothing company, media company, or retailer, such as
     Gucci, Chanel, Vogue, Elle, Forbes, Walmart, Target, or others.
26
     34
       Includes responses that referenced another technology company, such as Facebook, Meta, Microsoft,
27   or others.
     35
28        Among other changes, the control changed “MetaBirkins” to “MetaHandbags.”

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1    59.    Table A shows that in response to Question 1, 17.5% of NFT purchasers shown the test

2    version of the MetaBirkins webpage provided a response that reflected Hermès and/or Birkin,

3    compared with 1.9% among those shown the control version. Table A also shows that 51.5% of

4    NFT purchasers shown the test webpage, and 17.3% of NFT purchasers shown the control

5    webpage, mentioned MetaBirkins or Rothschild. The table shows that these respondents also

6    mentioned clothing companies, media companies, retailers, and technology companies in

7    response to Question 1.

8    60.    Examples of verbatim responses that reflect Hermès and/or Birkin from NFT purchasers

9    shown the test webpage include the following:

10             i.   ID #2: “Birkins is the company that makes these NFT”

11            ii.   ID #14: “looksrare and hermes”

12           iii.   ID #18: “Based on descriptions disclaimer it’s Hermès Birkin bags, or

13                  MetaBirkins”

14           iv.    ID #71: “birkins”

15            v.    ID #83: “The company is Birkin, you can see the brand clearly”

16           vi.    ID #141: “Birkin”

17          vii.    ID #169: “MetaBirkin, Hermes, Forbes, Vogue”

18          viii.   ID # 209: “HERMES.COM”

19   61.    Question 2 asked, “What makes you think that?” Table B below shows the results from

20   Question 2.

21

22

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1                                                  Table B:
                                           Survey of NFT Purchasers,
2
                                       Summary of Results From Question 2
3                                                                                Test                 Control
      Q.2 What makes you think that?                                            Webpage               Webpage
4     Sample size                                                                 97                    104
5         The look or appearance36                                                 11.3%                 8.7%

6         Personal experience or general knowledge37                               11.3%                 8.7%

7         It says so38                                                             46.4%                43.3%
          Other                                                                    19.6%                18.3%
8
          I don’t know                                                              4.1%                 7.7%
9

10

11   62.        Table B shows that the theme most commonly reflected by responses to Question 2 was

12   “It says so,” which was mentioned by 46.4% of NFT purchasers shown the test webpage and

13   43.3% of those shown the control webpage.

14   63.        Examples of Question 2 responses reflecting this theme from NFT purchasers shown the

15   test version of the MetaBirkins webpage include the following:

16                 i.    ID #8: “Ive read the description”

17                ii.    ID #35: “because they mention it at the beginning of the catalog”

18                iii.   ID #58: “I read this”

19                iv.    ID #71: “because of the name birkins”

20                 v.    ID #73: “It’s at the top of the page”

21   64.        Table B also shows that verbatim responses from 11.3% of those shown the test

22   webpage and 8.7% of those shown the control webpage reflected the theme of personal

23   experience or general knowledge. Examples of Question 2 responses from NFT purchasers

24   shown the test webpage that reflect this theme include the following:

25   36
      Includes responses that referenced the look, the appearance, colors, or style of the handbags on the
     webpage.
26
     37
       Includes responses that referenced seeing the bags before, reading about the topics elsewhere, or
27   having some previous knowledge of the subject matter.
     38
28        Includes responses that referenced reading the information on the webpage.

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1             i.     ID #15: “Hermes bags are known or famous for their Birkin bags”

2             ii.    ID #45: “I have heard this from Yahoo finance news.”

3            iii.    ID #101: “Because I have a little background knowledge about the Burlington

4                    bag”

5            iv.     ID #115: “BECAUSE HAVE SIMILAR PRODUCT”

6             v.     ID #202: “I see a lot of purse and I know what Birkins are.”

7    65.    Next, Question 3 asked NFT purchasers whether they are aware of any other brands or

8    products made or provided by whoever makes or provides the items shown on the webpage.

9    Table C below summarizes the results for Question 3.

10                                           Table C:
11                                   Survey of NFT Purchasers,
                               Summary of Results From Question 3
12   Q.3 Are you aware of any other brands or products made or
     provided by whoever makes or provides the items shown on      Test                            Control
13   the webpage?                                                 Webpage                          Webpage
14   Sample size                                                    97                               104
      Yes, I am aware of other brands or products made or provided
15                                                                              51.5%                46.2%
      by whoever makes or provides these items
16    No, I am not aware of other brands or products made or
                                                                                41.2%                50.0%
      provided by whoever makes or provides these items
17
      I don’t know                                                               7.2%                 3.8%
18

19

20   66.    As shown in Table C, 51.5% of NFT purchasers shown the test webpage, and 46.2% of

21   those shown the control webpage, answered affirmatively to Question 3.

22   67.    Question 4 asked respondents who answered yes to Question 3 what other brands or

23   products they think are made or provided by whoever makes or provides the items shown on

24   the webpage. Table D below summarizes the results from Question 4. The results are provided

25   on an unduplicated basis, meaning that NFT purchasers who mentioned a theme in response to

26   Question 1 are not counted again in the results for the same theme in Question 4.

27

28
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1                                            Table D:
                                     Survey of NFT Purchasers,
2
                        Summary of Results From Question 4 (Unduplicated)39
3     Q.4 What other brands or products do you think are made or
      provided by whoever makes or provides the items shown on         Test                            Control
4     the webpage?                                                  Webpage                            Webpage
      Sample size                                                       97                               104
5
          Hermès or Birkin                                                          4.1%                  1.0%
6
          MetaBirkins or Rothschild                                                  4.1%                 1.9%
7
          Another clothing company, media company, or retailer40                     3.1%                 1.0%
8
          Another technology company41                                               4.1%                 5.8%
9         MetaHandbags42                                                             0.0%                 1.0%
10        Other                                                                      8.2%                17.3%
11        I don’t know                                                               8.2%                 5.8%
12

13   68.       As shown in Table D, an additional 4.1% of NFT purchasers shown the test version of the

14   webpage provided a response that mentioned Hermès and/or Birkin, compared with an

15   additional 1.0% of those shown the control version. Among those shown the test webpage, an

16   additional 4.1% provided a response reflecting MetaBirkins or Rothschild, compared to an

17   additional 1.9% of those shown the control webpage.

18   69.       Question 5 asked, “What makes you think that?” Table E below shows the results from

19   Question 5. The results are provided on an unduplicated basis, meaning that NFT purchasers

20   who mentioned a theme in response to Question 2 are not counted again in the results for the

21   same theme in Question 5.

22

23

24   39
          This table reflects respondents who did not mention the same theme in response to Question 1.
25   40
      Includes responses that referenced another clothing company, media company, or retailer, such as
     Gucci, Chanel, Vogue, Elle, Forbes, Walmart, Target, or others.
26
     41
       Includes responses that referenced another technology company, such as Facebook, Meta, Microsoft,
27   or others.
     42
28        Among other changes, the control changed “MetaBirkins” to “MetaHandbags.”

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1                                             Table E:
                                     Survey of NFT Purchasers,
2
                      Summary of Results From Question 5 (Unduplicated)43
3                                                                    Test                              Control
      Q.5 What makes you think that?                               Webpage                             Webpage
4     Sample size                                                     97                                 104
5         The look or appearance44                                                   6.2%                 1.9%

6         Personal experience or general knowledge45                                 6.2%                 6.7%

7         It says so46                                                               0.0%                 2.9%
          Other                                                                      3.1%                 4.8%
8
          I don’t know                                                               8.2%                 1.9%
9

10

11   70.        Table E shows that an additional 6.2% of NFT purchasers shown the test webpage
12   provided a response that reflected personal experience or general knowledge, compared with
13   an additional 6.7% of those shown the control webpage.
14   71.        The next series of questions measured confusion as to sponsorship, authorization, or
15   approval. Question 6 asked NFT purchasers whether they think that whoever makes or
16   provides the items shown on the webpage is sponsored, authorized, or approved by another
17   company, person, or brand. Table F below summarizes the results from Question 6.
18

19

20

21

22

23

24   43
          This table reflects respondents who did not mention the same theme in response to Question 2.
25   44
      Includes responses that referenced the look, the appearance, colors, or style of the handbags on the
     webpage.
26
     45
       Includes responses that referenced seeing the bags before, reading about the topics elsewhere, or
27   having some previous knowledge of the subject matter.
     46
28        Includes responses that referenced reading the information on the webpage.

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1                                            Table F:
                                    Survey of NFT Purchasers,
2
                               Summary of Results From Question 6
3    Q.6 Do you think that whoever makes or provides the items     Test                       Control
     shown on the webpage…?                                       Webpage                     Webpage
4    Sample size                                                    97                          104
5     Is sponsored, authorized, or approved by another company,
                                                                           60.8%                56.7%
      person or brand
6
      Is not sponsored, authorized, or approved by another company,
                                                                           25.8%                30.8%
7     person or brand

8     I don’t know                                                         13.4%                12.5%

9

10   72.    As shown in Table F, 60.8% of NFT purchasers shown the test webpage answered

11   affirmatively to Question 6, compared with 56.7% of those shown the control webpage.

12   73.    Question 7 asked respondents who answered affirmatively to Question 6 what

13   company, person, or brand they believe sponsors, authorizes, or approves whoever makes or

14   provides the items shown on the webpage. Table G below summarizes the results on an

15   unduplicated basis, meaning that respondents who mentioned a theme in response to

16   Questions 1 or 4 are not counted again for the same theme in Question 7.

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1                                             Table G:
                                      Survey of NFT Purchasers,
2
                        Summary of Results From Question 7 (Unduplicated)47
3     Q.7 What other company, person, or brand do you believe
      sponsors, authorizes, or approves whoever makes or provides      Test                            Control
4     the items shown on the webpage?                                Webpage                           Webpage
      Sample size                                                       97                               104
5
          Hermès or Birkin                                                          0.0%                  0.0%
6
          MetaBirkins or Rothschild                                                  1.0%                 2.9%
7
          Another clothing company, media company, or retailer48                     3.1%                 5.8%
8
          Another technology company49                                               6.2%                 9.6%
9         MetaHandbags50                                                             0.0%                 2.9%
10        Other                                                                      6.2%                 5.8%
11        I don’t know                                                              17.5%                 9.6%
12

13   74.       As shown in Table G, no (0.0%) additional NFT purchasers shown the test or control

14   webpages provided a response to Question 7 that reflected Hermès and/or Birkin. Table G also

15   shows that an additional 1.0% of respondents shown the test webpage provided a response

16   that reflected MetaBirkins or Rothschild, compared with an additional 2.9% of those shown the

17   control webpage.

18   75.       Table H below shows the results from Question 8, which asked, “What makes you think

19   that?” Table H below summarizes the results on an unduplicated basis, meaning that

20   respondents who mentioned a theme in response to Questions 2 or 5 are not counted again for

21   the same theme in Question 8.

22

23

24   47
          This table reflects respondents who did not mention the same theme in response to Questions 1 or 4.
25   48
      Includes responses that referenced another clothing company, media company, or retailer, such as
     Gucci, Chanel, Vogue, Elle, Forbes, Walmart, Target, or others.
26
     49
       Includes responses that referenced another technology company, such as Facebook, Meta, Microsoft,
27   or others.
     50
28        Among other changes, the control changed “MetaBirkins” to “MetaHandbags.”

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1                                            Table H:
                                     Survey of NFT Purchasers,
2
                      Summary of Results From Question 8 (Unduplicated)51
3                                                                    Test                              Control
      Q.8 What makes you think that?                               Webpage                             Webpage
4     Sample size                                                     97                                 104
5         The look or appearance52                                                   0.0%                 0.0%

6         Personal experience or general knowledge53                                 2.1%                 2.9%

7         It says so54                                                               3.1%                 5.8%
          Other                                                                      2.1%                 5.8%
8
          I don’t know                                                               4.1%                 3.8%
9

10

11   76.        Table H shows that an additional 3.1% of NFT purchasers shown the test webpage

12   provided a response reflecting “It says so,” compared with an additional 5.8% of those shown

13   the control version of the webpage.

14   77.        Table I summarizes this survey’s confusion measures across Questions 1, 4, and 7,

15   providing the percentage of NFT purchasers who provided responses to any of these questions

16   that mentioned Hermès and/or Birkin.

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24   51
          This table reflects respondents who did not mention the same theme in response to Questions 2 or 5.
25   52
      Includes responses that referenced the look, the appearance, colors, or style of the handbags on the
     webpage.
26
     53
       Includes responses that referenced seeing the bags before, reading about the topics elsewhere, or
27   having some previous knowledge of the subject matter.
     54
28        Includes responses that referenced reading the information on the webpage.

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1                                             Table I:
                                     Survey of NFT Purchasers,
2
            Summary of Confusion Measures Across Questions 1, 4, and 7 (Unduplicated) 55
3                                                        Test        Control
      Mentions of Hermès and/or Birkin                 Webpage      Webpage         Net56
4     Sample size                                         97            104
5         Confusion as to source (Q.1)                           17.5%             1.9%                15.6%
6
          Confusion as to other brands or products (Q.4)          4.1%             1.0%                 3.1%
7
          Confusion as to sponsorship, authorization, or
8                                                                 0.0%             0.0%                 0.0%
          approval (Q.7)
9
          Likelihood of confusion (Q.1, 4, and 7)                21.6%            2.9%                 18.7%
10

11

12   78.        As shown in Table I, for NFT purchasers, across Questions 1, 4, and 7, the likelihood of

13   confusion measure is 21.6% for the test version of the webpage and 2.9% for the control

14   version of the webpage. The net likelihood of confusion measure is 18.7%, which is calculated

15   as 21.6% minus 2.9%.

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     55
26     Unduplicated means that if a respondent mentioned or referenced a theme in one question, they
     were not counted as confused more than once, even if they mentioned the same theme in subsequent
27   questions.
     56
28        Net is calculated as test minus control.

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1    Methodology and Findings for the Survey of Handbag Purchasers

2    79.       As described earlier, I also conducted a survey among respondents qualified as

3    purchasing handbags.

4    80.       Exhibit 9 shows the questions used to qualify prospective respondents for the survey of

5    handbag purchasers, as well as the questions that measured confusion in this survey.57

6    81.       As with the survey of NFT purchasers, prospective respondents for the survey of

7    handbag purchasers were first asked Questions A, B, and C, which asked about gender, age, and

8    geography. For the survey of handbag purchasers, the demographic distribution of the survey

9    database across gender, age, and geography reflects likely purchasers of handbags.

10   82.       Next, Question D asked prospective respondents for this survey whether they were

11   likely to purchase certain items in the next 12 months, including a handbag, a belt, a pair of

12   shoes, a wallet, and a watch.

13   83.       Among those who answered that they were likely to purchase a handbag, Question E

14   asked prospective respondents for this survey to select the price range that best reflects the

15   most they would be willing to spend to purchase a handbag. Handbag purchasers qualified on

16   Question E if they answered that they were likely to purchase at a price range of $10,000 or

17   more. The survey qualified on this price point because it is the lowest price at which I was able

18   to locate the Birkin bag for sale.58

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     57
22        Exhibit 9 contains programming instructions that were not visible to respondents.
     58
23      My research shows that Birkin bags are in high demand, typically sell in new condition for at least
     $10,000, and are available on the resale market for approximately $6,000 to $60,000, depending on the
24   bag and its condition. See Sargon, Sara. “The 2021 & 2022 Hermes Birkin Bag Price List.” Bagover,
     https://bagover.com/hermes-birkin-bag-price-list/, last accessed August 1, 2022. See also Marinelli,
25   Gina. “Hermes Birkin bags are famously expensive and difficult to buy — so we asked an expert how to
     find them and what makes them so elusive.” Business Insider,
26   https://www.insider.com/guides/style/how-to-buy-a-birkin-bag, last accessed August 1, 2022. See also
     “Search: 3145 results found for ‘Birkin’ – Rebag.” Rebag, https://shop.rebag.com/search?sort=price-
27
     ascending&q=Birkin&pf_st_availability_hidden=true&_=pf&pf_t_categories=bc-filter-Bags, last accessed
28   August 1, 2022.

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1    84.     Question F asked prospective respondents for this survey which types of content they

2    typically read online. Respondents who answered that they typically read content online about

3    fashion and/or artwork qualified on Question F.

4    85.     Similar to the survey of NFT purchasers, prospective respondents for the survey of

5    handbag purchasers also qualified on other criteria, such as not working for certain types of

6    companies where they could have gained unusual knowledge,59 not participating in any other

7    surveys about handbags in the past month, and taking the survey on a desktop computer,

8    laptop computer, tablet, or smartphone.

9    86.     After respondents qualified for the survey of handbag purchasers, they were shown the

10   same images that were shown in the survey of NFT purchasers, and then were asked the same

11   questions that were used to measure confusion in the survey of NFT purchasers. I analyzed the

12   responses from the survey of handbag purchasers using the same codes that I used to analyze

13   responses from the survey of NFT purchasers. For the data from handbag purchasers, I

14   assigned codes to each verbatim response according to the themes that were reflected by the

15   response, using the codes from Exhibit 5 and the analysis methods described earlier for NFT

16   purchasers.60

17   87.     As with the survey of NFT purchasers, the survey of handbag purchasers was conducted

18   online in a self-administered manner, using an online survey programmed by Simple Opinions.

19   Also, as with the survey of NFT purchasers, respondents for the survey of handbag purchasers

20   were recruited from a panel provided by Prodege, using the recruiting methods described in

21   Exhibit 3 and the quality control methods described in Exhibit 4. Respondents invited to

22   participate in the NFT survey or the handbag survey could not participate in the other survey.

23

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     59
26     The types of companies included an advertising or public relations agency, a marketing research
     agency, and a company manufactures handbags.
27   60
       For the survey, MMR staff working at my direction assisted with coding. I have personally reviewed or
28   assigned every code for every survey response from the survey.

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1    88.       Interviews for the survey of handbag purchasers were conducted from July 8 to July 17,

2    2022, resulting in a database of 185 completed interviews. Of these, 21 respondents (11.4%)

3    were removed during quality control or validation, leaving 164 handbag purchasers in the final

4    database.

5    89.       Exhibit 10 provides a summary indicating how many prospective respondents were

6    screened out or removed from the survey of handbag purchasers, including the reasons for

7    termination.

8    90.       Exhibit 11 provides cross tabulation tables for the survey of handbag purchasers.

9    Exhibit 13 shows all responses from all handbag purchasers, including a data map indicating

10   which responses correspond to each variable in the database.

11   91.       My opinions in this matter are based on the survey of NFT purchasers rather than the

12   survey of handbag purchasers because Hermès has made allegations in this matter that are

13   consistent with forward confusion. For example, Hermès alleges that the Defendant’s actions

14   are “likely to cause confusion and mistake in the minds of the public, leading the public to

15   believe that the METABIRKINS NFTs emanate or originate from Hermès, or that Hermès has

16   approved, sponsored or otherwise associated itself with Defendant, which is untrue.”61 The

17   traditional audience for a survey measuring forward likelihood of confusion is the junior user’s

18   audience, which in this matter is purchasers of the Defendant’s goods and services.62

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          Amended Complaint, ¶ 155.
27   62
       Swann, Jerre B. “Likelihood of Confusion.” Trademark and Deceptive Advertising Surveys: Law,
28   Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann, ABA Publishing, 2012, p. 63.

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1    Summary and Conclusions for the Survey of NFT Purchasers

2    92.     As described in this report, my survey of NFT purchasers measured whether the

3    MetaBirkins webpage is likely to be confused with Hermès and/or with Birkin handbags. This

4    survey measured the MetaBirkins webpage as it appears in the marketplace, and also

5    measured a control webpage, which was modified to remove or alter features that relate to

6    marks Hermès has asserted in this matter, including the Birkin trade dress and name. The test

7    and control webpages were similar in all other aspects.

8    93.     After showing respondents either the test webpage or the control webpage, the survey

9    of NFT purchasers asked questions to measure the likelihood of confusion as to source and as

10   to sponsorship, authorization, or approval. Across those questions, the measures were 21.6%

11   for the test webpage and 2.9% for the control webpage, for a net measure of 18.7%.

12   94.     The MetaBirkins webpage includes elements that Hermès alleges infringe its intellectual

13   property; the changes to the control webpage removed or modified those elements.

14   Therefore, the net confusion measure reflects only the elements Hermès alleges infringe its

15   intellectual property, and not any other influences.

16   95.     The 18.7% net measure from the survey of NFT purchasers is at or above measures that

17   are typically interpreted as indicating a substantial likelihood of confusion.63 Based on these

18   results, this survey indicates a likelihood of confusion between the MetaBirkins webpage at

19   www.metabirkins.com, and Hermès or Birkin handbags.

20

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     63
       “An ‘appreciable’ number is not necessarily a majority, and in fact can be much less than a majority…
26   one court indicated that even 11% of a national market of millions of consumers constitutes a very large
     number of confused consumers.” McCarthy, J. Thomas. “§ 82:185 Likelihood of confusion – Evaluating
27
     the significance of survey results – An ‘appreciable’ number.” ·McCarthy on Trademarks and Unfair
28   Competition, 5th ed., Thomson Reuters, 2021, pp. 32-546 to 32-547.

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1    I declare under penalty of perjury under the laws of the United States that the foregoing is true

2    and correct to the best of my belief.

3

4    Executed in Encino, California, on August 4, 2022.
5

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8                                                 ______________________________
                                                  Dr. Bruce Isaacson
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                              Exhibit 1:
          Dr. Bruce Isaacson CV and Testimony Experience
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                                   D R . B R U C E R. I S A A C S O N , DBA , MB A


          MMR Strategy Group, Encino, CA                                                               2005 - Present
          PRESIDENT

          MMR provides surveys, analysis, and consulting to measure the attitudes and behaviors of
          customers and consumers. MMR has three practice areas:
                 1. Claim Substantiation: Research and consulting to substantiate claims that involve
                    consumer perceptions, and are made in packages, advertising, and other types of
                    marketplace communications.
                 2. Litigation Surveys: Surveys and testimony for intellectual property matters.
                 3. Marketing Research and Consulting: Marketing research and consulting to help
                    clients grow sales, develop marketing strategies, and improve products and services.
          As President, I design studies, manage research projects, and provide consulting relating to
          marketing, research, consumer behavior, and strategy.
          I have conducted many hundreds of surveys during my career, and frequently provide surveys,
          testimony, and rebuttals for intellectual property litigation and claim substantiation.
          I have provided testimony relating to litigation surveys in a wide variety of venues involving
          federal courts, state courts, the Trademark Trial and Appeal Board (TTAB), the National
          Advertising Division (NAD) of the Better Business Bureau, the International Trade Commission,
          the Trademark Trial and Appeal Board, the Federal Trade Commission, the Court of Federal
          Claims, and others.
          I have been retained in more than 200 matters, and have been retained in more than 20
          matters by government agencies including the U.S. Federal Trade Commission, the U.S.
          Department of Justice, and the U.S. Patent and Trademark Office.
          I speak and write on topics relating to marketing research, marketing strategy, litigation
          surveys, and consumer behavior.




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        Education

             Doctor of Business Administration in Marketing, Harvard Business School, 1995. Awarded
              Dean’s Doctoral Fellowship.
             MBA with High Distinction, Harvard Business School, 1991. Graduated in top 5% of class
              as a Baker Scholar.
             Bachelor of Science in Engineering with focus on Regional Development, Northwestern
              University Technological Institute, 1985.


        Publications

          When to Conduct an Eveready Survey: The Importance of Aided Awareness. The Trademark
          Reporter, May-June, 2021.
          Book Review of Trademark and Deceptive Advertising Surveys: Law, Science, and Design,
          edited by Shari Seidman Diamond and Jerre B. Swann. The Trademark Reporter, September,
          2013.
          Playing Nice With Legal: How Research Can Help Keep Marketing Claims in Compliance.
          Quirk’s Marketing Research Review, January, 2013.
          The Quantity of Presidential Polls and the Quality of Marketing Research. Green Book Blog,
          October, 2012.
          Three Critical Questions to Evaluate Intellectual Property Surveys. Intellectual Property
          Today, September, 2012. Co-authors: Professor Jonathan Hibbard and Professor Scott Swain.
          Asking the Right Questions (in Litigation Surveys). Intellectual Property Magazine, October,
          2012.
          Why Online Consumer Surveys Can Be a Smart Choice in Intellectual Property Cases (with
          Professor Jonathan Hibbard and Professor Scott Swain). Intellectual Property Law Newsletter
          of the American Bar Association, Intellectual Property Law Section, May 2008.
          Bose Corporation: The JIT II Program (A), (B), (C), and (D) (with Professor Roy Shapiro).
          Harvard Business School cases 9-694-001, -002, -003, and -004.
          Bose Corporation: The JIT II Program Teaching Note. Harvard Business School teaching note
          5-695-017.
          Buyer-Supplier Relationships: Antecedents, Management, and Consequences. Harvard
          Business School doctoral dissertation, 1996.
          Goodyear: The Aquatred Launch (with Professor John Quelch). Harvard Business School case
          9-594-106. Best seller.
          Goodyear: The Aquatred Launch Teaching Note (with Professor John Quelch). Harvard
          Business School teaching note 5-595-016.

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          Industrial Marketing (with Professor V. Kasturi Rangan). In AMA Management Handbook,
          Third Edition, edited by John J. Hampton. New York: Amacom Books, 1994, pp. 2-101 to 2-
          108.
          Managing Buyer-Supplier Relationships. Preface to JIT II: Revolution in Buying and Selling,
          edited by Lance Dixon and Anne Millen Porter. Newton, MA: Cahners Publications, Inc.,
          1994.
          Philip Morris: Marlboro Friday (A) and (B). Harvard Business School case 9-596-001 and -
          002.
          Scope and Challenge of Business-to-Business Marketing (with Professor V. Kasturi Rangan).
          Harvard Business School class note 9-594-125.
          Vistakon: 1 Day Acuvue Disposable Contact Lenses (with Professor Alvin J. Silk and Marie
          Bell). Harvard Business School case 9-596-087.
          What is Industrial Marketing? (with Professor V. Kasturi Rangan). Harvard Business School
          class note 9-592-012.


        Honors, Appointments, Affiliations

             Member, American Marketing Association (AMA)

             Member, International Trademark Association (INTA)

             Member, Marketing Research Association (MRA)

             Member, Brand Activation Association (BAA)

             Member, Editorial Board, Journal of Business-to-Business Marketing, 1994 - present

             Member, The Trademark Reporter Committee, International Trademark Association, 2010
              - present

             Policy Advisory Board, Joint Center for Housing Studies at Harvard University, 1999 - 2001

             Winner, Doctoral Dissertation, Institute for Study of Business Markets, Penn State, 1994

             George S. Dively Award for Innovative Research, Harvard Business School, 1993

             George F. Baker Scholar, Harvard Business School (top 5% of class), 1991

             Dean’s Doctoral Fellowship, Harvard Business School, 1993 -1995




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        Selected Speaking Engagements
        Frequent speaker at industry conferences and client events on topics relating to marketing and
        strategy, including:

             Speaker on panel, “Survey Says: The Use of Consumer Perception Surveys in Advertising-
              Related Litigation,” held at Davis & Gilbert, LLP, March, 2020.

             Speaker on a panel, “What Can Trademark Practitioners Learn from Advertising and
              Marketing Professionals?” International Trademark Association Annual Conference, May,
              2018.

             Moderator for roundtable discussion, “Trademark Surveys: How Requirements Differ by
              Venue and Authority,” International Trademark Association Annual Conference, May,
              2018.

             Guest lecturer on “Litigation Surveys” to advertising law class at Loyola Law School,
              September, 2021; September, 2020; October, 2019; and October, 2018.

             Moderator for roundtable discussion, “Using Surveys to Measure Product Usage,
              Configuration, and Damages in Trademark, Copyright, and Patent Matters,” International
              Trademark Association Annual Conference, May, 2016.

             Panelist for “Battle of the Experts – Deploying the Proper Scientific Methodology for
              Supporting or Challenging Claims,” Advanced Forum on Resolving & Litigating Advertising
              Disputes, March, 2015.

             Guest lecturer on the legal aspects of marketing to MBA classes held at University of
              California – Irvine, November, 2015, and December, 2015.

             Speaker for presentation, “Using Surveys to Measure Attitudes and Behaviors,” U.S.
              Department of Justice, Civil Division, Commercial Litigation Branch, March, 2015.

             Speaker for presentation, “Improving Customer Experience with Customer Journey
              Maps,” Corporate Researchers Conference, sponsored by the Marketing Research
              Association, October, 2013.

             Speaker on panel for seminar, “Trademark Protection in Cyberspace,” sponsored by the
              Los Angeles County Bar Association (LACBA), May, 2013.

             Moderator for round table discussion, “Using Survey Evidence for Claim Substantiation,”
              International Trademark Association Annual Conference, May, 2013.

             Speaker and panelist for multi-day conference, “Advertising Claims Support: Case
              Histories and Principles,” conference hosted by The Institute for Perception, April, 2013.


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             Moderator for roundtable discussion, “Replicating Marketplace Conditions in Trademark
              Surveys,” International Trademark Association Annual Conference, 2011.

             Moderator for roundtable discussion, “The Use of Surveys in Intellectual Property
              Litigation,” International Trademark Association Annual Conference, 2010.

             Faculty on panel at expert forum, “Litigating & Resolving Advertising Disputes,” American
              Conference Institute, June, 2010.

             Speaker for presentation, “The Use of Online Surveys in Intellectual Property Litigation.”
              National Advertising Division (NAD) Annual Conference, October, 2009.

             Speaker for presentation, “Integrating Research Techniques for Deeper Customer Insights:
              Blurring Boundaries Between Research Methods,” American Marketing Association
              Annual Marketing Research Conference, September, 2008.

             Speaker for presentation, “Understanding Your Customer and Making Tough Strategic
              Choices,” International Restaurant & Foodservice Show of New York, March, 2008.

             Presented Continuing Legal Education (CLE) seminar titled, “Measuring Consumer
              Attitudes and Behaviors in Intellectual Property Litigation.” Presented to:

                        Orange County Bar Association, November 2007.
                        Baker Botts, LLP, March, 2008.
                        Amster, Rothstein & Ebenstein LLP, March, 2008.
                        Fulwider Patton, LLP, March, 2008.

             Speaker for presentation, “Understanding Today’s Customers and Making Tough Choices
              – Lessons Learned From Starbucks,” Western Foodservice & Hospitality Expo, August,
              2007.

             Speaker for presentation titled, “What Can We Learn from Customer Satisfaction
              Studies?” Real Trends Marketing & Technology Expo, September, 2006.


        Blogging and Commentary

        I have written posts and white papers at www.MMRStrategy.com that include:

        Litigation Surveys
             “How to Measure False Advertising in a Litigation Survey” (November, 2012)

             “Using Surveys to Estimate Damages in Patent Infringement Matters” (October, 2012)


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             “Apple vs. Samsung: Litigation Surveys as Evidence” (August, 2012)

             “What is the Theory Behind Your Lanham Act Survey?” (June, 2012)

             “Keyword Infringement Surveys: The New Frontier in Measuring Likelihood of Confusion”
              (June, 2012)

             “The Challenge of Replicating Marketplace Conditions in Intellectual Property Surveys”
              (May, 2012)

        Claim Substantiation
             “When it Comes to ‘Up To’ Claims, Make Sure You Have the Right Substantiation”
              (February, 2013)

             “Critical Research Steps and Core Principles of Claim Substantiation” (white paper)

             “How Many Industries are Affected by Claim Substantiation?” (June, 2012)

             “Lessons in Claim Substantiation from the Pom Wonderful Decision” (May, 2012)

             “How Claim Substantiation Differs from Traditional Marketing Research” (May, 2012)

        Marketing and Marketing Research
             “Lessons in Pricing Strategy from JCPenney” (May, 2013)

             “Why You Should (Almost) Never Use the van Westendorp Pricing Model” (March, 2013)

             “Three Types of Market Segmentation and the 2012 Presidential Election” (October, 2012)

             “Presidential Polls and the Quality of Marketing Research” (October, 2012)

             “Sizing the Potential of a New Market or New Product” (white paper)

             “MaxDiff vs. Conjoint: Which is Better to Measure Consumer Preferences?” (white paper)

             “Ten Best Practices to Improve Your Concept and Product Tests” (white paper)

             “Using Choice-Based Market Segmentation to Improve Your Marketing Strategy” (white
              paper)

             “What Your Tracking Study Should Measure About Your Customers” (white paper)

             “Using Customer Journey Maps to Improve Your Customer Experience” (white paper)


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             “How to Improve Your Usage and Attitude Study” (June, 2012)

             “Five Pitfalls of Market Segmentation and How to Avoid Them” (May, 2012)


        Professional Experience Prior to MMR Strategy Group

          Fairview Company, Calabasas, CA                                                  2002 - 2004
          Managing Director
           West Coast Practice Leader of Executive Development for Monitor Group.
              Designed and managed marketing and strategy executive education programs.
              Developed curriculum, served as lead faculty on programs for Fortune 100 clients.
             Consulted with clients in technology, software, and financial services.
              Provided consulting services in marketing and strategy.

          Intuit/Digital Insight, Calabasas, CA                                                 2001 - 2002
          Senior Vice President for Products, Marketing, and Alliances
           Managed business lines for $130 million provider of outsourced banking
              services/software.
              Directed marketing, strategy, alliances, mergers, acquisitions, resellers, and pricing for 9
              business lines. Managed $29 million budget and staff of 40.
             Built product management and strategy functions.
              Set priorities for $22 million R&D budget. Directed $51 million acquisition and post-
              merger conversion of 150 new clients.

          Move, Inc., Westlake Village, CA                                                    1999 - 2001
          President, Home Services
           Founded home services division for software/services provider to real estate industry.
             Directed business unit for new division. Built alliances with associations including
             National Association of Homebuilders and American Institute of Architects.

          PHH Corporation (NYSE: PHH), Mortgage Division, Mount Laurel, NJ                    1997 - 1999
          Vice President, Marketing
           Directed marketing for $26 billion outsourced mortgage services division.
              Company provided private label loans and loan servicing for customers and partners,
              including Wells Fargo, USAA, Coldwell Banker, Century 21. Served on 14-member
              Executive Committee. Managed $14 million budget and 60 people in marketing, research,
              public relations, advertising, strategic planning, business development, and e-commerce.
             Created collateral for selling, processing, and closing loans distributed to 750,000
              customers annually.
              Redesigned sales materials used by 150-person sales force. Created point-of-sale
              materials and placed in 1,600 real estate offices nationwide. Negotiated co-marketing
              deals.


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             Built online platform to originate, close, and service mortgages.
              Created co-branded system used by 1,400 partners to originate $700 million in mortgages
              in 2000. Integrated system with more than 2,000 sales and customer service reps.

          Boston Consulting Group, Chicago, IL                                              1995 - 1997
          Consultant
           Consulted in marketing, strategy, and distribution for $1 billion international strategy
             consulting firm.
             Designed and rolled out database marketing program for international supermarket
             chain.
             Developed purchasing strategy for $3 billion consumer goods company.
             Evaluated market strategy for $800 million division of paper goods company.

          Harvard Business School, Cambridge, MA                                               1991 - 1995
          Dean’s Doctoral Fellow
           Developed and implemented multi-year research project analyzing buyer-supplier
             alliances.
             Authored 14 publications including best-selling case studies and articles in distribution,
             sales, supplier management, purchasing, branding, and new products. Taught in Babson
             College Executive MBA program.

          E&J Gallo Winery, Modesto, CA                                                         1990
          MBA Intern
           Summer intern at global winery. Developed packaging strategy, distribution, and retailer
             incentive programs for the wine cooler category.

          Long Wharf Trading Company, Danvers, MA                                          1986 - 1989
          President & Co-Founder
           Co-founded company manufacturing high quality sewn products for advertising
             premiums.
             Directed 30 employees. Clients included banks, universities, corporations, schools, and
             museums. Company was featured with full-page story in Inc. Magazine.

          Parsons Corporation/Barton-Aschman Associates, Evanston, IL                   1985 - 1986
          Associate Consultant
           Conducted strategic and operations planning for public transportation systems at global
             construction and regional planning company.
             Received President’s Award for outstanding initiative and performance.




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        Selected Courses Taken in MBA and Doctoral Programs

             Economics and Finance, including topics such as Managerial Economics; Financial
              Reporting and Accounting; Business, Government, and the International Economy;
              Corporate Finance; Product Costing; and Microeconomic Theory.

             Marketing and Strategy, including topics such as Marketing; Marketing Foundations
              Readings; New Products; Marketing Implementation; Service Management; Research
              Issues in Marketing; Buyer Behavior; Industrial Marketing and Procurement; Industry and
              Competitive Analysis; and Communications.

             Sociology and Psychology, including Organizational Behavior; Human Resources; Social
              Behavior in Organizations; Readings in Administration (two courses); and Management
              Policy and Practice.

             Statistics, including Statistical Inference; Social Network Analysis; Applied Data Analysis;
              and Analyzing Covariance Structures.

             Research Methods and Research Design, including Doctoral Research Seminar; Research
              Design and Measurement; Design of Field Research in Organizational Behavior; and
              Intervention Research and Action Science.




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                               Dr. Bruce Isaacson Litigation Expert Witness Experience
                                                    August 2022
        Cases in which Dr. Bruce Isaacson has testified as an expert, including written expert reports or
        testimony at deposition or trial, from 2014 to present.

        MGA Entertainment Inc. v. Clifford T.I. Harris et al.
        U.S. District Court, Central District of California, Western Division

        In the Matter of L’Oréal USA, Inc. (CeraVe Skincare Products)
        National Advertising Division of the Better Business Bureau

        Power Home Remodeling Group, LLC v. Power Home Solar, LLC d/b/a Powerhome Solar, also
        d/b/a Powerhome Solar & Roofing, also d/b/a Power Home Solar and Roofing
        U.S. District Court, Eastern District of Pennsylvania

        Diamond Resorts U.S. Collection Development, LLC, and Diamond Resorts Hawaii Collection
        Development, LLC v. Pandora Marketing, LLC d/b/a Timeshare Compliance, Intermarketing
        Media, LLC d/b/a Resort Advisory Group, Slattery, Sobel & Decamp, LLC, Del Mar Law Group,
        LLC, Carlsbad Law Group, LLP, JL “Sean” Slattery, Esq., Unlock Legal, APLC, Miranda Dempsey,
        APLC, d/b/a McCroskey Legal, and Miranda McCroskey, Esq.
        U.S. District Court, Central District of California

        LEGO A/S, LEGO Systems, Inc., and LEGO Juris A/S v. ZURU Inc.
        U.S. District Court, District of Connecticut

        Rasmussen Instruments, LLC v. DePuy Synthes Products, Inc., DePuy Synthes Sales, Inc., and
        Medical Device Business Service Inc.
        U.S. District Court, District of Massachusetts, Eastern Division

        New Prime, Inc., D/B/A Prime, Inc., v. Amazon Logistics, Inc., Amazon.com Services LLC, and
        Amazon Technologies, Inc.
        U.S. District Court, Western District of Missouri, Southern Division

        Coulter Ventures, LLC v. Rogue Ridge, LLC
        United States Patent and Trademark Office, Trademark Trial and Appeal Board

        Tiffany and Company and Tiffany (NJ), LLC v. Costco Wholesale Corp.
        U.S. District Court, Southern District of New York

        In re Elysium Health-ChromaDex Litigation
        U.S. District Court, Southern District of New York




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        Diamond Resorts U.S. Collection Development, LLC, and Diamond Resorts Hawaii Collection
        Development, LLC v. US Consumer Attorneys, P.A., Henry Portner, Esq., Robert Sussman,
        Pluto Marketing Inc., 1Planetmedia Inc., Newton Group Transfers, LLC, The Newton Group,
        ESA LLC, Interval Broker Direct, LLC, Newton Group Exit, LLC, and DC Capital Law Firm, LLP
        U.S. District Court, Southern District of Florida

        ALIIGN Activation Wear, LLC v. lululemon Athletica Canada Inc. and lululemon USA Inc.
        U.S. District Court, Central District of California, Western Division

        TravelPass Group, LLC, Partner Fusion, Inc., Reservation Counter, LLC v. Caesars
        Entertainment Corporation, Choice Hotels International, Inc., Hilton Domestic Operating
        Company, Inc., Hyatt Hotels Corporation, Marriott International, Inc., Red Roof Inns, Inc., Six
        Continents Hotels, Inc., Wyndham Hotels Group, LLC
        U.S. District Court, Eastern District of Texas, Texarkana Division

        American Beverage Association, California Retailers Association, California State Outdoor
        Advertising Association v. The City and County of San Francisco
        U.S. District Court, Northern District of California, San Francisco Division

        Barry Braverman, et al v. BMW of North America, LLC and BMW AG
        U.S. District Court, Central District of California, Southern Division

        Glaxo Group Limited v. Respirent Pharmaceuticals Co., Ltd.
        U.S. District Court, Southern District of New York

        Sulzer Mixpac AG v. DXM Co., LTD and Dentazon Corporation
        U.S. District Court, Southern District of New York

        American Massage Therapy Association v. Implus Footcare, LLC
        United States Patent and Trademark Office, Trademark Trial and Appeal Board

        Richard Sotelo, on behalf of himself and all others similarly situated v. Rawlings Sporting
        Goods Company, Inc.
        U.S. District Court, Central District of California, Western Division

        In re: Application of Apple Inc. for TVOS Mark (86/632,177)
        United States Patent and Trademark Office, Trademark Trial and Appeal Board

        Susan Tran, on Behalf of Herself and all Others Similarly Situated v. Sioux Honey Association,
        Cooperative
        U.S. District Court, Central District of California, Southern Division

        Sansi North America, LLC v. LG Electronics USA, Inc.
        U.S. District Court, Central District of California


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        Lindsay and Jeff Aberin, Don Awtrey, Charles Burgess, John Kelly, Yun-Fei Lou, Joy Matza, and
        Melissa Yeung, individually and on behalf of all others similarly situated v. American Honda
        Motor Company
        U.S. District Court, Northern District of California

        Federal Trade Commission and Utah Division of Consumer Protection v. Nudge LLC et al.
        U.S. District Court, District of Utah, Central Division

        Rockwell Automation, Inc. v. Radwell International, Inc.
        U.S. District Court, District of New Jersey

        James Demetriades, an individual v. Yelp, Inc., a Delaware corporation, et al.
        Superior Court of the State of California, County of Los Angeles, Central District

        In the Matter of Certain Pocket Lighters
        United States International Trade Commission, Washington, D.C.

        Vital Pharmaceuticals, Inc. v. Monster Energy Company and REIGN Beverage Company, LLC
        U.S. District Court, Southern District of Florida

        In the Matter of Certain Motorized Vehicles and Components Thereof
        United States International Trade Commission, Washington, D.C.

        Mahindra & Mahindra, Ltd. and Mahindra Automotive North America, Inc. v. FCA US LLC
        United States District Court, Eastern District of Michigan

        MGA Entertainment Inc. and The Little Tikes Company v. Dynacraft BSC, Inc. et al.
        U.S. District Court, Central District of California

        Fuse Chicken, LLC v. Amazon.com, Inc. and Does 1-10
        U.S. District Court, Northern District of Ohio

        Diamond Foods, Inc. v. Hottrix, LLC
        U.S. District Court, Northern District of California

        Steven A. Conner DPM, P.C. v. Optum360, LLC
        U.S. District Court, Eastern District of Pennsylvania

        Stephanie Escobar, individually and on behalf of all others similarly situated v. Just Born, Inc.
        U.S. District Court, Central District of California

        Daryl White, Jr., individually and on behalf of all others similarly situated v. Just Born, Inc.
        U.S. District Court, Western District of Missouri



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        Forever 21 v. Gucci America, Inc.
        U.S. District Court, Central District of California, Western Division

        Ezaki Glico Kabushiki Kaisha, d/b/a Ezaki Glico Co., LTD., and Ezaki Glico USA Corporation
        U.S. District Court, District of New Jersey

        GoPro, Inc. v. 360Heros, Inc.
        U.S. District Court, Northern District of California

        Monster Energy Company v. Integrated Supply Network, LLC
        U.S. District Court, Central District of California

        Lokai Holdings LLC v. Twin Tiger USA LLC, Twin Tiger World Markets Ltd., Rory Coppock and
        Troy Coppock
        U.S. District Court, Southern District of New York

        Joann Martinelli, individually and on behalf of all others similarly situated v. Johnson &
        Johnson and McNeil Nutritionals, LLC
        U.S. District Court, Eastern District of California

        Strategic Partners, Inc. v. Vestagen Protective Technologies, Inc.
        U.S. District Court, Central District of California, Western Division

        Federal Trade Commission v. Damian Kutzner, individually and as an officer of Brookstone
        Law P.C. (California), et al.
        U.S. District Court, Central District of California

        In re: National Collegiate Athletic Association Athletic Grant-In-Aid Cap Antitrust Litigation
        U.S. District Court, Northern District of California, Oakland Division

        Adidas America, Inc., Adidas AG, Adidas International Marketing B.V., Reebok International
        Ltd., and Reebok International Limited v. TRB Acquisitions LLC, et al.
        U.S. District Court, District of Oregon, Portland Division

        Network-1 Technologies, Inc. v. Alcatel-Lucent USA Inc., et al.
        U.S. District Court, Eastern District of Texas, Tyler Division

        In the Matter of DIRECTV LLC v. Comcast Cable Communications
        National Advertising Division of the Better Business Bureau

        Sisters of Charity of Leavenworth Health System, Inc. v. Blue Cross and Blue Shield
        Association
        U.S. District Court, District of Colorado



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        Pinkette Clothing, Inc. v. Cosmetic Warriors Limited dba Lush Handmade Cosmetics
        U.S. District Court, Central District of California

        LifeScan, Inc. and Johnson & Johnson v. PharmaTech Solutions, Inc. and Decision Diagnostics
        Corp.
        U.S. District Court, Northern District of California, Oakland Division

        General Motors LLC Ignition Switch Litigation
        U.S. District Court, Southern District of New York

        Robert S. Davidson, d/b/a Plastertech v. The United States
        United States Court of Federal Claims

        Blue Cross and Blue Shield Association, an Illinois not-for-profit corporation v. Zoom Care,
        P.C.; Zoom Management, Inc.; Zoomcare; Zoom Care Health Plan; and Zoom Care
        Washington, P.L.L.C.
        U.S. District Court, Western District of Washington at Seattle

        Kosair Charities Committee, Inc. v. Norton Healthcare, Inc. et al.
        Jefferson County, Kentucky Circuit Court, Division Five (5)

        Safelite Group, Inc. and Safelite Solutions LLC v. Lori Swanson, in her official capacity as
        Attorney General of the State of Minnesota, and Michael Rothman, in his official capacity as
        the Commissioner of the Minnesota Department of Commerce
        U.S. District Court, District of Minnesota

        Confederate Motors, Inc. v. FCA US LLC
        United States Patent and Trademark Office, Trademark Trial and Appeal Board

        Talking Rain Beverage Company, Inc. v. DS Services of America, Inc.
        U.S. District Court, Western District of Washington at Seattle

        Farouk Systems, Inc. v. AG Global Products, LLC d/b/a FHI Heat, LLC and Shauky Gulamani
        U.S. District Court, Southern District of Texas, Houston Division

        Federal Trade Commission v. LifeLock, Inc. a corporation; Robert J Maynard, Jr., individually
        and as an officer of LifeLock, Inc.; and Richard Todd Davis, individually and as an officer of
        LifeLock, Inc.
        U.S. District Court, District of Arizona

        Parallel Networks Licensing, LLC v. Microsoft Corporation
        U.S. District Court, District of Delaware




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        Parallel Networks Licensing, LLC v. International Business Machines Corporation
        U.S. District Court, District of Delaware

        In the Matter of Certain Footwear Products (Complainant Converse Inc.)
        United States International Trade Commission, Washington DC

        Klauber Brothers, Inc. v. Forever 21 Retail Inc., International Intimates, Inc., and Does 1
        through 10
        U.S. District Court, Central District of California

        Weber-Stephen Products LLC v. Sears Holdings Corporation, and Sears, Roebuck and Co.
        U.S. District Court, Northern District of Illinois, Eastern Division

        Church & Dwight Co., Inc. v. SPD Swiss Precision Diagnostics, GMBH
        U.S. District Court, Southern District of New York

        Robert Namer v. Broadcasting Board of Governors and Voice of America
        U.S. District Court, Eastern District of Louisiana

        Shannon Fabrics, Inc. v. Jo-Ann Stores, Inc.
        U.S. District Court, Central District of California

        Mars, Incorporated v. The Hershey Company and Hershey Chocolate & Confectionery
        Corporation
        U.S. District Court, Eastern District of Virginia, Alexandria Division

        Fitbug Limited v. Fitbit, Inc.
        U.S. District Court, Northern District of California

        Patrick Dang and Michael Villa v. San Francisco Forty-Niners, Ltd., et al.
        U.S. District Court, Northern District of California

        Kreation Juicery, Inc. v. Eiman Shekarchi and April Shekarchi
        U.S. District Court, Central District of California

        Miracle 7, Inc. v. Halo Couture LLC
        U.S. District Court, Southern District of Florida

        Robert McCrary v. The Elations Company LLC
        U.S. District Court, Central District of California

        OraLabs, Inc., v. The Kind Group LLC
        U.S District Court, District of Colorado



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        Philippe Charriol International Limited v. A’lor International Limited
        U.S. District Court, Southern District of California

        LegalZoom.com, Inc. v. Rocket Lawyer Incorporated
        U.S. District Court, Central District of California, Western Division

        Benchmark Young Adult School, Inc., dba Benchmark Transitions v. Launchworks Life Services,
        LLC dba Mark Houston Recovery Center and Benchmark Recovery Center
        U.S. District Court, Southern District of California

        Diageo North America, Inc. v. Mexcor, Inc. and EJMV Investments, LLC
        U.S. District Court, Southern District of Texas, Houston Division

        Globefill Incorporated v. Elements Spirits, Inc. and Kim Brandi
        U.S. District Court, Central District of California




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                                   Exhibit 2:
                Test and Control Images Displayed in the Surveys


This exhibit provides the following images:

   1. The test and control webpages displayed in the surveys, in versions for
      desktop or laptop computers, and for mobile devices.

   2. The test and control versions of the MetaBirkins handbags displayed in the
      surveys, with and without superimposed words.

The images in this exhibit extend across multiple pages. In the surveys, each
image was shown to respondents as one continuous webpage, similar to how
they would view it online.

Also, this exhibit provides titles and labels, such as “Test Webpage” or “Control
Webpage,” that were not shown in the surveys.
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                                                   Test Version of Webpage (1 of 3)
                                                         (Desktop or Laptop)




Exhibit 2 - Isaacson Expert Report                                                                   Page 1
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                                                   Test Version of Webpage (2 of 3)
                                                         (Desktop or Laptop)




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                                                   Test Version of Webpage (3 of 3)
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Exhibit 2 - Isaacson Expert Report                                                                   Page 3
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                            Test Versions of MetaBirkins Handbags, With and Without Superimposed Words (1 of 5)




Exhibit 2 - Isaacson Expert Report                                                                                Page 4
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                            Test Versions of MetaBirkins Handbags, With and Without Superimposed Words (2 of 5)




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                            Test Versions of MetaBirkins Handbags, With and Without Superimposed Words (3 of 5)




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                            Test Versions of MetaBirkins Handbags, With and Without Superimposed Words (4 of 5)




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                            Test Versions of MetaBirkins Handbags, With and Without Superimposed Words (5 of 5)




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                          Control Versions of MetaBirkins Handbags, With and Without Superimposed Words (1 of 5)




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                          Control Versions of MetaBirkins Handbags, With and Without Superimposed Words (2 of 5)




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                          Control Versions of MetaBirkins Handbags, With and Without Superimposed Words (3 of 5)




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                          Control Versions of MetaBirkins Handbags, With and Without Superimposed Words (4 of 5)




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                          Control Versions of MetaBirkins Handbags, With and Without Superimposed Words (5 of 5)




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                                     Control Version of Webpage (6 of 6)
                                                  (Mobile)




Exhibit 2 - Isaacson Expert Report                                                 Page 28
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                            Exhibit 3:
      Recruiting Methods and Panel Description for the Surveys
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                    Recruiting Methods and Panel Description for the Surveys




        This Exhibit provides information about the recruiting methods for all interviews in both

surveys, including interviews conducted among NFT purchasers and among Handbag

purchasers. The Exhibit also describes the panel used to locate prospective survey

respondents.1

        Survey respondents were recruited from a panel operated by a company called Prodege.

Prodege’s panel includes millions of consumers globally who have enrolled to become

prospective survey respondents from time to time. Panel members are recruited from a wide

variety of sources, and the panel can represent the general population of the United States

according to demographics such as gender, age, geography, and other variables.

        Prodege uses a variety of quality control methods to confirm that respondents are real

consumers, and to encourage honest responses in surveys. The following are examples of their

quality control methods:

      i.    Digital Fingerprinting: Digital fingerprinting records information from the devices

            that panel members use to complete a survey, to identify attempts to take a survey

            more than once from a single device.




1
 Information regarding Prodege, its panel, and its quality control methods is based on information from
the company as well as the pages from their panel book included in this exhibit.


Exhibit 3 - Isaacson Expert Report                                                               Page 1
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      ii.   Third-Party Verification: Third-party identity verification matches information from

            panel members to information available from other sources, which might include

            other websites (such as LinkedIn), the U.S. Postal Service (for address information),

            or other third-party information sources.

     iii.   Response Time Checks: Response time checks look for respondents who complete a

            survey in an unusual amount of time. Respondents who finish a survey suspiciously

            quickly are removed from the survey. Respondents identified in this manner in a

            number of surveys can be eliminated from the panel.

     iv.    Panel Profile Checks: Prodege maintains a database with certain information about a

            panel member, such as demographics. Respondents identified as providing

            responses inconsistent with this information in a number of surveys can be

            eliminated from the panel.

        Each prospective respondent was recruited either for the survey conducted among NFT

purchasers or the survey conducted among Handbag purchasers. Respondents who were

recruited for one survey were not recruited for the other survey, so respondents who

participated in one survey did not participate in the other survey.

        For both surveys, Prodege recruited panel members either with an email invitation, or

through the panel’s survey dashboard or portal. The sponsor and subject of each survey were

not disclosed, so respondents remained blind as to the purpose and sponsor of the surveys. All

prospective respondents for either survey answered the same qualification questions relating

to that survey, and passed through the same qualification procedures relating to that survey.




Exhibit 3 - Isaacson Expert Report                                                          Page 2
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        As described in the main body of the report, prospective respondents qualified for

either survey by answering a series of qualifying questions. Prospective respondents were not

asked any pre-screening questions for either survey, and were not targeted based on pre-

existing profile information, other than demographic characteristics (gender, age, and

geography) for quota purposes. For example, respondents who had a home address located

outside of the United States were not invited into either survey.

        The remainder of this exhibit provides additional information about Prodege from

selected pages of their “panel book,” which describes the company’s panel, recruiting methods,

and quality control procedures.




Exhibit 3 - Isaacson Expert Report                                                           Page 3
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                                                  Panel
                                                  Book
                                                          2022




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                                       Contents
                                               Why
                                            Prodege         3
                                               Data
                                              Quality       4
                                           Sampling
                                                            5
                                                            6
                                      International
                                          Coverage


                                                            7
                                                 Our
                                                Panel


                                                            8-16
                                        Highlighted
                                         Audiences

                                       Frequently
                                  Asked Questions           17-18



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Why Prodege
A cutting-edge marketing and consumer insights
platform, Prodege has charted a course of innovation in
the evolving technology landscape by helping leading
brands, marketers, and agencies uncover the answers
to their business questions, acquire new customers,
increase revenue, and drive brand loyalty & product
adoption. Bolstered by a major investment by Great
Hill Partners in Q4 2021 and the strategic acquisition
of Pollf ish, a modern, mobile-f irst survey platform,
Prodege looks forward to more growth and innovation
to empower our partners to gather meaningful, rich
insights and better market to their target audiences.



    Our Commitment
        Each day we’re committed                  With every survey, every question,
        to sampling integrity                     we are committed to quality



        We’re committed because we                We do it all to create rewarding
        understand that people are the            moments for our members, our
        foundation of meaningful research         employees and you




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Data Quality
Quality is central to all we do. We utilize a variety of methods
to ensure the highest data quality and are in compliance
with GDPR and CCPA.




A double opt-in registration process including:

Digital Fingerprinting                   CAPTCHA
¨ǝɵɀǣƬƏǼƳƳȸƺɀɀàƺȸǣˡƬƏɎǣȒȇ             xȒƫǣǼƺàƺȸǣˡƬƏɎǣȒȇ
(ƺɮǣƬƺàƺȸǣˡƬƏɎǣȒȇ                       Third Party Validation Methods

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Sampling
We offer the deepest sampling expertise in the industry.




Every project we support on our clients’ behalf is managed by intelligent
and experienced sampling design experts.


Our team of 100+ highly experienced global project managers proactively
anticipates our clients’ needs to ensure we deliver on time and on budget.




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Global Panel Access
The world is a big place, let us help you
reach who you need wherever they are!




Prodege’s
International Reach

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Our Panel

                   Prodege is a leading provider of people driven insights for the
                   ȅƏȸǸƺɎȸƺɀƺƏȸƬǝǣȇƳɖɀɎȸɵِÁǝȸȒɖǕǝƳǣɮƺȸɀǣˡƺƳȸƺƬȸɖǣɎȅƺȇɎȅƺɎǝȒƳɀ
                   and a world-class consumer engagement model, we deliver a more
                   thoughtful approach to research.

                   Our breakthrough model fosters member retention and ongoing
                   ȵƏȸɎǣƬǣȵƏɎǣȒȇِÁǝǣɀƫȸǣȇǕɀȅƏȇɵƫƺȇƺˡɎɀɎȒȒɖȸƬǼǣƺȇɎɀًǣȇƬǼɖƳǣȇǕ
                   delivery of re-contact surveys, longitudinal studies, in-home use
                   tests, and ongoing research programs.


                   Established in 1996, MyPoints has built one of the longest running
                   and most respected online market research panels in the industry.
                   ÁǝȸȒɖǕǝǣɎɀǼȒȇǕ‫ٮ‬ɀɎƏȇƳǣȇǕȵƏȸɎȇƺȸɀǝǣȵɀɯǣɎǝˡȸȅɀɀɖƬǝƏɀÈȇǣɎƺƳ
                   Airlines, Hilton Hotels and many more, MyPoints has developed
                   ƺɴɎȸƺȅƺǼɵɀɎȸȒȇǕȵȸȒˡǼǣȇǕǔȒȸ ‫!א ً א‬ƏȇƳȅƏȇɵɀȵƺƬǣƏǼǣɿƺƳ
                   audiences. With precise targeting capability across over 500
                   data points of information, MyPoints consistently delivers the
                   highest quality results and is universally recognized as a trusted
                   ɀƏȅȵǼƺ‫ژ‬ɀȒɖȸƬƺِ


                   InboxDollars proprietary panel joins Prodege and expands our global
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                   Canada in 2014, this unique group of registered members enhances
                   the scale and breadth of our overall reach.


                   ySense provides us with an international respondent base. We are
                   now able to offer stronger feasibility and overall performance in Asia,
                   Latin America, Eastern Europe, and Africa.



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                                              Highlighted
                                              Audiences
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Personal and Household

Household                                         Education
Gender                                            xƏǴȒȸƏɎÈȇǣɮƺȸɀǣɎɵٖ!ȒǼǼƺǕƺ
Age                                               ÈȇǣɮƺȸɀǣɎɵ(ƺǕȸƺƺ
0ɎǝȇǣƬǣɎɵ٢È³٣                                    Currently Enrolled
RǣɀȵƏȇǣƬ٢È³٣                                     Year Graduated
Household Size                                    Level of Studies – Current
Household Location                                Full-Time / Part-Time Student
Marital Status
Number of Children                                Occupation
Ages of Children                                  Employment Status
Gender of Children                                Professional Position
Pet Ownership                                     Primary Industry
Languages Spoken                                  Primary Department
Accommodation / Home Ownership                    Number of Employees
                                                  Role in Organization
Personal                                          Decision Making Authority Over
¨ȒǼǣɎǣƬƏǼ¨ƏȸɎɵǔˡǼǣƏɎǣȒȇ                        Corporate Purchase:
Political Ideology                                ۢ   Telecommunications

Gun Ownership                                     ۢ    ǔˡƬƺ³ɖȵȵǼǣƺɀ

Registered to Vote                                ۢ   IT

Religion                                          ۢ   Marketing / Advertising Sales

Sexual Orientation                                ۢ   Shipping
                                                  ۢ   Corporate Travel

                                                  Finance Sector Position IT Position
                                                  Business Smartphone Brand
                                                  Veteran – Military
                                                  Branch of Service – Military
                                                  Military – Family Member



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Mobile                      Finances                      Auto
Location                    Personal Annual               Access to a Car
Arrival Time                Income                        Automotive Decision Maker
Dwell Time                  Household Income               ȸƏȇƳȒǔ!Əȸ٢ɀ٣ ɯȇƺƳٖnƺƏɀƺƳ
Departure Time              Investable Assets             Car Manufactured Year
                            Primary Banking               Car Purchased / Leased Year
                            Relationship                  zƺɯȒȸÈɀƺƳ!Əȸ¨ɖȸƬǝƏɀƺ
                            Types of Investments          Timeframe
                            Credit Cards                  ÁɵȵƺȒǔ!Əȸ٢ɀ٣
                            Financial Products            Considering
                            Stock Trading                 Auto Insurance
                            Participation                 Motorcycle Ownership
                            Stock Trading Method




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Media                                    Computer and Video Gaming
Radio Listening Frequency                Gaming Device
Television – Hours Per Week              Gaming Platform
Cable / Satellite Service                Online and Virtual Gaming
Streaming Services                       Spending on Games
Type of Publications Read                Types of Games
³ȒƬǣƏǼxƺƳǣƏƬɎǣɮƺǼɵÈɀƺƳ               Video / Computer Games per Week
                                         Early Adopter
                                         Electronic Products
                                         Electronic Products Household DM
                                         Internet Connection
                                         Internet Provider
                                         Media Receiver – Download Movies Ability
                                         Mobile Phone Features
                                         Mobile Phone Plan
                                         Personal Smartphone Brand
                                         Operating System
                                         Personal Mobile Phone Carrier

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Lifestyle

Travel                                   Food and Beverage
Flights – Airlines Flown                 Primary Grocery Shopper
Flights – Domestic or Int’l              Primary Grocery Store
Flights – Purpose of Travel              Average Alcohol Consumption
Hotels Frequented                        Beverages Consumed
Travel Destination Past Year             Fast Food Frequency
Types of Travel Occasions                Fast Food Restaurant
Transportation Methods                   Favorites
Rideshare                                «ƺƬƺȇɎ¨ɖȸƬǝƏɀƺȸɀȒǔ³ȵƺƬǣˡƬ
                                         Food & Beverage Brand
Hobbies and Interests                    Recent Visitors to Restaurants
                                         and Grocery Stores
Gambling Types
Hobbies and Interests
Movie Theater Frequency
Music Preference
Purchase Movies
Rent/Download Movies
Sports/Exercise – Hours Spent per Week




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Health and Wellness

Healthcare
ADD / ADHD                      Diabetes                     Migraines
Allergies                       Elective / Plastic           Multiple Sclerosis
Anxiety Disorders               Surgery                      Obesity
Asthma                          Emphysema                    Parkinson’s Disease
Arthritis                       Erectile Dysfunction         Pneumonia
Back Pain                       Glasses / Contact            Psoriasis/Eczema
Bipolar Disorder                Lenses                       Rheumatoid Arthritis
Botox                           Hearing Aid                  Shingles
Cancer & Stage                  High Blood Pressure          Sinusitis / Rhinitis
Chronic Pain                    High Cholesterol             Sleep Disorders
Colitis                         Hypertension                 Stroke
Dementia                        Infertility                  ÈǼƬƺȸƏɎǣɮƺ!ȒǼǣɎǣɀ
Depression                      Menopause




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Mother and Baby                     Smoking and Tobacco
Expecting a Baby                    Other Tobacco Products
Expecting – Month                   Tobacco – Cigarette Amount
Expecting – Year                    Tobacco – Cigarette Brands
First Time Parent                   Cigarette Quitting Methods
Breast Feeding                      Tobacco – Do You Smoke
¨ȸȒƳɖƬɎɀÈɀƺƳ«ƺǕɖǼƏȸǼɵ             àƏȵƺٖ0ǼƺƬɎȸȒȇǣƬ!ǣǕƏȸƺɎɎƺÈɀƏǕƺ
Brands of Baby Food
Child Allergies




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Business to Business




Account Managers & Directors                !ǝǣƺǔÁƺƬǝȇȒǼȒǕɵ ǔˡƬƺȸ
Admin & Executive Assistants                Computer Analyst
Administrator                               Consultant
Analyst / Senior Analyst                    Controller
Architect                                   Counselor
Asst. Manager / Asst. Director              Customer Service Representative
Attorney                                    Database Administrator
Business Development Director               Dentist / Dental Hygienist
Buyer                                       Designer
!ƺȸɎǣˡƺƳ¨ɖƫǼǣƬƬƬȒɖȇɎƏȇɎ                  Director / Department Head
Chairman / Board Member                     Editor / Writer
Chemist / Scientist                         Educator
!ǝǣƺǔ0ɴƺƬɖɎǣɮƺ ǔˡƬƺȸ                      Engineer
!ǝǣƺǔIǣȇƏȇƬǣƏǼ ǔˡƬƺȸ                      0ɴƺƬɖɎǣɮƺ ǔˡƬƺȸ
!ǝǣƺǔXȇǔȒȸȅƏɎǣȒȇ ǔˡƬƺȸ                    Executive VP / Senior VP
!ǝǣƺǔ ȵƺȸƏɎǣȒȇɀ ǔˡƬƺȸ                     Financial Advisor


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General Manager                               Programmer
Graphic Designer                              Project Manager
Human Resources Director                      Psychologist
IT Consultant                                 Publisher / Producer
IT Manager                                    Representative / Sales
Manager / Senior Manager                      Secretary / Treasurer
Marketing Manager / Director                  Social Worker
Military / Government                         Software Developer
MIS Director                                  Student
Nurse                                         Supervisor
Occupational / Physical Therapist             Systems Administrator
Opticians / Optometrist                       Technicians / Technician
Owner / Proprietor / Principal                Specialists
Pharmacist                                    Tradesman / Trade Specialist
Physician / Medical Doctor                    Treasurer
Planner / Scheduler                           Veterinarian
¨ȒǼǣƬƺ ǔˡƬƺȸٖIǣȸƺIǣǕǝɎƺȸ                  Vice President / Assistant VP
President                                     Web Developer
Product Manager                               Webmaster




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Frequently Asked Questions


What steps do you take to achieve                through member engagement with our
Ə‫ژ‬ȸƺȵȸƺɀƺȇɎƏɎǣɮƺɀƏȅȵǼƺȒǔɎǝƺ                  Search, Offers and Shopping channels to
ɎƏȸǕƺɎ‫ژ‬ȵȒȵɖǼƏɎǣȒȇّ                               create additional data points passively. If a
                                                 project requires targeting on criteria not
Through our wide range of recruitment            ƬɖȸȸƺȇɎǼɵƬƏȵɎɖȸƺƳǣȇȅƺȅƫƺȸȵȸȒˡǼƺɀًɯƺ
channels and offerings, Prodege ensures a        can prescreen in real-time and gather tens
diverse composition of people that represent     of thousands of responses within a matter
the population required. We maintain a           Ȓǔ‫ژ‬ǝȒɖȸɀِ
database of over 1,000 demographic and
behavioral attributes that are utilized to       xƺȅƫƺȸȵȸȒˡǼƺɀƏȸƺɖȵƳƏɎƺƳȒȇƏȇ
access sample for our clients’ projects.         ongoing basis, with continuous refreshing
Our experienced Project Management               ɎȒƺȇɀɖȸƺƳƏɎƏȸƺȅƏǣȇɀƬɖȸȸƺȇɎِÈɎǣǼǣɿǣȇǕ
Team starts by understanding our clients’        our proprietary technology, member data
requirements (e.g. a nationally representative   is collected and stored real-time during the
ɀƏȅȵǼƺًȒȸƏɀȵƺƬǣˡƬɎƏȸǕƺɎƺƳǕȸȒɖȵ٣            registration process, in follow-up surveys,
and the number of responses needed,              and on the member website. Members can
ensuring the sample plan is optimized and        ȵȸȒƏƬɎǣɮƺǼɵɖȵƳƏɎƺɎǝƺǣȸȵȸȒˡǼƺƏɎƏȇɵɎǣȅƺً
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                                                 ɎǝƺȅǸȇȒɯɎǝƺǣȸȵȸȒˡǼƺǣɀȇȒɎƬȒȅȵǼƺɎƺً
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respondents and how is it kept                   data collected in a survey can be sent to our
ɖȵ‫ٮ‬ɎȒ‫ٮ‬ƳƏɎƺّXǔȇȒȸƺǼƺɮƏȇɎȵȸȒˡǼǣȇǕ             database and updated real-time.
data is held, how are low incidence
ȵȸȒǴƺƬɎɀ‫ژ‬ƏƳƳȸƺɀɀƺƳّ                              áǝƏɎƏȸƺɵȒɖȸȷɖƏǼǣɎɵȵȸȒƬƺɀɀّ
                                                 (Ȓ‫ژ‬ɵȒɖǝƏɮƺǣȇȵǼƏƬƺȵȸȒƬƺƳɖȸƺɀɎȒ
Prodege tracks and stores thousands of           ȸƺƳɖƬƺȒȸƺǼǣȅǣȇƏɎƺɖȇƳƺɀǣȸƺƳɯǣɎǝǣȇ
demographic and behavioral attributes            ɀɖȸɮƺɵƫƺǝƏɮǣȒȸɀًɀɖƬǝƏɀ٢Ə٣ȸƏȇƳȒȅ
through several channels, including              ȸƺɀȵȒȇƳǣȇǕً٢ƫ٣XǼǼȒǕǣƬƏǼȒȸǣȇƬȒȇɀǣɀɎƺȇɎ
ƬȒȅȵǼƺɎǣȒȇȒǔƏ‫ٮ׎א‬ȷɖƺɀɎǣȒȇȵȸȒˡǼǣȇǕ            ȸƺɀȵȒȇƳǣȇǕً٢Ƭ٣ȒɮƺȸɖɀƺȒǔǣɎƺȅ
survey upon joining the panel. In addition,      ȇȒȇ‫ٮ‬ȸƺɀȵȒȇɀƺًȒȸ٢Ƴ٣ɀȵƺƺƳǣȇǕّ
our members participate in our Daily Poll
                                                 At Prodege, we take data quality very
in which we receive up to 100,000 unique
                                                 seriously. We have our own in-house
responses in a day which are then appended
                                                 compliance department dedicated to
ɎȒɎǝƺǣȸȵȸȒˡǼƺِ ƺǝƏɮǣȒȸƏǼƳƏɎƏǣɀƬȒǼǼƺƬɎƺƳ
                                                 monitoring and eliminating fraudulent panel


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members. We combine industry-standard             In addition, our in-house compliance
data quality solutions provided by third-party    department continuously monitors fraud
partners, along with our own proprietary          and eliminates threats. This may result in
techniques to ensure our panel exceeds            removing panel members or shutting out
industry standards. Observed offenders are        alien technologies caught cheating the
removed from the panel and not allowed to         ɀɵɀɎƺȅِɀȵƏȸɎȒǔȒɖȸȸƺɯƏȸƳɮƺȸǣˡƬƏɎǣȒȇ
re-register with the panel.                       procedure, Prodege’s compliance team has
                                                  also implemented IP address and mobile
When we are not providing survey                  ȵǝȒȇƺɮƺȸǣˡƬƏɎǣȒȇِáƺƬȒȇɎǣȇɖƺɎȒƺɮƏǼɖƏɎƺ
programming for a project, we implement           and/or implement additional data quality
speeder and straightliner traps, honesty and      procedures as new capabilities emerge.
engagement detection and review open-
ended responses. Panelists who fail quality       To avoid panelist duplication, we have
metrics are removed and/or replaced, so           a dedicated compliance team that
clients do not pay for poor quality survey        continuously monitors our users to
ƬȒȅȵǼƺɎƺɀِÁǝƺɀƺȅƺȅƫƺȸɀƏȸƺɎǝƺȇˢƏǕǕƺƳً        prevent fraud. To avoid duplication when
and monitored within our panel. Any repeat        supplementing with external sources, we
offenders are removed from our panel.             employ proprietary and 3rd party digital
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Do you have procedures to detect
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Prodege has a series of processes to handle
member identity and detect fraud. To
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third-party industry standard data quality
solutions to ensure a member is real and
unique upon registration. Members are
subject to a double opt-in process by initially
joining, then opt-in again to join the research
panel. Members cannot enroll more than
once, meaning they cannot have more than
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     www.prodege.com

     /ProdegeLLC




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                              Exhibit 4:
              Quality Control Measures for the Surveys
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                             Quality Control Measures for the Surveys



        Both likelihood of confusion surveys included a number of quality control measures.

Those measures, which were implemented in interviews conducted among NFT purchasers and

those conducted among Handbag purchasers, are described below.

      1.    Both surveys followed “double-blind” interviewing procedures, where respondents

            did not know key details such as the sponsor or true purpose of the surveys.

      2.    The surveys were pre-tested. Before starting either survey, a small number of

            interviews for the survey were conducted online and the data were examined to

            confirm that responses were recorded properly, that survey skip patterns were

            followed accurately, and that responses showed an understanding of the questions.

            Because no changes were made after either pre-test, the interviews from the pre-

            tests are included in the survey databases.

      3.    During qualification, qualifying responses were hidden among other, non-qualifying

            responses. This reduced the likelihood that respondents would guess the answers

            that would qualify or not qualify them for the surveys.

      4.    Respondents were instructed not to guess, and survey questions included “I don’t

            know” options to discourage respondents from selecting other responses that may

            not accurately represent their opinions.

      5.    Certain question text and responses were rotated to reduce the possibility of order

            bias, which may occur if respondents are more likely to select a response in a

            particular position, such as first or last listed response. For example, the order of

            responses was rotated or randomized in Questions D, E, F, G, H, I, K, M, 3, and 6 of

            the survey conducted among NFT purchasers; and in Questions D, E, F, G, H, J, L, 3,

            and 6 of the survey conducted among Handbag purchasers. Each respondent saw

            responses to those questions in an order that varied across respondents, with “I

            don’t know” presented last.




Exhibit 4 - Isaacson Expert Report                                                            Page 1
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      6.    Both surveys included a quality control question. Question J of the survey

            conducted among NFT purchasers, and Question I of the survey conducted among

            Handbag purchasers, asked respondents to select the number seven from a list of

            numbers. Only respondents who selected the proper number continued in the

            survey.

      7.    For both surveys, respondents were required to enter their ZIP code at least twice,

            once in Question C, and again in Question 9 and/or Question 10. Respondents who

            provided ZIP codes in Questions 9 and 10 that did not match the ZIP code provided

            in Question C were terminated from the survey.
      8.    After the interviews were conducted, the amount of time each respondent took to

            complete their survey was reviewed to confirm that the survey was completed in a

            reasonable amount of time. Respondents who completed their survey in an

            unusually short or an unusually long amount of time were removed.

      9.    At the end of each survey (Question 11 in both surveys), respondents were asked to

            agree or disagree with the following statement: “I am the person who was invited

            to participate in this survey. I completed this survey myself, without assistance or

            advice from any other person or source, and in accordance with the instructions

            provided in the survey. The answers I have provided are truthful expressions of my

            situation and opinions.” Respondents who did not agree with this statement were

            terminated from the survey.




Exhibit 4 - Isaacson Expert Report                                                          Page 2
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      10. Respondents were recruited through a panel that maintains some pre-existing

            information about potential respondents. As an additional validation step, survey

            responses for gender (Question A in both surveys) and age (Question B in both

            surveys) were compared with pre-existing panel data. Respondents who provided

            answers that did not match existing panel data for age or gender were terminated.

            All respondents in the final databases were validated in this manner.1




1
 McCarthy, J. Thomas. §32:170. “Tests of properly conducted survey—Effect of deficiencies in survey
methodology.” McCarthy on Trademarks and Unfair Competition, 5th ed., Thomson Reuters, 2021, pp.
32-487 to 32-488. See also Paco Sport, Ltd., v. Paco Rabanne Parfums. No. 96 Civ. 1408(JES). U.S.
District Court, S.D. New York, Feb. 17, 2000.
Exhibit 4 - Isaacson Expert Report                                                            Page 3
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                              Exhibit 5:
       Codes for Analyzing Verbatim Responses for the Surveys
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                     Codes for Analyzing Verbatim Responses for the Surveys


Q.1     What company, companies, person, or people do you think makes or provides the items
        shown on the webpage? Please be as specific as possible. If you don’t know, please
        select “I don’t know.”

Q.4     What other brands or products do you think are made or provided by whoever makes or
        provides the items shown on the webpage? Please be as specific as possible. If you
        don’t know, please select “I don’t know.”

Q.7     What other company, person or brand do you believe sponsors, authorizes, or approves
        whoever makes or provides the items shown on the webpage? Please be as specific as
        possible. If you don’t know, please select “I don’t know.”



             Code                                     Description

               1         Hermès or Birkin

               2         MetaBirkins or Rothschild

                         Another clothing company, media company, or retailer, such as Gucci,
               3
                         Chanel, Vogue, Elle, Forbes, Walmart, Target, or others
                         Another technology company, such as Facebook, Meta, Microsoft, or
               4
                         others

               5         MetaHandbags

               9         Other

              10         I don't know




Exhibit 5 - Isaacson Expert Report                                                       Page 1
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Q.2     What makes you think that? Please be as specific as possible. If you don’t know,
        please select “I don’t know.”

Q.5     What makes you think that? Please be as specific as possible. If you don’t know,
        please select “I don’t know.”

Q.8     What makes you think that? Please be as specific as possible. If you don’t know,
        please select “I don’t know.”


             Code                                      Description

                         Personal experience or general knowledge, such as seeing the bags
               1         before, reading about the topics elsewhere, or having some previous
                         knowledge of the subject matter
                         The look or appearance, such as the look, appearance, colors, or style
               2
                         of the handbags on the webpage

               3         It says so, such as reading the information on the webpage

               9         Other

              10         I don't know




Exhibit 5 - Isaacson Expert Report                                                         Page 2
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                              Exhibit 6:
   Questionnaire for Interviews Conducted Among NFT Purchasers
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                                            Online Survey M


Qualifying Questions:


[DO NOT TARGET OR PRE-SCREEN, EXCEPT TO MEET DEMOGRAPHIC QUOTAS.]
[DO NOT ALLOW RESPONDENTS TO GO BACK TO ANY PREVIOUS QUESTION.]

Thank you for agreeing to participate in this survey. If you need eyeglasses or contact lenses to see the
screen clearly, please wear them to complete the survey. Answer every question honestly and to the
best of your ability. There are no right or wrong answers; we are only interested in your opinions.

On any question, if you don’t know how to answer, it is all right to indicate that you don’t know or you
are not sure. Do not guess and do not consult any other person or source, such as the Internet, while
you complete this survey.

Once you start the survey, please complete it in one session without interruption. Also, do not use your
browser's Back button to try to return to a prior question, as this will terminate your survey.

Click or tap “Next” to begin the survey.


A.      What is your gender? (SELECT ONE RESPONSE)

        Female
        Male
        Non-binary or other
        Prefer not to answer

[IF “PREFER NOT TO ANSWER” OR QUOTA FILLED, TERMINATE. IF “MALE” OR “FEMALE” SELECTED,
AND RESPONSE DOES NOT MATCH PANEL DATA, COUNT AS “GENDER MISMATCH,” TERMINATE.
OTHERWISE, CONTINUE.]


B.      What is your age? (SELECT ONE RESPONSE)

        17 years old or younger
        18 to 34 years old
        35 to 54 years old
        55 years old or older
        Prefer not to answer

[IF “17 YEARS OLD OR YOUNGER,” “PREFER NOT TO ANSWER,” OR QUOTA FILLED, TERMINATE. IF
RESPONSE DOES NOT MATCH PANEL DATA, COUNT AS “AGE MISMATCH,” TERMINATE. OTHERWISE,
CONTINUE.]




Exhibit 6 - Isaacson Expert Report                                                                 Page 1
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C.      Please enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[ASSIGN ZIP CODE TO GEOGRAPHY. IF QUOTA FILLED, TERMINATE. OTHERWISE, CONTINUE.]


D.      Which, if any, of the following types of items are you likely to purchase in the next 12 months?
        For each type of item, please answer [ROTATE: yes, no,] or you don’t know. (SELECT ONE
        RESPONSE FOR EACH TYPE OF ITEM)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I am likely to purchase this type of item in the next 12 months
        No, I am not likely to purchase this type of item in the next 12 months
        I don’t know

        TYPES OF ITEMS
        [RANDOMIZE ORDER.]
        A Non-Fungible Token, or NFT
        A Virtual Private Network subscription, or VPN subscription
        A Virtual Reality headset, or VR headset
        A website domain, or URL

[IF “YES” TO “NFT,” CONTINUE. OTHERWISE, TERMINATE.]


E.      Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in
        the next 12 months? (SELECT ALL THAT APPLY)

        [RANDOMIZE ORDER. ANCHOR “NFT FOR SOMETHING ELSE” AND “I DON’T KNOW” LAST.]
        An NFT for digital artwork
        An NFT for fashion apparel or fashion accessories
        An NFT for music
        An NFT for a video game item or video game asset
        An NFT for sports memorabilia
        An NFT for something else not listed above
        I don’t know [EXCLUSIVE]

[IF “ARTWORK,” AND/OR “FASHION” SELECTED, CONTINUE. OTHERWISE, TERMINATE.]




Exhibit 6 - Isaacson Expert Report                                                                 Page 2
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F.      Which, if any, of the following ranges best reflects the most you would be willing to spend to
        purchase an NFT? (SELECT ONE RESPONSE)

        [REVERSE ORDER. ANCHOR “I DON’T KNOW” LAST]
        Less than $1,000
        $1,000 - $2,499
        $2,500 - $4,999
        $5,000 or more
        I don’t know

        [IF “$2,500-$4,999” OR “$5,000 OR MORE” SELECTED, CONTINUE. OTHERWISE, TERMINATE.]


G.      If you purchased something online, which, if any, of the following payment methods would you
        consider using? (SELECT ALL THAT APPLY)

        [RANDOMIZE ORDER. ANCHOR “SOMETHING ELSE” AND “I DON’T KNOW” LAST.]
        Cryptocurrency
        Credit card
        Check
        Something else not listed above
        I don’t know

[IF “CRYPTOCURRENCY” AND/OR “CREDIT CARD” SELECTED, CONTINUE. OTHERWISE, TERMINATE.]


H.      Do you or does any member of your household work for any of the following types of
        companies? For each type of company, please answer [MATCH ORDER TO Q.D: yes, no,] or you
        don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, someone in my household works for this type of company
        No, no one in my household works for this type of company
        I don’t know

        TYPES OF COMPANIES
        [RANDOMIZE.]
        An advertising or public relations agency
        A marketing research agency
        A company that creates or mints NFTs

[IF “NO” TO ALL, CONTINUE. OTHERWISE, TERMINATE.]




Exhibit 6 - Isaacson Expert Report                                                                 Page 3
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I.      How many surveys about Non-Fungible Tokens (NFTs) have you completed in the past month?
        (SELECT ONE RESPONSE)

        [MATCH REVERSE ORDER TO Q.F. ANCHOR “I DON’T KNOW” LAST.]
        None
        1 to 2
        3 or more
        I don’t know

[IF “NONE,” CONTINUE. OTHERWISE, TERMINATE.]


J.      For quality control purposes, please select the number seven from the list below. (SELECT ONE
        RESPONSE)

        1
        3
        5
        7
        9

[IF “7,” CONTINUE. OTHERWISE, TERMINATE.]


K.      Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)

        [RANDOMIZE ORDER. ANCHOR “OTHER” AND “I DON’T KNOW” LAST.]
        Desktop computer
        Laptop computer
        Tablet
        Smartphone
        Some other type of device not listed above
        I don’t know

[IF “OTHER” OR “I DON’T KNOW,” OR IF SMARTPHONE QUOTA FILLED, TERMINATE. OTHERWISE,
CONTINUE.]


[CELL ASSIGNMENT: ASSIGN QUALIFIED RESPONDENTS TO LEAST FULL CELL.]




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Main Questionnaire:


L.      As a reminder, if you need eyeglasses or contact lenses to see the screen clearly, please put
        them on now.

        Below is a webpage that you may or may not have seen before. Please look at the webpage as
        you typically would if you came across this page online.

        Because this is a picture of a webpage, the links in the picture are not active.

        You may need to scroll to see all of the webpage.

        When you are ready to proceed, click or tap the “Next” button, which will appear below the
        webpage after a brief pause.

        [SHOW ASSIGNED WEBPAGE. DISPLAY “NEXT” BUTTON BELOW THE WEBPAGE AFTER A 15-
        SECOND PAUSE.]


M.      Did you see the webpage clearly? (SELECT ONE RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I did see the webpage clearly
        No, I did not see the webpage clearly
        I don’t know

[IF “YES” CONTINUE. OTHERWISE, TERMINATE.]


N.      Now you will be asked a few questions about the webpage you just viewed. The webpage will
        appear below each question if you would like to view it again.

        As before, please do not guess. If you do not know the answer to a question or do not have an
        opinion, please indicate that you do not know.

[FOR QUESTIONS 1 THROUGH 8, SHOW THE ASSIGNED WEBPAGE BELOW EACH QUESTION AND ALSO
BELOW THE “NEXT” BUTTON. ]




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1.      What company, companies, person, or people do you think makes or provides the items shown
        on the webpage? Please be as specific as possible. If you don’t know, please select “I don’t
        know.”




         I don’t know. [EXCLUSIVE]

[RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE, PROVIDE THIS
MESSAGE, “You must provide an answer or select ‘I don’t know.’” IF “DON’T KNOW” IS SELECTED, SKIP
TO Q.3. OTHERWISE, CONTINUE.]


2.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


3.      Are you aware of any other brands or products made or provided by whoever makes or provides
        the items shown on the webpage? Please answer [MATCH ORDER TO Q.D: yes, no,] or you
        don’t know. (SELECT ONE RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I am aware of other brands or products made or provided by whoever makes or provides
        these items
        No, I am not aware of other brands or products made or provided by whoever makes or
        provides these items
        I don’t know

[IF “YES,” CONTINUE. OTHERWISE, SKIP TO Q.6.]




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4.      What other brands or products do you think are made or provided by whoever makes or
        provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
        please select “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’ IF “DON’T KNOW” IS
SELECTED, SKIP TO Q.6. OTHERWISE, CONTINUE.]


5.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


6.      Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE
        RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “DON’T KNOW” LAST.]
        Is sponsored, authorized, or approved by another company, person or brand
        Is not sponsored, authorized, or approved by another company, person or brand
        I don’t know

[IF “IS,” CONTINUE. OTHERWISE, SKIP TO Q.9.]




Exhibit 6 - Isaacson Expert Report                                                               Page 7
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7.      What other company, person or brand do you believe sponsors, authorizes, or approves
        whoever makes or provides the items shown on the webpage? Please be as specific as possible.
        If you don’t know, please select “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’” IF “DON’T KNOW” IS
SELECTED, SKIP TO Q.9. OTHERWISE, CONTINUE.]


8.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


9.      Please re-enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE DOES NOT MATCH Q.C, CONTINUE. OTHERWISE, SKIP TO Q.11]


10.     To verify, please re-enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE MATCHES Q.C, CONTINUE. OTHERWISE, TERMINATE.]




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11.     Please read the statement that follows and select either “I agree” or “I disagree.” If any portion
        of the statement is not true, please select “I disagree.”

        STATEMENT
        I am the person who was invited to participate in this survey. I completed this survey myself,
        without assistance or advice from any other person or source, and in accordance with the
        instructions provided in the survey. The answers I have provided are truthful expressions of my
        situation and opinions.



                              I agree                            I disagree

        Your response to the above statement will not affect your rewards for completing the survey.

[IF “I DISAGREE,” COUNT RESPONDENT AS TERMINATED. DO NOT COUNT AS A COMPLETED
INTERVIEW AND DO NOT COUNT TOWARD QUOTAS. REGARDLESS OF ANSWER, CONTINUE AND
REWARD RESPONDENT FOR COMPLETION. DISPLAY Q.12.]


12.     Thank you for completing our survey.




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                            Exhibit 7:
             Terminations and Removals for Interviews
                Conducted Among NFT Purchasers
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            Terminations and Removals for Interviews Conducted Among NFT Purchasers


Reason for Termination or Removal                                                              Counts
    Q.A       Gender1                                                                               78
    Q.B       Age2                                                                                 243
    Q.C       ZIP code                                                                              20
    Q.D       Likely to purchase a Non-Fungible Token, or NFT in the next 12 months              2,384
    Q.E       Types of Non-Fungible Tokens (NFTs) likely to purchase in the next 12 months -
                                                                                                   334
              NFT for digital artwork and/or NFT for fashion apparel or fashion accessories
    Q.F       Amount willing to spend to purchase an NFT                                           384
    Q.G       If purchased something online, payment methods would consider using                       6
    Q.H       Type of company work for                                                              93
    Q.I       Completed surveys about Non-Fungible Tokens (NFTs) in the past month                  40
    Q.J       Quality control, select number “7”                                                        1
    Q.K       Device used to take the survey                                                            0
    Q.M       Did not see the webpage clearly                                                           3
    Q.10      ZIP code match                                                                            2
    Q.11      Agree with statement                                                                      1
    Respondents removed from the survey database:
           Provided open-ended responses that reflected a lack of attention                         13
           Time to complete the survey3                                                                 5
           Provided open-ended responses that reflected a lack of attention and time to
                                                                                                        2
           complete the survey

    Total number of respondents terminated or removed                                            3,609




1
 Includes 18 respondents who selected “Prefer not to answer,” and 60 who selected a gender that did
not match the gender on file with the panel provider.
2
 Includes 40 respondents who selected “Prefer not to answer” or indicated their age was “17 years old
or younger,” and 203 who selected an age that did not match the age on file with the panel provider.
3
    Includes respondents who took less than two minutes or more than one hour to complete the survey.

Exhibit 7 - Isaacson Expert Report                                                              Page 1
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                                Exhibit 8:
Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers
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                                           Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.A What is your gender? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                       Counts                                    Percentages
                                                                           All         Test         Control            All         Test        Control
                                                                       Respondents    Webpage       Webpage        Respondents    Webpage      Webpage
Sample size                                                                201           97           104            100.0%        100.0%      100.0%


Female                                                                     70            38            32             34.8%        39.2%        30.8%

Male                                                                       131           59            72             65.2%        60.8%        69.2%

Non-binary or other                                                         0             0            0              0.0%          0.0%        0.0%

Prefer not to answer                                                        0             0            0              0.0%          0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                 Page 1
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                                           Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.B What is your age? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                       Counts                                    Percentages
                                                                           All         Test         Control            All         Test        Control
                                                                       Respondents    Webpage       Webpage        Respondents    Webpage      Webpage
Sample size                                                                201           97           104            100.0%        100.0%      100.0%


17 years old or younger                                                     0             0            0              0.0%          0.0%        0.0%

18 to 34 years old                                                         96            48            48             47.8%        49.5%        46.2%

35 to 54 years old                                                         96            45            51             47.8%        46.4%        49.0%

55 years old or older                                                       9             4            5              4.5%          4.1%        4.8%

Prefer not to answer                                                        0             0            0              0.0%          0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                 Page 2
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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.C Please enter the ZIP code of your home address.
Region

Base: All Respondents




                                                                                         Counts                                    Percentages
                                                                             All         Test         Control            All         Test        Control
                                                                         Respondents    Webpage       Webpage        Respondents    Webpage      Webpage
Sample size                                                                  201           97           104            100.0%        100.0%      100.0%


Midwest                                                                      38            17            21             18.9%        17.5%        20.2%

Northeast                                                                    34            20            14             16.9%        20.6%        13.5%

South                                                                        88            41            47             43.8%        42.3%        45.2%

West                                                                         41            19            22             20.4%        19.6%        21.2%




Exhibit 8 - Isaacson Expert Report                                                                                                                   Page 3
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                                               Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.D Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes, no, or you don’t know.
(SELECT ONE RESPONSE FOR EACH TYPE OF ITEM)

Summary of "Yes, I am likely to purchase this type of item in the next 12 months"

Base: All Respondents




                                                                                                   Counts                                       Percentages
                                                                                   All            Test           Control            All           Test            Control
                                                                               Respondents       Webpage         Webpage        Respondents      Webpage          Webpage
Sample size                                                                         201              97             104            100.0%          100.0%          100.0%


A Non-Fungible Token, or NFT                                                        201              97             104            100.0%          100.0%          100.0%

A Virtual Private Network subscription, or VPN subscription                         173              86              87            86.1%           88.7%           83.7%

A Virtual Reality headset, or VR headset                                            181              88              93            90.0%           90.7%           89.4%

A website domain, or URL                                                            150              68              82            74.6%           70.1%           78.8%




Exhibit 8 - Isaacson Expert Report                                                                                                                                      Page 4
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                                               Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.E Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT APPLY)

Base: All Respondents




                                                                                                 Counts                                       Percentages
                                                                                  All            Test          Control           All            Test        Control
                                                                              Respondents       Webpage        Webpage       Respondents       Webpage      Webpage
Sample size                                                                        201             97             104           100.0%          100.0%      100.0%


An NFT for digital artwork                                                         181             88              93            90.0%              90.7%    89.4%

An NFT for fashion apparel or fashion accessories                                  134             63              71            66.7%              64.9%    68.3%

An NFT for music                                                                   141             66              75            70.1%              68.0%    72.1%

An NFT for a video game item or video game asset                                   168             85              83            83.6%              87.6%    79.8%

An NFT for sports memorabilia                                                      142             71              71            70.6%              73.2%    68.3%

An NFT for something else not listed above                                         32               9              23            15.9%              9.3%     22.1%

I don’t know                                                                        0               0               0             0.0%              0.0%     0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 5
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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.F Which, if any, of the following ranges best reflects the most you would be willing to spend to purchase an NFT? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                Counts                                      Percentages
                                                                                 All            Test          Control           All           Test        Control
                                                                             Respondents       Webpage        Webpage       Respondents      Webpage      Webpage
Sample size                                                                       201             97             104           100.0%         100.0%      100.0%


Less than $1,000                                                                   0               0              0             0.0%           0.0%        0.0%

$1,000 - $2,499                                                                    0               0              0             0.0%           0.0%        0.0%

$2,500 - $4,999                                                                   123             59              64            61.2%         60.8%        61.5%

$5,000 or more                                                                     78             38              40            38.8%         39.2%        38.5%

I don't know                                                                       0               0              0             0.0%           0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                            Page 6
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                                            Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.G If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)

Base: All Respondents




                                                                                              Counts                                       Percentages
                                                                                All           Test          Control           All            Test        Control
                                                                            Respondents      Webpage        Webpage       Respondents       Webpage      Webpage
Sample size                                                                     201             97             104           100.0%          100.0%      100.0%


Cryptocurrency                                                                  192             96              96           95.5%           99.0%        92.3%

Credit card                                                                     190             93              97           94.5%           95.9%        93.3%

Check                                                                            84             33              51           41.8%           34.0%        49.0%

Something else not listed above                                                  23              9              14           11.4%            9.3%        13.5%

I don’t know                                                                      0              0              0             0.0%            0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                           Page 7
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                                            Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.H Do you or does any member of your household work for any of the following types of companies? For each type of company, please answer yes, no, or you don’t know.
(SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY)

Summary of "No, no one in my household works for this type of company"

Base: All Respondents




                                                                                              Counts                                      Percentages
                                                                                All           Test          Control           All           Test          Control
                                                                            Respondents      Webpage        Webpage       Respondents      Webpage        Webpage
Sample size                                                                     201             97             104           100.0%         100.0%         100.0%


An advertising or public relations agency                                       201             97             104           100.0%         100.0%         100.0%

A marketing research agency                                                     201             97             104           100.0%         100.0%         100.0%

A company that creates or mints NFTs                                            201             97             104           100.0%         100.0%         100.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 8
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                                           Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.I How many surveys about Non-Fungible Tokens (NFTs) have you completed in the past month? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                          Counts                                  Percentages
                                                                             All          Test          Control         All         Test        Control
                                                                         Respondents     Webpage        Webpage     Respondents    Webpage      Webpage
Sample size                                                                  201            97            104         100.0%        100.0%      100.0%


None                                                                         201            97            104         100.0%        100.0%      100.0%

1 to 2                                                                        0              0              0          0.0%          0.0%        0.0%

3 or more                                                                     0              0              0          0.0%          0.0%        0.0%

I don't know                                                                  0              0              0          0.0%          0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                  Page 9
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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.J For quality control purposes, please select the number seven from the list below. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                Counts                                Percentages
                                                                                 All           Test           Control       All         Test        Control
                                                                             Respondents      Webpage         Webpage   Respondents    Webpage      Webpage
Sample size                                                                       201             97            104       100.0%        100.0%      100.0%


1                                                                                  0              0              0         0.0%          0.0%        0.0%

3                                                                                  0              0              0         0.0%          0.0%        0.0%

5                                                                                  0              0              0         0.0%          0.0%        0.0%

7                                                                                 201             97            104       100.0%        100.0%      100.0%

9                                                                                  0              0              0         0.0%          0.0%        0.0%




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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.K Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                  Counts                            Percentages
                                                                                  All              Test     Control       All         Test        Control
                                                                              Respondents         Webpage   Webpage   Respondents    Webpage      Webpage
Sample size                                                                        201              97        104       100.0%        100.0%      100.0%


Desktop computer                                                                   64               33        31         31.8%        34.0%        29.8%

Laptop computer                                                                    66               36        30         32.8%        37.1%        28.8%

Tablet                                                                              7                2         5         3.5%          2.1%        4.8%

Smartphone                                                                         64               26        38         31.8%        26.8%        36.5%

Some other type of device not listed above                                          0                0         0         0.0%          0.0%        0.0%

I don't know                                                                        0                0         0         0.0%          0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                   Page 11
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.M Did you see the webpage clearly? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                          Counts                                    Percentages
                                                                              All         Test         Control            All         Test        Control
                                                                          Respondents    Webpage       Webpage        Respondents    Webpage      Webpage
Sample size                                                                   201           97           104            100.0%        100.0%      100.0%


Yes, I did see the webpage clearly                                            201           97           104            100.0%        100.0%      100.0%

No, I did not see the webpage clearly                                          0             0            0              0.0%          0.0%        0.0%

I don't know                                                                   0             0            0              0.0%          0.0%        0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                   Page 12
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.1 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
please select “I don’t know.”

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     97             104           100.0%         100.0%


Hermès or Birkin                                                                                                17              2            17.5%           1.9%

MetaBirkins or Rothschild                                                                                       50              18           51.5%           17.3%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                13              11           13.4%           10.6%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                        12              24           12.4%           23.1%

MetaHandbags                                                                                                     0              24            0.0%           23.1%

Other                                                                                                            8              15            8.2%           14.4%

I don't know                                                                                                    10              17           10.3%           16.3%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 13
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.2 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          97            104   100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     11            9      11.3%         8.7%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                11            9      11.3%         8.7%

It says so, such as reading the information on the webpage                                                           45            45     46.4%         43.3%

Other                                                                                                                19            19     19.6%         18.3%

I don't know                                                                                                         4             8      4.1%          7.7%




Exhibit 8 - Isaacson Expert Report                                                                                                                          Page 14
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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.3 Are you aware of any other brands or products made or provided by whoever makes or provides the items shown on the webpage? Please answer yes, no, or you don’t
know. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                                    Counts                      Percentages
                                                                                                            Test          Control         Test          Control
                                                                                                           Webpage        Webpage        Webpage        Webpage
Sample size                                                                                                   97             104          100.0%          100.0%


Yes, I am aware of other brands or products made or provided by whoever makes or provides these items         50             48            51.5%          46.2%

No, I am not aware of other brands or products made or provided by whoever makes or provides these items      40             52            41.2%          50.0%

I don't know                                                                                                   7              4             7.2%           3.8%




Exhibit 8 - Isaacson Expert Report                                                                                                                            Page 15
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     97             104           100.0%          100.0%


Hermès or Birkin                                                                                                 9               1            9.3%            1.0%

MetaBirkins or Rothschild                                                                                        9               4            9.3%            3.8%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                 8               4            8.2%            3.8%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                         7              10            7.2%            9.6%

MetaHandbags                                                                                                     0               2            0.0%            1.9%

Other                                                                                                           11              19            11.3%          18.3%

I don't know                                                                                                    10              10            10.3%           9.6%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 16
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     97             104           100.0%          100.0%


Hermès or Birkin                                                                                                 4               1            4.1%            1.0%

MetaBirkins or Rothschild                                                                                        4               2            4.1%            1.9%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                 3               1            3.1%            1.0%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                         4               6            4.1%            5.8%

MetaHandbags                                                                                                     0               1            0.0%            1.0%

Other                                                                                                            8              18            8.2%           17.3%

I don't know                                                                                                     8               6            8.2%            5.8%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 17
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.5 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          97            104   100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     8             10     8.2%          9.6%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                8             2      8.2%          1.9%

It says so, such as reading the information on the webpage                                                           8             15     8.2%          14.4%

Other                                                                                                                10            9      10.3%         8.7%

I don't know                                                                                                         8             2      8.2%          1.9%




Exhibit 8 - Isaacson Expert Report                                                                                                                          Page 18
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.5 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                          Counts             Percentages
                                                                                                                  Test         Control    Test       Control
                                                                                                                 Webpage       Webpage   Webpage     Webpage
Sample size                                                                                                          97            104   100.0%       100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     6             7      6.2%         6.7%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                6             2      6.2%         1.9%

It says so, such as reading the information on the webpage                                                           0             3      0.0%         2.9%

Other                                                                                                                3             5      3.1%         4.8%

I don't know                                                                                                         8             2      8.2%         1.9%




Exhibit 8 - Isaacson Expert Report                                                                                                                         Page 19
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                                             Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.6 Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                               Counts               Percentages
                                                                                                         Test        Control    Test        Control
                                                                                                        Webpage      Webpage   Webpage      Webpage
Sample size                                                                                               97            104    100.0%        100.0%


Is sponsored, authorized, or approved by another company, person or brand                                 59            59      60.8%         56.7%

Is not sponsored, authorized, or approved by another company, person or brand                             25            32      25.8%         30.8%

I don't know                                                                                              13            13      13.4%         12.5%




Exhibit 8 - Isaacson Expert Report                                                                                                                Page 20
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                    Counts                     Percentages
                                                                                                              Test        Control         Test          Control
                                                                                                             Webpage      Webpage        Webpage        Webpage
Sample size                                                                                                    97            104          100.0%         100.0%


Hermès or Birkin                                                                                                3             1            3.1%           1.0%

MetaBirkins or Rothschild                                                                                       7             5            7.2%           4.8%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                6             8            6.2%           7.7%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                        9            18            9.3%           17.3%

MetaHandbags                                                                                                    0             5            0.0%           4.8%

Other                                                                                                           9             8            9.3%           7.7%

I don't know                                                                                                   26            17           26.8%           16.3%




Exhibit 8 - Isaacson Expert Report                                                                                                                           Page 21
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                    Counts                     Percentages
                                                                                                              Test        Control         Test          Control
                                                                                                             Webpage      Webpage        Webpage        Webpage
Sample size                                                                                                    97            104          100.0%         100.0%


Hermès or Birkin                                                                                                0             0            0.0%           0.0%

MetaBirkins or Rothschild                                                                                       1             3            1.0%           2.9%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                3             6            3.1%           5.8%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                        6            10            6.2%           9.6%

MetaHandbags                                                                                                    0             3            0.0%           2.9%

Other                                                                                                           6             6            6.2%           5.8%

I don't know                                                                                                   17            10           17.5%           9.6%




Exhibit 8 - Isaacson Expert Report                                                                                                                           Page 22
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.8 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          97            104   100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     4             8      4.1%          7.7%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                2             1      2.1%          1.0%

It says so, such as reading the information on the webpage                                                           14            13     14.4%         12.5%

Other                                                                                                                7             14     7.2%          13.5%

I don't know                                                                                                         6             6      6.2%          5.8%




Exhibit 8 - Isaacson Expert Report                                                                                                                          Page 23
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                                              Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.8 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                          Counts             Percentages
                                                                                                                  Test         Control    Test       Control
                                                                                                                 Webpage       Webpage   Webpage     Webpage
Sample size                                                                                                          97            104   100.0%       100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     2             3      2.1%         2.9%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                0             0      0.0%         0.0%

It says so, such as reading the information on the webpage                                                           3             6      3.1%         5.8%

Other                                                                                                                2             6      2.1%         5.8%

I don't know                                                                                                         4             4      4.1%         3.8%




Exhibit 8 - Isaacson Expert Report                                                                                                                         Page 24
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                                                Cross Tabulation Tables for Interviews Conducted Among NFT Purchasers

Q.1 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
please select “I don’t know.”
Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”
Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents

                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     97             104           100.0%          100.0%


Mentions of Hermès and/or Birkin

  Likelihood of confusion (Q.1, Q.4, and Q.7)                                                                   21               3            21.6%           2.9%

   Confusion as to source (Q.1)                                                                                 17               2            17.5%           1.9%

   Confusion as to other brands or products (Q.4)                                                                4               1            4.1%            1.0%

   Confusion as to sponsorship, authorization, or approval (Q.7)                                                 0               0            0.0%            0.0%




Exhibit 8 - Isaacson Expert Report                                                                                                                              Page 25
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                              Exhibit 9:
 Questionnaire for Interviews Conducted Among Handbag Purchasers
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                                             Online Survey B


Qualifying Questions:


[DO NOT TARGET OR PRE-SCREEN, EXCEPT TO MEET DEMOGRAPHIC QUOTAS.]
[DO NOT ALLOW RESPONDENTS TO GO BACK TO ANY PREVIOUS QUESTION.]

Thank you for agreeing to participate in this survey. If you need eyeglasses or contact lenses to see the
screen clearly, please wear them to complete the survey. Answer every question honestly and to the
best of your ability. There are no right or wrong answers; we are only interested in your opinions.

On any question, if you don’t know how to answer, it is all right to indicate that you don’t know or you
are not sure. Do not guess and do not consult any other person or source, such as the Internet, while
you complete this survey.

Once you start the survey, please complete it in one session without interruption. Also, do not use your
browser's Back button to try to return to a prior question, as this will terminate your survey.

Click or tap “Next” to begin the survey.


A.      What is your gender? (SELECT ONE RESPONSE)

        Female
        Male
        Non-binary or other
        Prefer not to answer

[IF “PREFER NOT TO ANSWER” OR QUOTA FILLED, TERMINATE. IF “MALE” OR “FEMALE” SELECTED,
AND RESPONSE DOES NOT MATCH PANEL DATA, COUNT AS “GENDER MISMATCH,” TERMINATE.
OTHERWISE, CONTINUE.]


B.      What is your age? (SELECT ONE RESPONSE)

        17 years old or younger
        18 to 34 years old
        35 to 54 years old
        55 years old or older
        Prefer not to answer

[IF “17 YEARS OLD OR YOUNGER,” “PREFER NOT TO ANSWER,” OR QUOTA FILLED, TERMINATE. IF
RESPONSE DOES NOT MATCH PANEL DATA, COUNT AS “AGE MISMATCH,” TERMINATE. OTHERWISE,
CONTINUE.]




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C.      Please enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[ASSIGN ZIP CODE TO GEOGRAPHY. IF QUOTA FILLED, TERMINATE. OTHERWISE, CONTINUE.]


D.      Which, if any, of the following types of items are you likely to purchase in the next 12 months?
        For each type of item, please answer [ROTATE: yes, no,] or you don’t know. (SELECT ONE
        RESPONSE FOR EACH TYPE OF ITEM)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I am likely to purchase this type of item in the next 12 months
        No, I am not likely to purchase this type of item in the next 12 months
        I don’t know

        TYPES OF ITEMS
        [RANDOMIZE ORDER.]
        A handbag
        A belt
        A pair of shoes
        A wallet
        A watch

[IF “YES” TO “HANDBAG,” CONTINUE. OTHERWISE, TERMINATE.]


E.      Which, if any, of the following ranges best reflects the most you would be willing to spend to
        purchase a handbag? (SELECT ONE RESPONSE)

        [REVERSE ORDER WITH “I DON’T KNOW” ANCHORED LAST]
        Less than $1,000
        $1,000 - $4,999
        $5,000 - $9,999
        $10,000 or more
        I don’t know

[IF “$10,000” SELECTED, CONTINUE. OTHERWISE, TERMINATE.]




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F.      Which, if any, of the following types of content do you typically read online? For each type of
        content, please answer [MATCH ORDER TO Q.D: yes, no,] or you don’t know. (SELECT ONE
        RESPONSE FOR EACH TYPE OF CONTENT)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I do typically read this type of content online
        No, I do not typically read this type of content online
        I don’t know
        TYPES OF CONTENT
        [RANDOMIZE ORDER.]
        Content about fashion
        Content about artwork
        Content about personal finance
        Content about sports
        Content about wellness
        Content about entertainment

[IF YES TO “FASHION” OR “ARTWORK,” CONTINUE. OTHERWISE, TERMINATE.]


G.      Do you or does any member of your household work for any of the following types of
        companies? For each type of company, please answer [MATCH ORDER TO Q.D: yes, no,] or you
        don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, someone in my household works for this type of company
        No, no one in my household works for this type of company
        I don’t know

        TYPES OF COMPANIES
        [RANDOMIZE.]
        An advertising or public relations agency
        A marketing research agency
        A company that manufactures handbags

[IF “NO” TO ALL, CONTINUE. OTHERWISE, TERMINATE.]




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H.      How many surveys about handbags have you completed in the past month? (SELECT ONE
        RESPONSE)

        [MATCH REVERSE ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
        None
        1 to 2
        3 or more
        I don’t know

[IF “NONE,” CONTINUE. OTHERWISE, TERMINATE.]


I.      For quality control purposes, please select the number seven from the list below. (SELECT ONE
        RESPONSE)

        1
        3
        5
        7
        9

[IF “7,” CONTINUE. OTHERWISE, TERMINATE.]


J.      Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)

        [RANDOMIZE ORDER. ANCHOR “OTHER” AND “I DON’T KNOW” LAST.]
        Desktop computer
        Laptop computer
        Tablet
        Smartphone
        Some other type of device not listed above
        I don’t know

[IF “OTHER” OR “I DON’T KNOW,” OR IF SMARTPHONE QUOTA FILLED, TERMINATE. OTHERWISE,
CONTINUE.]

[CELL ASSIGNMENT: ASSIGN QUALIFIED RESPONDENTS TO LEAST FULL CELL.]




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Main Questionnaire:


K.      As a reminder, if you need eyeglasses or contact lenses to see the screen clearly, please put
        them on now.

        Below is a webpage that you may or may not have seen before. Please look at the webpage as
        you typically would if you came across this page online.

        Because this is a picture of a webpage, the links in the picture are not active.

        You may need to scroll to see all of the webpage.

        When you are ready to proceed, click or tap the “Next” button, which will appear below the
        webpage after a brief pause.

        [SHOW ASSIGNED WEBPAGE. DISPLAY “NEXT” BUTTON BELOW THE WEBPAGE AFTER A 15-
        SECOND PAUSE.]


L.      Did you see the webpage clearly? (SELECT ONE RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I did see the webpage clearly
        No, I did not see the webpage clearly
        I don’t know

[IF “YES” CONTINUE. OTHERWISE, TERMINATE.]


M.      Now you will be asked a few questions about the webpage you just viewed. The webpage will
        appear below each question if you would like to view it again.

        As before, please do not guess. If you do not know the answer to a question or do not have an
        opinion, please indicate that you do not know.

[FOR QUESTIONS 1 THROUGH 8, SHOW THE ASSIGNED WEBPAGE BELOW EACH QUESTION AND ALSO
BELOW THE “NEXT” BUTTON. ]




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1.      What company, companies, person, or people do you think makes or provides the items shown
        on the webpage? Please be as specific as possible. If you don’t know, please select “I don’t
        know.”




         I don’t know. [EXCLUSIVE]

[RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE, PROVIDE THIS
MESSAGE, “You must provide an answer or select ‘I don’t know.’” IF “DON’T KNOW” IS SELECTED, SKIP
TO Q.3. OTHERWISE, CONTINUE.]


2.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


3.      Are you aware of any other brands or products made or provided by whoever makes or provides
        the items shown on the webpage? Please answer [MATCH ORDER TO Q.D: yes, no,] or you
        don’t know. (SELECT ONE RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “I DON’T KNOW” LAST.]
        Yes, I am aware of other brands or products made or provided by whoever makes or provides
        these items
        No, I am not aware of other brands or products made or provided by whoever makes or
        provides these items
        I don’t know

[IF “YES,” CONTINUE. OTHERWISE, SKIP TO Q.6.]




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4.      What other brands or products do you think are made or provided by whoever makes or
        provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
        please select “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’ IF “DON’T KNOW” IS
SELECTED, SKIP TO Q.6. OTHERWISE, CONTINUE.]


5.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


6.      Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE
        RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.D. ANCHOR “DON’T KNOW” LAST.]
        Is sponsored, authorized, or approved by another company, person or brand
        Is not sponsored, authorized, or approved by another company, person or brand
        I don’t know

[IF “IS,” CONTINUE. OTHERWISE, SKIP TO Q.9.]




Exhibit 9 - Isaacson Expert Report                                                               Page 7
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7.      What other company, person or brand do you believe sponsors, authorizes, or approves
        whoever makes or provides the items shown on the webpage? Please be as specific as possible.
        If you don’t know, please select “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’” IF “DON’T KNOW” IS
SELECTED, SKIP TO Q.9. OTHERWISE, CONTINUE.]


8.      What makes you think that? Please be as specific as possible. If you don’t know, please select
        “I don’t know.”




         I don’t know. [EXCLUSIVE]

[IF ASKED, RESPONDENT MUST PROVIDE A VERBATIM OR SELECT “I DON’T KNOW.” OTHERWISE,
PROVIDE THIS MESSAGE, “You must provide an answer or select ‘I don’t know.’”]


9.      Please re-enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE DOES NOT MATCH Q.C, CONTINUE. OTHERWISE, SKIP TO Q.11]


10.     To verify, please re-enter the ZIP code of your home address.

        [______________]
        [5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE MATCHES Q.C, CONTINUE. OTHERWISE, TERMINATE.]




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11.     Please read the statement that follows and select either “I agree” or “I disagree.” If any portion
        of the statement is not true, please select “I disagree.”

        STATEMENT
        I am the person who was invited to participate in this survey. I completed this survey myself,
        without assistance or advice from any other person or source, and in accordance with the
        instructions provided in the survey. The answers I have provided are truthful expressions of my
        situation and opinions.

                              I agree                            I disagree

        Your response to the above statement will not affect your rewards for completing the survey.

[IF “I DISAGREE,” COUNT RESPONDENT AS TERMINATED. DO NOT COUNT AS A COMPLETED
INTERVIEW AND DO NOT COUNT TOWARD QUOTAS. REGARDLESS OF ANSWER, CONTINUE AND
REWARD RESPONDENT FOR COMPLETION. DISPLAY Q.12.]


12.     Thank you for completing our survey.




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                            Exhibit 10:
             Terminations and Removals for Interviews
              Conducted Among Handbag Purchasers
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           Terminations and Removals for Interviews Conducted Among Handbag Purchasers


Reason for Termination or Removal                                                              Counts
    Q.A        Gender1                                                                             122
    Q.B        Age2                                                                                278
    Q.C        ZIP code                                                                             31
    Q.D        Likely to purchase a handbag in the next 12 months                                2,475
    Q.E        The most willing to spend to purchase a handbag                                   2,595
    Q.F        Types of content typically read online - Content about fashion and/or artwork        11
    Q.G        Type of company work for                                                             39
    Q.H        Completed surveys about handbags in the past month                                       3
    Q.I        Quality control, select number “7”                                                       1
    Q.J        Device used to take the survey                                                           0
    Q.L        Did not see the webpage clearly                                                          1
    Q.10       ZIP code match                                                                           1
    Q.11       Agree with statement                                                                     0
    Respondents removed from the survey database:
            Provided open-ended responses that reflected a lack of attention                        10
            Time to complete the survey3                                                            10
            Provided open-ended responses that reflected a lack of attention and time to
                                                                                                        1
            complete the survey

    Total number of respondents terminated or removed                                            5,578




1
 Includes 24 respondents who selected “Prefer not to answer,” and 98 who selected a gender that did
not match the gender on file with the panel provider.
2
 Includes 49 respondents who selected “Prefer not to answer” or indicated their age was “17 years old
or younger,” and 229 who selected an age that did not match the age on file with the panel provider.
3
    Includes respondents who took less than two minutes or more than one hour to complete the survey.

Exhibit 10 - Isaacson Expert Report                                                             Page 1
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                                  Exhibit 11:
Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers
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                                       Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.A What is your gender? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                     Counts                                 Percentages
                                                                         All         Test        Control          All         Test        Control
                                                                     Respondents    Webpage      Webpage      Respondents    Webpage      Webpage
Sample size                                                              164           85            79            100.0%     100.0%      100.0%


Female                                                                   119           66            53            72.6%      77.6%        67.1%

Male                                                                     45            19            26            27.4%      22.4%        32.9%

Non-binary or other                                                       0            0             0              0.0%       0.0%        0.0%

Prefer not to answer                                                      0            0             0              0.0%       0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                           Page 1
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                                       Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.B What is your age? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                     Counts                                 Percentages
                                                                         All         Test        Control          All         Test        Control
                                                                     Respondents    Webpage      Webpage      Respondents    Webpage      Webpage
Sample size                                                              164           85            79            100.0%     100.0%      100.0%


17 years old or younger                                                   0            0             0              0.0%       0.0%        0.0%

18 to 34 years old                                                       75            36            39            45.7%      42.4%        49.4%

35 to 54 years old                                                       87            49            38            53.0%      57.6%        48.1%

55 years old or older                                                     2            0             2              1.2%       0.0%        2.5%

Prefer not to answer                                                      0            0             0              0.0%       0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                           Page 2
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                                          Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.C Please enter the ZIP code of your home address.
Region

Base: All Respondents




                                                                                        Counts                                 Percentages
                                                                            All         Test        Control          All         Test        Control
                                                                        Respondents    Webpage      Webpage      Respondents    Webpage      Webpage
Sample size                                                                 164           85            79            100.0%     100.0%      100.0%


Midwest                                                                     33            17            16            20.1%      20.0%        20.3%

Northeast                                                                   33            22            11            20.1%      25.9%        13.9%

South                                                                       52            25            27            31.7%      29.4%        34.2%

West                                                                        46            21            25            28.0%      24.7%        31.6%




Exhibit 11 - Isaacson Expert Report                                                                                                              Page 3
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.D Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes, no, or you don’t know.
(SELECT ONE RESPONSE FOR EACH TYPE OF ITEM)

Summary of "Yes, I am likely to purchase this type of item in the next 12 months"

Base: All Respondents




                                                                                                   Counts                                       Percentages
                                                                                   All            Test           Control            All           Test            Control
                                                                               Respondents       Webpage         Webpage        Respondents      Webpage          Webpage
Sample size                                                                         164              85              79            100.0%          100.0%          100.0%


A handbag                                                                           164              85              79            100.0%          100.0%          100.0%

A belt                                                                              103              48              55            62.8%           56.5%           69.6%

A pair of shoes                                                                     142              76              66            86.6%           89.4%           83.5%

A wallet                                                                            159              82              77            97.0%           96.5%           97.5%

A watch                                                                             127              68              59            77.4%           80.0%           74.7%




Exhibit 11 - Isaacson Expert Report                                                                                                                                     Page 4
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                                          Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.E Which, if any, of the following ranges best reflects the most you would be willing to spend to purchase a handbag? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                Counts                                         Percentages
                                                                                 All           Test           Control           All              Test        Control
                                                                             Respondents      Webpage         Webpage       Respondents         Webpage      Webpage
Sample size                                                                       164             85             79            100.0%            100.0%      100.0%


Less than $1,000                                                                   0              0               0             0.0%              0.0%        0.0%

$1,000 - $4,999                                                                    0              0               0             0.0%              0.0%        0.0%

$5,000 - $9,999                                                                    0              0               0             0.0%              0.0%        0.0%

$10,000 or more                                                                   164             85             79            100.0%            100.0%      100.0%

I don’t know                                                                       0              0               0             0.0%              0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                                              Page 5
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.F Which, if any, of the following types of content do you typically read online? For each type of content, please answer [MATCH ORDER TO Q.D: yes, no,] or you don’t
know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT)

Summary of "Yes, I do typically read this type of content online"

Base: All Respondents




                                                                                                 Counts                                       Percentages
                                                                                  All            Test           Control           All           Test           Control
                                                                              Respondents       Webpage         Webpage       Respondents      Webpage         Webpage
Sample size                                                                        164             85              79            100.0%          100.0%          100.0%


Content about fashion                                                              159             81              78            97.0%           95.3%           98.7%

Content about artwork                                                              148             80              68            90.2%           94.1%           86.1%

Content about personal finance                                                     138             77              61            84.1%           90.6%           77.2%

Content about sports                                                               125             67              58            76.2%           78.8%           73.4%

Content about wellness                                                             134             70              64            81.7%           82.4%           81.0%

Content about entertainment                                                        136             66              70            82.9%           77.6%           88.6%




Exhibit 11 - Isaacson Expert Report                                                                                                                                  Page 6
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.G Do you or does any member of your household work for any of the following types of companies? For each type of company, please answer yes, no, or you don’t know.
(SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY)

Summary of "No, no one in my household works for this type of company"

Base: All Respondents




                                                                                              Counts                                      Percentages
                                                                                All           Test          Control           All           Test          Control
                                                                            Respondents      Webpage        Webpage       Respondents      Webpage        Webpage
Sample size                                                                     164             85              79           100.0%         100.0%         100.0%


An advertising or public relations agency                                       164             85              79           100.0%         100.0%         100.0%

A marketing research agency                                                     164             85              79           100.0%         100.0%         100.0%

A company that manufactures handbags                                            164             85              79           100.0%         100.0%         100.0%




Exhibit 11 - Isaacson Expert Report                                                                                                                             Page 7
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                                       Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.H How many surveys about handbags have you completed in the past month? (SELECT ONE RESPONSE)




                                                                                        Counts                              Percentages
                                                                           All          Test      Control         All         Test        Control
                                                                       Respondents     Webpage    Webpage     Respondents    Webpage      Webpage
Sample size                                                                164            85         79            100.0%     100.0%      100.0%


None                                                                       164            85         79            100.0%     100.0%      100.0%

1 to 2                                                                       0             0         0              0.0%       0.0%        0.0%

3 or more                                                                    0             0         0              0.0%       0.0%        0.0%

I don't know                                                                 0             0         0              0.0%       0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                           Page 8
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                                          Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.I For quality control purposes, please select the number seven from the list below. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                Counts                                Percentages
                                                                                 All           Test           Control       All         Test        Control
                                                                             Respondents      Webpage         Webpage   Respondents    Webpage      Webpage
Sample size                                                                       164             85            79        100.0%        100.0%      100.0%


1                                                                                  0              0              0         0.0%          0.0%        0.0%

3                                                                                  0              0              0         0.0%          0.0%        0.0%

5                                                                                  0              0              0         0.0%          0.0%        0.0%

7                                                                                 164             85            79        100.0%        100.0%      100.0%

9                                                                                  0              0              0         0.0%          0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                                     Page 9
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                                             Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.J Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                  Counts                            Percentages
                                                                                  All              Test     Control       All         Test        Control
                                                                              Respondents         Webpage   Webpage   Respondents    Webpage      Webpage
Sample size                                                                        164              85        79         100.0%       100.0%      100.0%


Desktop computer                                                                   134              67        67         81.7%        78.8%        84.8%

Laptop computer                                                                     20              12         8         12.2%        14.1%        10.1%

Tablet                                                                              0                0         0          0.0%         0.0%        0.0%

Smartphone                                                                          10               6         4          6.1%         7.1%        5.1%

Some other type of device not listed above                                          0                0         0          0.0%         0.0%        0.0%

I don't know                                                                        0                0         0          0.0%         0.0%        0.0%




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Q.L Did you see the webpage clearly? (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                          Counts                                 Percentages
                                                                              All         Test        Control          All         Test        Control
                                                                          Respondents    Webpage      Webpage      Respondents    Webpage      Webpage
Sample size                                                                   164           85            79            100.0%     100.0%      100.0%


Yes, I did see the webpage clearly                                            164           85            79            100.0%     100.0%      100.0%

No, I did not see the webpage clearly                                          0            0             0              0.0%       0.0%        0.0%

I don't know                                                                   0            0             0              0.0%       0.0%        0.0%




Exhibit 11 - Isaacson Expert Report                                                                                                               Page 11
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.1 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
please select “I don’t know.”

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     85              79           100.0%         100.0%


Hermès or Birkin                                                                                                13              8            15.3%           10.1%

MetaBirkins or Rothschild                                                                                       33              20           38.8%           25.3%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                10              15           11.8%           19.0%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                         8              12            9.4%           15.2%

MetaHandbags                                                                                                     0              12            0.0%           15.2%

Other                                                                                                           10              3            11.8%           3.8%

I don't know                                                                                                    18              16           21.2%           20.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                             Page 12
                                     Case 1:22-cv-00384-JSR Document 122-4 Filed 01/23/23 Page 183 of 342
                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.2 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          85            79    100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     10            7      11.8%         8.9%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                22            18     25.9%         22.8%

It says so, such as reading the information on the webpage                                                           11            10     12.9%         12.7%

Other                                                                                                                20            26     23.5%         32.9%

I don't know                                                                                                         6             5      7.1%          6.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                         Page 13
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                                          Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.3 Are you aware of any other brands or products made or provided by whoever makes or provides the items shown on the webpage? Please answer yes, no, or you don’t
know. (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                                    Counts                      Percentages
                                                                                                            Test          Control         Test          Control
                                                                                                           Webpage        Webpage        Webpage        Webpage
Sample size                                                                                                   85             79           100.0%          100.0%


Yes, I am aware of other brands or products made or provided by whoever makes or provides these items         55             48            64.7%          60.8%

No, I am not aware of other brands or products made or provided by whoever makes or provides these items      26             30            30.6%          38.0%

I don't know                                                                                                   4              1             4.7%           1.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                           Page 14
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     85              79           100.0%          100.0%


Hermès or Birkin                                                                                                 5               4            5.9%            5.1%

MetaBirkins or Rothschild                                                                                        5               1            5.9%            1.3%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                 7              11            8.2%           13.9%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                         1               3            1.2%            3.8%

MetaHandbags                                                                                                     0               2            0.0%            2.5%

Other                                                                                                           22              16            25.9%          20.3%

I don't know                                                                                                    16              11            18.8%          13.9%




Exhibit 11 - Isaacson Expert Report                                                                                                                             Page 15
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     85              79           100.0%          100.0%


Hermès or Birkin                                                                                                 2               2            2.4%            2.5%

MetaBirkins or Rothschild                                                                                        1               1            1.2%            1.3%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                 5               9            5.9%           11.4%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                         0               2            0.0%            2.5%

MetaHandbags                                                                                                     0               2            0.0%            2.5%

Other                                                                                                           16              14            18.8%          17.7%

I don't know                                                                                                     9               5            10.6%           6.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                             Page 16
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.5 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          85            79    100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     9             13     10.6%         16.5%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                9             9      10.6%         11.4%

It says so, such as reading the information on the webpage                                                           3             2      3.5%          2.5%

Other                                                                                                                11            11     12.9%         13.9%

I don't know                                                                                                         8             5      9.4%          6.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                         Page 17
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.5 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                          Counts             Percentages
                                                                                                                  Test         Control    Test       Control
                                                                                                                 Webpage       Webpage   Webpage     Webpage
Sample size                                                                                                          85            79    100.0%       100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     7             13     8.2%         16.5%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                5             5      5.9%         6.3%

It says so, such as reading the information on the webpage                                                           2             1      2.4%         1.3%

Other                                                                                                                6             6      7.1%         7.6%

I don't know                                                                                                         8             5      9.4%         6.3%




Exhibit 11 - Isaacson Expert Report                                                                                                                        Page 18
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                                          Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.6 Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE RESPONSE)

Base: All Respondents




                                                                                                               Counts              Percentages
                                                                                                         Test       Control    Test        Control
                                                                                                        Webpage     Webpage   Webpage      Webpage
Sample size                                                                                               85            79    100.0%        100.0%


Is sponsored, authorized, or approved by another company, person or brand                                 64            53     75.3%         67.1%

Is not sponsored, authorized, or approved by another company, person or brand                             14            24     16.5%         30.4%

I don't know                                                                                               7            2      8.2%          2.5%




Exhibit 11 - Isaacson Expert Report                                                                                                              Page 19
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                    Counts                     Percentages
                                                                                                              Test        Control         Test          Control
                                                                                                             Webpage      Webpage        Webpage        Webpage
Sample size                                                                                                    85            79           100.0%         100.0%


Hermès or Birkin                                                                                                3             4            3.5%           5.1%

MetaBirkins or Rothschild                                                                                       5             4            5.9%           5.1%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                               10            17           11.8%           21.5%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                        2             5            2.4%           6.3%

MetaHandbags                                                                                                    1             0            1.2%           0.0%

Other                                                                                                           8             4            9.4%           5.1%

I don't know                                                                                                   35            19           41.2%           24.1%




Exhibit 11 - Isaacson Expert Report                                                                                                                          Page 20
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                                           Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                    Counts                     Percentages
                                                                                                              Test        Control         Test          Control
                                                                                                             Webpage      Webpage        Webpage        Webpage
Sample size                                                                                                    85            79           100.0%         100.0%


Hermès or Birkin                                                                                                1             2            1.2%           2.5%

MetaBirkins or Rothschild                                                                                       1             3            1.2%           3.8%
Another clothing company, media company, or retailer, such as Gucci, Chanel, Vogue, Elle, Forbes, Walmart,
                                                                                                                3             9            3.5%           11.4%
Target, or others
Another technology company, such as Facebook, Meta, Microsoft, or others                                        1             2            1.2%           2.5%

MetaHandbags                                                                                                    1             0            1.2%           0.0%

Other                                                                                                           3             3            3.5%           3.8%

I don't know                                                                                                   16            12           18.8%           15.2%




Exhibit 11 - Isaacson Expert Report                                                                                                                          Page 21
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.8 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          85            79    100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     3             8      3.5%          10.1%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                7             5      8.2%          6.3%

It says so, such as reading the information on the webpage                                                           0             2      0.0%          2.5%

Other                                                                                                                7             12     8.2%          15.2%

I don't know                                                                                                         14            7      16.5%         8.9%




Exhibit 11 - Isaacson Expert Report                                                                                                                         Page 22
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.8 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents




                                                                                                                          Counts              Percentages
                                                                                                                  Test         Control    Test        Control
                                                                                                                 Webpage       Webpage   Webpage      Webpage
Sample size                                                                                                          85            79    100.0%        100.0%


Personal experience or general knowledge, such as seeing the bags before, reading about the topics
                                                                                                                     3             6      3.5%          7.6%
elsewhere, or having some previous knowledge of the subject matter
The look or appearance, such as the look, appearance, colors, or style of the handbags on the webpage                2             2      2.4%          2.5%

It says so, such as reading the information on the webpage                                                           0             2      0.0%          2.5%

Other                                                                                                                6             2      7.1%          2.5%

I don't know                                                                                                         10            6      11.8%         7.6%




Exhibit 11 - Isaacson Expert Report                                                                                                                         Page 23
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                                            Cross Tabulation Tables for Interviews Conducted Among Handbag Purchasers

Q.1 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as possible. If you don’t know,
please select “I don’t know.”
Q.4 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage? Please be as specific as possible. If
you don’t know, please select “I don’t know.”
Q.7 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on the webpage? Please be as
specific as possible. If you don’t know, please select “I don’t know.”

Excludes double counting of respondents

Base: All Respondents

                                                                                                                      Counts                      Percentages
                                                                                                              Test          Control          Test          Control
                                                                                                             Webpage        Webpage         Webpage        Webpage
Sample size                                                                                                     85              79           100.0%          100.0%


Mentions of Hermès and/or Birkin

 Likelihood of confusion (Q.1, Q.4, and Q.7)                                                                    16              12            18.8%          15.2%

   Confusion as to source (Q.1)                                                                                 13               8            15.3%          10.1%

   Confusion as to other brands or products (Q.4)                                                                2               2            2.4%            2.5%

   Confusion as to sponsorship, authorization, or approval (Q.7)                                                 1               2            1.2%            2.5%




Exhibit 11 - Isaacson Expert Report                                                                                                                             Page 24
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                               Exhibit 12:
  All Responses for All Interviews Conducted Among NFT Purchasers
                         Survey Data File
                         Survey Data Map
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                                                  Data File for All Interviews Conducted Among NFT Purchasers

                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress       _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
     1          7/8/2022 11:28        7/8/2022 11:42     99.23.15.133       1         2        2        3       11222      2       1     1     1




      2         7/8/2022 11:29        7/8/2022 11:52     70.89.16.161       1         2        2        2       19128      2       1     1     1

      4         7/8/2022 11:36        7/8/2022 11:43     24.213.46.137      1         1        2        3       49829      1       1     1     1



      5         7/8/2022 11:37        7/8/2022 12:09     99.56.179.134      1         2        2        3       64050      1       1     2     2




      6         7/8/2022 12:47        7/8/2022 12:55    72.130.201.127      2         2        1        3       96786      4       1     2     1
      7         7/8/2022 12:49        7/8/2022 12:52     75.7.13.222        1         1        2        2       74135      3       1     1     2
      8         7/8/2022 12:55        7/8/2022 13:01    66.110.250.103      1         1        1        2       27265      3       1     1     1



     10         7/8/2022 12:59        7/8/2022 13:05    76.238.248.246      1         2        2        3       75224      3       1     1     1



     11         7/8/2022 13:07        7/8/2022 13:15     96.32.209.202      1         2        2        3       30043      3       1     1     1



     12         7/8/2022 13:11        7/8/2022 13:17     66.69.200.46       1         2        1        2       78640      3       1     2     1
     13         7/8/2022 13:12        7/8/2022 13:16    76.229.144.251      1         2        2        3       20001      3       1     1     3
     14         7/8/2022 13:14        7/8/2022 13:25    68.204.184.113      2         2        2        3       32822      3       1     1     1




     15         7/8/2022 13:18        7/8/2022 13:24     98.195.78.71       1         2        1        2       77550      3       1     2     1




Exhibit 12 - Isaacson Expert Report                                                                                                           Page 1
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                                                  Data File for All Interviews Conducted Among NFT Purchasers



 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     1           1         1           1      1         1        1         0        0         3       1          1      0      0      0      2




      2           1         1          0      1          1        0        0         0        3        1         1      1      0      0      2

      4           1         0          1      1          1        0        1         0        3        1         1      1      1      0      2



      5           2         1          1      1          1        1        0         0        3        1         1      0      0      0      2




      6           2         1          1      1          0        1        0         0        3        1         1      0      0      0      2
      7           1         1          1      0          0        0        0         0        4        1         1      0      0      0      2
      8           3         1          1      0          1        0        1         0        3        1         1      1      0      0      2



     10           1         1          0      1          0        1        0         0        3        1         1      0      0      0      2



     11           1         1          1      1          1        1        0         0        3        1         1      0      0      0      2



     12           2         0          1      1          1        1        0         0        3        1         1      1      0      0      2
     13           2         0          1      0          1        1        0         0        4        0         1      1      0      0      2
     14           1         1          0      1          1        0        0         0        3        1         0      0      0      0      2




     15           2         1          0      0          0        0        0         0        3        1         0      0      0      0      2




Exhibit 12 - Isaacson Expert Report                                                                                                         Page 2
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                                                Data File for All Interviews Conducted Among NFT Purchasers

                                                                                                                                   Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                        Q1_TEXT                 Q1_DK   Code1   Code2   Code3
     1           2         2          1    4           2        2        1     I think it was for the bag companies                 3
                                                                               advertisement in the website and it was
                                                                               about Gucci bag and other bag also and
                                                                               it was for specific person.
      2           2         2         1    4           1        1        1     Birkins is the company that makes these              1
                                                                               NFT
      4           2         2         1    4           2        1        1     metabirkins they appear to be faux furr              2
                                                                               hand bags/purse , very cute I think they
                                                                               will do well
      5           2         2         1    4           1        1        1     MetaBirkins with LooksRare company                   2
                                                                               makes and provides the items i shown on
                                                                               the webpage and this NFT company for
                                                                               every person & peoples


      6           2         2         1    4           4        2        1     Mason Rothschild                                     2
      7           2         2         1    4           2        2        1     meta                                                 4
      8           2         2         1    4           2        1        1     A creator Mason made this art and its                2
                                                                               not related to Hermes itself

     10           2         2         1    4           1        2        1     it was about the meta handbags                       9
                                                                               company and i have been really been
                                                                               engaged with it in a last few month
     11           2         2         1    4           2        1        1     Metabirkins, facebook, websities,                    2       4
                                                                               instagram, youtube for offer better
                                                                               products
     12           2         2         1    4           2        2        1     criptomonedas, NFT                                  9
     13           2         2         1    4           4        2        1                                                 98      10
     14           2         2         1    4           1        1        1     looksrare and hermes                                1        4




     15           2         2         1    4           4        1        1     Hermes                                               1




Exhibit 12 - Isaacson Expert Report                                                                                                                 Page 3
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                                                       Data File for All Interviews Conducted Among NFT Purchasers

                                                                      Q2_      Q2_                                                                   Q4_     Q4_
 ResponseID                  Q2_TEXT                       Q2_DK     Code1    Code2     Q3                      Q4_TEXT                     Q4_DK   Code1   Code2
     1      I saw the ad and it makes me think about                   9                 1     I saw the brand that they are like gucci.              3
            that and it was safe.



      2       the fact that they are called birkins                    3                 1     real handbags are also made                            9

      4       I think women will love them                             9                 2



      5       Because i am clearly see and understand                  3                 1     The other brands or products i think are               9
              the webpage i recently shown that this is                                        made or provide by LooksRare makes or
              a very famous and well known NFT                                                 provides the items shown on the
              company that offer a wide verity of                                              webpage
              fashion NFT
      6       Its clearly states it                                    3                 1     Baby handbag                                          9
      7       The name alone gives me that idea                        3                 1                                                   98      10
      8       Ive read the description                                 3                 1     I;ve heard of Mason but not sure                      2
                                                                                               specifically

     10       because it has been good for me and                      1                 1                                                   98      10
              others who reviewed it 5 star

     11       because offer more benefits to the                       9                 1     bitcoins, metaBirkins, reserve, binance                4       2
              customer and people that the use. and                                            for offer better service and good benefits
              offer better services
     12       by page layout                                           9                 2
     13                                                                                  1     NftToken                                               4
     14       says that the product are available to                   3                 1     hermes does clothes, handbags, shies                   1
              buy at looksrare. And hermes is the
              "company" that manufacture tese
              products
     15       Hermes bags are known or famous for                      1                 1     Satchel                                                9
              their birkin bags.



Exhibit 12 - Isaacson Expert Report                                                                                                                           Page 4
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                                                        Data File for All Interviews Conducted Among NFT Purchasers

                                                                       Q5_                                                                 Q7_     Q7_
 ResponseID                 Q5_TEXT                         Q5_DK     Code1     Q6                    Q7_TEXT                     Q7_DK   Code1   Code2
     1      I saw them in the website.                                  3        1    Meta hand bag                                         5




      2       the fact that these are meta, there                       3        2
              should also be real fungible offerings
      4                                                                          3



      5       The things that makes me think that are i                 3        2
              carefully read the webpage and see the
              brand that offer with brand



      6       Its clearly stated                                        3        2
      7                                                                          2
      8                                                       98       10        1    Its really the NFT marketplace I THINK is             4
                                                                                      the one that promotes it in this page

     10                                                                          1    NFT is the other brand                                9



     11       because offer more options for more                       9        1    youtube, reserve, metabirkins, binace                 4       2
              benefits and better services, and offer                                 because offer good information and
              easy use                                                                better products for use
     12                                                                          1                                                 98      10
     13       It sells ones like this                                   9        2
     14       i saw their products                                      2        3




     15       They have similar design like metabirkin                  2        1    Hermes                                                1




Exhibit 12 - Isaacson Expert Report                                                                                                                       Page 5
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                                                       Data File for All Interviews Conducted Among NFT Purchasers

                                                                      Q8_
 ResponseID                  Q8_TEXT                        Q8_DK    Code1     Q9       Q10      Q11
     1      I saw those ad in the website.                             3      11222               1




      2                                                                       19128               1

      4                                                                       49829               1



      5                                                                       64050               1




      6                                                                       96786               1
      7                                                                       74135               1
      8       available for purchase on ...                            3      27265               1



     10       there are a lkot of reasons to be like that              9      75224               1



     11       because offer better information, better                 9      30043               1
              options, easy use and more benefits

     12                                                                       78640               1
     13                                                                       20001               1
     14                                                                       32822               1




     15       They’re famous for their birkins                         1      77550               1




Exhibit 12 - Isaacson Expert Report                                                                                  Page 6
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                                                  Data File for All Interviews Conducted Among NFT Purchasers

                                                                          Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND           IPAddress       _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
     16         7/8/2022 13:18        7/8/2022 13:24     67.174.32.173       1         2       1        2       93635      4       1     1     1

     17         7/8/2022 13:19        7/8/2022 13:22    104.179.221.202      1         1       2        3       72015      3       1     1     1

     18         7/8/2022 13:19        7/8/2022 13:38    100.11.200.167       2         1       1        3       18901      2       1     2     1




     19         7/8/2022 13:23        7/8/2022 13:26     12.151.112.10       2         1       2        2       30041      3       1     1     1



     20         7/8/2022 13:24        7/8/2022 13:30     74.90.4.189         2         1       1        3       10468      2       1     1     1
     21         7/8/2022 13:25        7/8/2022 13:29    75.113.187.220       1         1       2        3       93312      4       1     1     1

     22         7/8/2022 13:26        7/8/2022 13:30     69.14.149.245       2         1       2        2       48313      1       1     1     1
     23         7/8/2022 13:26        7/8/2022 14:18     64.234.58.14        2         2       2        2       98837      4       1     1     1

     24         7/8/2022 16:19        7/8/2022 16:23     47.16.135.12        2         2       2        2       10314      2       1     1     1
     25         7/8/2022 16:19        7/8/2022 16:24    98.216.211.198       1         2       1        2       1876       2       1     3     1
     26         7/8/2022 16:21        7/8/2022 16:35    73.138.70.166        1         1       2        3       33009      3       1     1     1
     27         7/8/2022 16:26        7/8/2022 16:34    69.136.184.123       2         2       2        3       60638      1       1     1     1

     28         7/8/2022 16:36        7/8/2022 16:40    138.88.187.155       1         2       1        2       20148      3       1     1     2




     29         7/8/2022 16:41        7/8/2022 16:45     76.17.125.170       2         1       1        2       71105      3       1     1     1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     16          1         1           1      1         1        0         0        0         3       1          1      1      0      0      2

     17           1         1          1      1          1        1        1         0        3        1         1      1      0      0      2

     18           1         1          1      1          1        1        0         0        4        1         1      1      1      0      2




     19           1         1          0      1          1        1        0         0        3        1         1      0      0      0      2



     20           1         1          1      1          1        1        0         0        4        1         1      0      0      0      2
     21           1         1          0      0          0        1        0         0        3        1         1      0      0      0      2

     22           1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     23           1         1          0      0          1        0        0         0        3        1         1      0      0      0      2

     24           3         0          1      0          1        0        0         0        3        1         1      0      0      0      2
     25           2         1          0      1          1        0        0         0        3        1         1      0      0      0      2
     26           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     27           1         1          0      1          1        0        1         0        3        1         1      0      1      0      2

     28           2         1          0      0          0        1        0         0        3        1         1      0      0      0      2




     29           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2




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                                                Data File for All Interviews Conducted Among NFT Purchasers

                                                                                                                                     Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                    Q1_TEXT                       Q1_DK   Code1   Code2   Code3
     16          2         2          1    4           3        2        1     Mason Rothschild                                       2

     17           2         2         1    4           2        2        1     Biance                                                 9

     18           2         2         1    4           2        1        1     Based on descriptions disclaimer it’s                  1       2
                                                                               Hermès Birkin bags, or MetaBirkins.




     19           2         2         1    4           1        1        1     Gucci, it looks very much like Gucci, that             3
                                                                               is all I have to say. Or an NFT, which you
                                                                               know.
     20           2         2         1    4           1        1        1     the company that makes birkins                         1
     21           2         2         1    4           4        2        1     Meta                                                   4

     22           2         2         1    4           1        2        1     Mason Rothschild has created these                     2
     23           2         2         1    4           1        1        1     Designers and manufacturing industries                 9

     24           2         2         1    4           4        1        1                                                   98      10
     25           2         2         1    4           2        2        1     facebook/meta                                         4
     26           2         2         1    4           1        2        1     Victoria                                              9
     27           2         2         1    4           2        2        1     Mason Rothschild                                      2

     28           2         2         1    4           2        1        1     Metabirkins                                            2




     29           2         2         1    4           2        2        1     Facebook or Meta                                       4




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                                                     Data File for All Interviews Conducted Among NFT Purchasers

                                                                    Q2_      Q2_                                                                  Q4_     Q4_
 ResponseID                  Q2_TEXT                     Q2_DK     Code1    Code2     Q3                     Q4_TEXT                     Q4_DK   Code1   Code2
     16     In the description it states who the                     3                 2
            pieces are made by
     17     Its makes me more likely to consider this.               9                 1     NFT                                                   9

     18       The webpage Name and description                       3                 1     Well if your question is referring to who             1
              states it’s MetaBirkins. But also, the                                         makes the actual handbag shown,
              webpage disclaimer at the bottom                                               Hermès sells luxury handbags, footwear,
              clearly states the author of the post or                                       fragrances, accessories, watches and
              NFT is not affiliated with “Hermès” who                                        jewelry to my knowledge.
              is the actual registered Trademark
              Owner of Birkin bags.


     19       I dont know                                           10                 2



     20       the purses shown                                       9                 1                                                  98      10
     21       Its the meta verse and exactly what they               9                 1     I know a lot about these brands                      9
              offer
     22       It is described in the text                            3                 1     Baby Handbag                                          9
     23       I guess the desing and how they show                   2                 2
              the product
     24                                                                                3
     25       It says "meta" handbags                               3                  2
     26                                                    98       10                 1                                                  98      10
     27       I just read that he was the creator.                  3                  1     Baby Handbag                                         9

     28       Because of the name but maybe that is                  3        1        2
              the name of the nfts and not the
              company but Im assuming that is Mason
              Rothchilds company name
     29       Its always in the news.                                1                 1     whatsapp                                              4




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                                                      Data File for All Interviews Conducted Among NFT Purchasers

                                                                     Q5_                                                            Q7_     Q7_
 ResponseID                      Q5_TEXT                  Q5_DK     Code1     Q6                   Q7_TEXT                 Q7_DK   Code1   Code2
     16                                                                        2

     17       Its makes me more likely to consider.                   9        2

     18       Because I have purchased Hermès                         1        1                                            98      10
              products and periodically shop their
              brand.




     19                                                                        2



     20                                                                        1    the brand that makes the actual bags             9
     21       Its a very great description                            3        1    Its very similar to other offerings              9

     22       It is literally written in the text                     3        2
     23                                                                        1                                            98      10

     24                                                                        1                                            98      10
     25                                                                        3
     26                                                                        3
     27       its just another thing i read in the                    3        3
              description below.
     28                                                                        2




     29       Ive heard it from friends and family.                   1        1    facebook                                         4




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                                                         Data File for All Interviews Conducted Among NFT Purchasers

                                                                        Q8_
 ResponseID                    Q8_TEXT                       Q8_DK     Code1     Q9       Q10      Q11
     16                                                                         93635               1

     17                                                                         72015               1

     18                                                                         18901               1




     19                                                                         30041               1



     20                                                        98       10      10468               1
     21       Its very similar to the things they have                  9       93312               1
              now
     22                                                                         48313               1
     23                                                                         98837               1

     24                                                                         10314               1
     25                                                                         1876                1
     26                                                                         33009               1
     27                                                                         60638               1

     28                                                                         20148               1




     29       Ive seen it in ads                                         1      71105               1




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                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND           IPAddress      _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
     30         7/8/2022 16:42        7/8/2022 17:30     76.234.108.43      1         1        2        3       28209      3       1     1     1




     31         7/8/2022 17:33        7/8/2022 18:32      71.69.97.49       2         2        2        2       28277      3       1     1      2

     32         7/8/2022 17:50        7/8/2022 17:57    97.114.100.208      1         1        2        3       72204      3       1     1      1

     33         7/8/2022 18:02        7/8/2022 18:27      172.56.3.71       1         1        1        2       23803      3       1     3      3

     34         7/8/2022 18:06        7/8/2022 18:17     172.58.23.177      2         1        2        2       90013      4       1     3      1

     35         7/8/2022 18:07        7/8/2022 18:28     99.45.149.213      1         1        2        3       77379      3       1     1      1

     36         7/8/2022 18:09        7/8/2022 18:15     23.251.65.238      2         2        2        3       37408      3       1     2      2

     37         7/8/2022 18:21        7/8/2022 18:49    75.136.156.142      1         1        2        3       29621      3       1     1      1
     38         7/8/2022 18:28        7/8/2022 18:37     67.87.7.148        2         1        1        3       7601       2       1     1      1
     39         7/8/2022 18:28        7/8/2022 18:31     73.52.97.214       2         1        1        2       17350      2       1     1      1

     40         7/8/2022 18:28        7/8/2022 18:37    67.222.246.119      2         1        2        3       29127      3       1     2      1
     41         7/8/2022 18:28        7/8/2022 18:36     98.220.58.83       2         2        2        3       60656      1       1     1      1

     42         7/8/2022 18:28        7/8/2022 18:39     72.110.97.130      2         1        1        3       94102      4       1     1      1

     43         7/8/2022 18:29        7/8/2022 18:41     73.58.89.102       1         1        1        2       72205      3       1     1      1
     44         7/8/2022 18:29        7/8/2022 18:38     35.149.30.125      2         2        1        3       91101      4       1     1      1



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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     30          1         1           1      1         1        1         0        0         4       1          1      0      0      0      2




     31           1         1          0      0          1        0        0         0        3        1         1      0      0      0      2

     32           1         1          1      1          1        0        0         0        3        1         1      0      0      0      2

     33           1         1          1      0          1        0        0         0        3        1         1      0      0      0      2

     34           1         1          1      1          1        1        1         0        4        1         1      0      0      0      2

     35           1         1          0      1          1        1        0         0        3        1         1      1      0      0      2

     36           2         1          0      0          1        1        0         0        3        1         1      0      0      0      2

     37           1         1          1      1          1        1        0         0        3        0         1      1      0      0      2
     38           3         1          1      0          1        1        0         0        3        1         1      0      0      0      2
     39           3         0          1      1          1        0        1         0        4        1         1      0      0      0      2

     40           1         1          1      1          0        1        0         0        3        1         1      1      0      0      2
     41           1         1          0      1          1        1        0         0        3        1         1      0      0      0      2

     42           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2

     43           1         1          1      1          1        1        0         0        4        1         1      0      0      0      2
     44           1         1          1      1          1        1        0         0        4        1         1      1      0      0      2



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                                                Data File for All Interviews Conducted Among NFT Purchasers

                                                                                                                                    Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                      Q1_TEXT                    Q1_DK   Code1   Code2   Code3
     30          2         2          1    4           1        1        1     The creator Mason Rothschild began                    2       4       3
                                                                               working on MetaBirkins shortly after the
                                                                               success of Baby Birkin, a one-of-one, NFT
                                                                               covered by Forbes and Vogue that sold
                                                                               at auction for 5.5 ETX. MetaBirkins look
                                                                               now available for purchases on
                                                                               LooksRare. Read by Vogue Business
                                                                               Complex, Follow by Instagram, Twitter.
                                                                               press for that Preview, Inquire.


     31           2         2         1    4           2        1        1     metabirkins                                           2

     32           2         2         1    4           1        2        1     Facebook, or some new designer from                   4
                                                                               google/microsoft
     33           2         2         1    4           4        1        1     hermes birkins                                        1

     34           2         2         1    4           2        2        1     metahandbags                                          5

     35           2         2         1    4           1        1        1     metabirkins                                           2

     36           2         2         1    4           1        1        1     MetaBirkins                                           2

     37           2         2         1    4           1        2        1     Metahanbang                                          5
     38           2         2         1    4           2        1        1                                                  98      10
     39           2         2         1    4           3        2        1     Metahandbags, an individual company                  5
                                                                               working with unique items.
     40           2         2         1    4           1        2        1                                                  98      10
     41           2         2         1    4           1        2        1     Facebook                                             4

     42           2         2         1    4           1        2        1     LV or other womens bag brand                          3
                                                                               companies.
     43           2         2         1    4           1        2        1                                                  98      10
     44           2         2         1    4           1        1        1     facebook                                             4



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                                                                        Q2_      Q2_                                                                   Q4_     Q4_
 ResponseID                  Q2_TEXT                         Q2_DK     Code1    Code2     Q3                     Q4_TEXT                      Q4_DK   Code1   Code2
     30     The concept about MetaBirkins creator                        9                 1     I was purchased the software Baby Bikin                4
            by Mason Rothschild make me to use                                                   on LooksRare site. I saw ad for Baby Bikin
            their software services. Because of the                                              on Instagram ads.
            concept are unique and exciting.




     31       Is really awesome and provide good                         2                 2
              things to buy and look
     32       Because is mixing two things NFT, and                      9                 2
              appareal
     33       birkins are very popular expensives bags                   1                 1                                                   98      10
              to have
     34       the website name and url, the image and                    3        2        1     baby handbag                                           9
              product
     35       because they mention it at the beginning                   3                 2
              of the catalog
     36       Seeing the name of the website and the                     3                 2
              name of the collection
     37       Is one of the best is excellent                            9                 1     Mother´s                                               9
     38                                                                                    1     MetaBirkins                                            2
     39       I think they have a clear description of                   3                 2
              their process.
     40                                                                                    1                                                   98      10
     41       You can easily make purchases and                          9                 1     Clothes                                               9
              choose the products you like
     42       Because the pictures show a wide variety                   2                 1     Clothes or other fashion items.                        9
              of bags.
     43                                                                                    1     Avatar                                                 4
     44       Accelerated development without                            9                 2
              leather is unique


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                                                     Data File for All Interviews Conducted Among NFT Purchasers

                                                                    Q5_                                                     Q7_     Q7_
 ResponseID                   Q5_TEXT                    Q5_DK     Code1     Q6                   Q7_TEXT          Q7_DK   Code1   Code2
     30     It make me think that Mason Rothschild                   9        2
            is intelligent person who make software
            for people needed and loved.




     31                                                                       1    meta                                      4

     32                                                                       1    Facebook                                  4

     33                                                                       1                                     98      10

     34       from the same creator                                  9        1    mason rothschild                          2

     35                                                                       1    baby birkin                               2

     36                                                                       1    Forbes and Vogue                          3

     37       Is one of the best                                    9         1    MetaHandbags                             5
     38                                                    98       10        1                                     98      10
     39                                                                       3

     40                                                                       1                                     98      10
     41       Can have a guaranteed price                            9        1                                     98      10

     42                                                    98       10        1    LV,Gucci                                  3

     43       Looks very unique and relevant to me                   2        1                                     98      10
     44                                                                       1                                     98      10



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                                                     Data File for All Interviews Conducted Among NFT Purchasers

                                                                    Q8_
 ResponseID                    Q8_TEXT                   Q8_DK     Code1     Q9       Q10      Q11
     30                                                                     28209               1




     31       i am really interested in this brand                   1      28277               1

     32       "Meta" in the title makes me think that                3      72204               1

     33                                                                     23803               1

     34       that is the creator of the products                    9      90013               1

     35       They also say they are with HERMES                     3      77379               1

     36       Reading the description on the website                 3      37408               1

     37       Is one of the best                                     9      29621               1
     38                                                                     7601                1
     39                                                                     17350               1

     40                                                                     29127               1
     41                                                                     60656               1

     42                                                    98       10      94102               1

     43                                                                     72205               1
     44                                                                     91101               1



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                                                  Data File for All Interviews Conducted Among NFT Purchasers

                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress       _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
     45         7/8/2022 18:29        7/8/2022 18:38    76.227.240.220      2         2        2        3       48219      1       1     1     1

     46         7/8/2022 18:36        7/8/2022 18:52    23.119.206.208      1         1        1        3       75126      3       1     1      1
     47         7/8/2022 18:36        7/8/2022 18:44    166.194.132.64      2         1        1        3       60605      1       1     1      1
     48         7/8/2022 18:36        7/8/2022 18:40     172.58.87.59       1         2        2        3       50156      1       1     1      1

     49         7/9/2022 11:38        7/9/2022 11:48     172.58.61.240      1         1        2        3       91504      4       1     1      1



     50         7/9/2022 11:40        7/9/2022 11:48     73.44.177.54       1         2        1        2       70544      3       1     1      1
     51         7/9/2022 11:40        7/9/2022 11:43     68.81.216.108      1         2        2        3       19149      2       1     1      1
     52         7/9/2022 11:40        7/9/2022 11:57     172.58.43.57       1         1        2        3       97209      4       1     1      1




     54         7/9/2022 11:41        7/9/2022 11:51    73.207.166.148      2         2        1        3       30012      3       1     3      1

     55         7/9/2022 11:42        7/9/2022 11:46     74.96.114.209      1         1        2        2       22079      3       1     1      3

     57         7/9/2022 11:43        7/9/2022 11:47     73.15.203.248      1         1        2        2       95123      4       1     1      1

     58         7/9/2022 11:45        7/9/2022 11:48    172.58.200.162      2         1        1        3       8046       2       1     1      1
     59         7/9/2022 11:45        7/9/2022 11:50     99.30.61.218       2         1        2        3       48162      1       1     1      1
     60         7/9/2022 11:54        7/9/2022 11:59    198.179.6.192       1         1        2        3       54555      1       1     1      1

     61         7/9/2022 11:56        7/9/2022 12:02    75.222.135.147      2         2        2        3       55303      1       1     1      1
     62         7/9/2022 11:57        7/9/2022 12:04    173.172.86.193      1         2        1        2       64111      1       1     1      1



     63         7/9/2022 11:58        7/9/2022 12:03     98.236.83.83       2         1        1        2       26501      3       1     1      1
     64         7/9/2022 12:13        7/9/2022 12:17    72.195.154.252      2         1        2        3       2885       2       1     1      1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     45          3         1           0      0         1        1         0        0         4       1          1      0      0      0      2

     46           1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     47           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     48           1         1          0      0          0        0        1         0        4        1         1      0      0      0      2

     49           1         1          0      1          1        1        0         0        3        1         1      0      0      0      2



     50           1         1          1      1          1        1        1         0        4        1         1      1      0      0      2
     51           1         1          0      1          0        1        0         0        3        1         1      0      0      0      2
     52           1         1          0      1          1        0        0         0        3        1         1      1      1      0      2




     54           3         1          0      1          0        1        0         0        3        1         1      0      0      0      2

     55           1         1          0      0          0        0        0         0        3        1         1      1      0      0      2

     57           1         1          1      0          1        1        0         0        3        1         0      0      0      0      2

     58           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     59           1         1          1      0          1        1        0         0        3        1         1      1      0      0      2
     60           1         1          1      1          1        1        0         0        4        1         1      1      0      0      2

     61           3         1          0      0          0        0        0         0        3        1         0      0      0      0      2
     62           2         0          1      1          0        0        0         0        3        1         1      0      0      0      2



     63           1         0          1      1          1        0        0         0        3        1         0      1      0      0      2
     64           1         1          0      0          0        1        0         0        3        1         1      0      0      0      2




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                                                                                                                                    Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                     Q1_TEXT                     Q1_DK   Code1   Code2   Code3
     45          2         2          1    4           2        1        1     Mason Rothschild is the artist and                    2
                                                                               creator of NFT metabirkin project.
     46           2         2         1    4           2        2        1                                                  98      10
     47           2         2         1    4           1        1        1                                                  98      10
     48           2         2         1    4           4        2        1     Metabag                                              5

     49           2         2         1    4           2        1        1     I think Mason Rothschild and forbes are               2       3
                                                                               making or providing the items.

     50           2         2         1    4           2        1        1     Metabirkins                                          2
     51           2         2         1    4           2        1        1                                                  98      10
     52           2         2         1    4           4        2        1                                                  98      10




     54           2         2         1    4           4        2        1     I think they are independent                          9

     55           2         2         1    4           1        2        1     Metahandbags it appears makes the bag.                5

     57           2         2         1    4           2        1        1     Hermes, and its endorsed by Vogue                     1       9
                                                                               Business, Complex, Input mag.. etc.
     58           2         2         1    4           2        1        1     MetaBirkins                                           2
     59           2         2         1    4           1        2        1     parada                                                3
     60           2         2         1    4           4        2        1     Amazon, Walmart cotsco target                         3

     61           2         2         1    4           4        2        1     Fur free                                              9
     62           2         2         1    4           4        1        1     A beautiful display of colorful purses, I             9
                                                                               really would love To own a few of those

     63           2         2         1    4           4        2        1                                                  98      10
     64           2         2         1    4           4        1        1     Metabirx                                             2




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                                                                     Q2_      Q2_                                                             Q4_     Q4_
 ResponseID                  Q2_TEXT                      Q2_DK     Code1    Code2     Q3                      Q4_TEXT               Q4_DK   Code1   Code2
     45     I have heard this from Yahoo finance                      1                 2
            news.
     46                                                                                 2
     47                                                                                 1                                             98      10
     48     Because it said Metabags at the top of                    3                 2
            the page
     49     Because it is created by Mason                            9                 1                                             98      10
            Rothschild and collaborating with the
            forbes.
     50       The name of the website.                                3                 2
     51                                                                                 2
     52                                                                                 1     The digital retailer partnered with              2       1
                                                                                              Hermes and Rothschild.



     54       Metahand bags are at the top of the                     3                 2
              screen
     55       It says it directly on the website                      3                 3
              description below.
     57       Its in the disclaimer.                                  3                 1     An NFT for faux fur bags.                        9

     58       I read this                                             3                 2
     59       it is very different from others                        9                 1     gucci                                            3
     60       Because they are very unique and                        9                 1     Nft, Amazon Walmart target                       4       3
              fascinating
     61       That’s what i read in the description                   3                 2
     62       Birkin bags are high end and i can’t wait               1                 1     I’ve seen countless purses from this             9
              to own one                                                                      brand owned by celebrities

     63                                                                                 2
     64       Says metabirkins for the website and the                3                 2
              name is also the header on the page




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                                                                     Q5_                                                                Q7_     Q7_
 ResponseID                   Q5_TEXT                     Q5_DK     Code1     Q6                      Q7_TEXT                  Q7_DK   Code1   Code2
     45                                                                        2

     46                                                                        1    I think its the target site                         3
     47                                                                        1                                                98      10
     48                                                                        1    I don’t know                                        9

     49                                                                        1    It would be Forbes abd Vogue                         3



     50                                                                        3
     51                                                                        1                                                98      10
     52       These bags are very expensive and got a                 1        1    Basic.space is where they were available            4        1
              big response on the internet. I like                                  so besides Hermes I would say that they
              fashion and read about it.                                            probably sponsor the project.

     54                                                                        1    Looksrare is sponsored by metahand bags              4       5

     55                                                                        2

     57       The description of MetaBirkins.                         3        1    All the brands listed under "read"                   9

     58                                                                        3
     59       it looks like very premium style                        2        1    amazon                                               4
     60       Because they are very fascinating and                   9        1    Walmart target cotsco kohl ebay                      3       4
              original
     61                                                                        1    Vouge                                               3
     62       I don’t quite understand the question                  10        1                                                98      10



     63                                                                        1                                                98      10
     64                                                                        2




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                                                                    Q8_
 ResponseID                    Q8_TEXT                    Q8_DK    Code1     Q9       Q10      Q11
     45                                                                     48219               1

     46       The web content is similar                             1      75126               1
     47                                                                     60605               1
     48       I don’t know                                          10      50156               1

     49       Because the creator is collaborating with              9      91504               1
              them.

     50                                                                     70544               1
     51                                                                     19149               1
     52       Once again it goes along with me                       1      97209               1
              knowing that Hermes collaboration. I
              read about it on the internet.

     54       It is in the screen and in the post                    3      30012               1

     55                                                                     22079               1

     57       It is the information provided.                        3      95123               1

     58                                                                     8046                1
     59       the best relevant choice                               9      48162               1
     60       Because they are very nice and versatile               9      54555               1

     61       Read it in the description                             3      55303               1
     62                                                                     64111               1



     63                                                                     26501               1
     64                                                                     2885                1




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                                                  Data File for All Interviews Conducted Among NFT Purchasers

                                                                          Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress        _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
     65         7/9/2022 12:20        7/9/2022 12:27     108.2.59.237        2         1       2        2       19057      2       1     1     2

     67         7/9/2022 12:30        7/9/2022 12:33     107.15.21.150       2         1       2        3       27607      3       1     1      1

     68         7/11/2022 9:31        7/11/2022 9:37     68.34.27.169        2         1       2        2       48209      1       1     1      1
     69         7/11/2022 9:31        7/11/2022 9:35     71.135.90.47        1         1       1        3       77054      3       1     1      1
     70         7/11/2022 9:31        7/11/2022 9:35    174.206.107.208      2         1       1        3       23434      3       1     2      2
     71         7/11/2022 9:31        7/11/2022 9:37    73.208.255.247       2         1       2        3       60154      1       1     1      1
     72         7/11/2022 9:31        7/11/2022 9:34     96.40.100.218       1         2       2        2       91739      4       1     1      1

     73         7/11/2022 9:31        7/11/2022 9:35     98.34.219.56        1         1       2        3       77064      3       1     1      1
     74         7/11/2022 9:31        7/11/2022 9:35     172.56.31.89        2         2       1        2       91502      4       1     1      1

     75         7/11/2022 9:31        7/11/2022 9:34    173.91.133.32        2         2       1        2       44502      1       1     1      1
     76         7/11/2022 9:31        7/11/2022 9:38    67.242.120.231       2         1       1        3       14213      2       1     2      2
     77         7/11/2022 9:31        7/11/2022 9:35    67.172.245.247       2         1       2        3       84121      4       1     1      2
     78         7/11/2022 9:31        7/11/2022 9:37     172.8.139.73        2         1       2        2       35401      3       1     1      1
     79         7/11/2022 9:33        7/11/2022 9:39    68.186.198.182       2         1       2        2       36117      3       1     1      1
     80         7/11/2022 9:33        7/11/2022 9:45    67.216.124.238       1         2       1        2       42071      3       1     1      1



     81         7/11/2022 9:35        7/11/2022 9:48    172.58.172.219       2         2       2        2       33510      3       1     1      1
     82         7/11/2022 9:35        7/11/2022 9:56    72.224.192.143       2         1       2        3       3860       2       1     1      1
     83         7/11/2022 9:36        7/11/2022 9:55    155.186.132.212      1         1       2        3       30606      3       1     1      1

     84         7/11/2022 9:36        7/11/2022 9:40    69.118.186.206       2         1       2        2       7055       2       1     1      1
     85         7/11/2022 9:36        7/11/2022 9:43    50.123.14.223        2         2       2        2       86442      4       1     1      1




     86         7/11/2022 9:37        7/11/2022 9:41     107.242.117.8       2         2       2        2       98056      4       1     1      1
     87         7/11/2022 9:37        7/11/2022 9:41      104.3.53.75        2         1       2        2       37917      3       1     1      2



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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     65          1         1           1      1         0        0         0        0         3       1          1      0      0      0      2

     67           2         1          0      0          1        1        0         0        4        1         1      0      0      0      2

     68           1         0          1      1          1        1        0         0        4        1         1      0      0      0      2
     69           1         1          1      1          1        1        1         0        4        1         1      0      1      0      2
     70           1         1          1      1          1        0        0         0        3        0         1      1      0      0      2
     71           1         1          0      0          1        1        0         0        3        1         1      0      0      0      2
     72           1         1          0      1          1        1        0         0        4        1         1      1      0      0      2

     73           1         1          0      1          1        1        0         0        4        1         1      1      0      0      2
     74           2         1          1      1          0        1        0         0        4        1         1      0      0      0      2

     75           1         1          1      1          1        1        1         0        3        1         1      1      0      0      2
     76           1         0          1      0          0        0        0         0        3        0         1      1      0      0      2
     77           2         1          0      0          0        0        0         0        3        1         0      0      0      0      2
     78           1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     79           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     80           2         1          0      0          1        1        0         0        3        1         1      1      0      0      2



     81           3         1          0      0          1        1        0         0        3        1         1      0      0      0      2
     82           1         1          1      0          1        1        0         0        4        1         1      0      0      0      2
     83           2         1          0      1          1        1        0         0        3        1         1      0      0      0      2

     84           2         1          1      1          1        1        1         0        4        1         1      1      0      0      2
     85           1         1          1      1          1        1        0         0        4        1         1      0      0      0      2




     86           3         1          0      1          1        0        0         0        4        1         1      0      0      0      2
     87           1         0          1      1          1        0        1         0        3        1         1      1      1      0      2



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                                                                                                                                     Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                     Q1_TEXT                      Q1_DK   Code1   Code2   Code3
     65          2         2          1    4           4        1        1     Bodkin, Gucci and chanel                               3

     67           2         2         1    4           4        2        1     Looksrare                                              4

     68           2         2         1    4           4        2        1     Rothschild                                             2
     69           2         2         1    4           4        2        1     Meta                                                   4
     70           2         2         1    4           4        2        1     Coach                                                  3
     71           2         2         1    4           2        1        1     birkins                                                1
     72           2         2         1    4           1        2        1     MetaHandbags                                           5

     73           2         2         1    4           3        1        1     Metabirkins                                           2
     74           2         2         1    4           4        1        1     I do not know. Probably a fashion                     10
                                                                               company
     75           2         2         1    4           4        2        1     Meta handbags                                          5
     76           2         2         1    4           3        2        1     METAHANDBAG                                            5
     77           2         2         1    4           4        1        1     Coach or Louis Vuitton                                 3
     78           2         2         1    4           4        2        1     MetaHandbags                                           5
     79           2         2         1    4           4        1        1     Amazon                                                 4
     80           2         2         1    4           1        1        1     MetaBirkins makes the items, at least                  2
                                                                               from what I can tell.

     81           2         2         1    4           1        1        1     metabirkins                                           2
     82           2         2         1    4           2        1        1                                                   98      10
     83           2         2         1    4           2        1        1     The company is Birkin, you can see the                1
                                                                               brand clearly
     84           2         2         1    4           4        1        1     Birkenstock                                            3
     85           2         2         1    4           4        2        1     I belive Meta (the company who makes                   4       9
                                                                               Facebook) Is the one who is responsible
                                                                               for this, or perhaps DARCY since I can see
                                                                               that on the Fake Webpage


     86           2         2         1    4           4        1        1     Meta Birkin                                            2
     87           2         2         1    4           4        2        1     Looks like a handbag designer called                   5
                                                                               metahand


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                                                                    Q2_      Q2_                                                              Q4_     Q4_
 ResponseID                    Q2_TEXT                   Q2_DK     Code1    Code2     Q3                     Q4_TEXT                 Q4_DK   Code1   Code2
     65     Because they all have luxury items such                  9                 1     Birkin and chanel                                 1       3
            as purses
     67     I saw something on there that said by                    3                 1     They make other fashion items                     9
            looksrare
     68     I seen the name                                         3                  1     Perfume clothes hand bags                        9
     69                                                    98       10                 1                                              98      10
     70     Just guessing that it is them.                          10                 2
     71     because of the name birkins                             3                  1     forbes                                            3
     72     It says the company name on the top of                  3                  1     MetaHandbags                                      5
            the webpage
     73     It’s at the top of the page                              3                 1     Nfts                                             9
     74     From the pictures                                        2                 1     Im not sure which brand it is exactly            10

     75       It says so                                            3                  1     Facebook                                          4
     76       IT LOOKS LIKE ITS THERE STYLE                         2                  2
     77       Because they make handbags                            9                  2
     78       Cause,it said so,in the description.                  3                  2
     79                                                    98       10                 1                                              98      10
     80       The multiple name drops around the                    3                  2
              marketing materials makes me think that.

     81       is what the website advertises.                        3                 2
     82                                                                                2
     83       you can see the brand in the images                    2                 2
              clearly
     84       It is their design                                    2                  2
     85                                                    98       10                 2




     86       Because it is written there                            3                 1     Ape NFT                                           4
     87       The web link and also the description is               3                 2
              the tell tell


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                                                                    Q5_                                                             Q7_     Q7_
 ResponseID                   Q5_TEXT                      Q5_DK   Code1     Q6                   Q7_TEXT                  Q7_DK   Code1   Code2
     65     They have varieties of items that would                  9        2
            make you want invest
     67     I believe I have seen it on the internet                 1        2

     68       I know                                                 1        1    Amazon                                            4
     69                                                                       3
     70                                                                       2
     71       because of the name in the heading                     2        1                                             98      10
     72       This is due to the name being all over the             3        1    MetaHandbags helps to approve for the            5
              brands                                                               webpage
     73       I read a description                                   3        1    Complex                                          4
     74       Its obvious it is a fashion company                    1        1                                             98      10

     75       Because I seem them                                    1        2
     76                                                                       1    KHOR                                             9
     77                                                                       1                                             98      10
     78                                                                       2
     79                                                                       1                                             98      10
     80                                                                       2



     81                                                                       1                                             98      10
     82                                                                       3
     83                                                                       1                                             98      10

     84                                                                       1                                             98      10
     85                                                                       2




     86                                                     98      10        1                                             98      10
     87                                                                       1    Metabrand from what I can tell                   9



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                                                                    Q8_
 ResponseID                   Q8_TEXT                     Q8_DK    Code1     Q9       Q10      Q11
     65                                                                     19057               1

     67                                                                     27607               1

     68       I know so becasue i know                               1      48209               1
     69                                                                     77054               1
     70                                                                     23434               1
     71                                                                     60154               1
     72       This is shown through the usage of all of              9      91739               1
              the buying and selling
     73                                                    98       10      77064               1
     74                                                                     91502               1

     75                                                                     44502               1
     76       THE STYLE IS LIKE IT                                   2      14213               1
     77                                                                     84121               1
     78                                                                     35401               1
     79                                                                     36117               1
     80                                                                     42071               1



     81                                                                     33510               1
     82                                                                     3860                1
     83                                                                     30606               1

     84                                                                     7055                1
     85                                                                     86442               1




     86                                                                     98056               1
     87       The web link                                           3      37917               1



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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                           Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND            IPAddress       _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
     88         7/11/2022 9:37        7/11/2022 9:46      73.252.122.32       1         1       2        3       39212      3       1     1     1




     89         7/11/2022 9:37        7/11/2022 9:42      73.47.214.247       2         1       2        4       5701       2       1     1      1
     90         7/11/2022 9:39        7/11/2022 9:43      73.163.94.119       1         2       2        2       22193      3       1     1      1




     91         7/11/2022 9:40        7/11/2022 9:48     71.168.235.233       1         2       2        3       8620       2       1     1      1
     93         7/11/2022 10:38       7/11/2022 10:43    172.58.203.160       2         1       1        3       63109      1       1     3      1



     94         7/11/2022 11:51       7/11/2022 11:54     68.118.76.110       2         1       2        2       97365      4       1     1      1

     95         7/11/2022 12:11       7/11/2022 12:18     108.51.176.87       1         1       1        4       20772      3       1     1      1



     96         7/11/2022 12:15       7/11/2022 12:25    71.237.168.116       2         2       1        3       97402      4       1     1      1




     97         7/11/2022 12:16       7/11/2022 12:22     71.179.160.4        2         2       1        3       21029      3       1     1      1
     98         7/11/2022 12:19       7/11/2022 12:28    204.210.100.142      2         1       2        3       96727      4       1     1      1



     99         7/11/2022 12:27       7/11/2022 12:36     99.23.15.182        1         1       2        3       10045      2       1     1      1




     100        7/11/2022 12:28       7/11/2022 12:34      75.118.9.8         2         1       2        4       43224      1       1     1      1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
     88          1         1           1      1         0        0         1        0         3       1          0      0      1      0      2




     89           1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     90           1         1          1      1          1        1        1         0        4        1         1      1      0      0      2




     91           1         1          0      0          0        1        0         0        3        1         1      0      0      0      2
     93           1         0          1      1          1        1        0         0        3        1         1      1      0      0      2



     94           1         1          1      1          1        1        1         0        4        1         1      0      0      0      2

     95           1         1          1      1          1        1        1         0        3        1         1      1      0      0      2



     96           1         1          1      1          1        1        1         0        3        1         1      0      0      0      2




     97           1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     98           1         1          1      1          1        1        1         0        3        1         1      0      0      0      2



     99           1         1          1      1          1        0        0         0        3        1         1      1      0      0      2




     100          3         1          1      1          0        1        0         0        4        1         1      0      0      0      2




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                                                                                                                                   Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                     Q1_TEXT                    Q1_DK   Code1   Code2   Code3
     88          2         2          1    4           4        2        1     Mason Rothschild is the creator. He                  2
                                                                               started doing the adult ones after his
                                                                               success with the baby bags

     89           2         2         1    4           4        1        1     Rothschild                                           2
     90           2         2         1    4           2        2        1     Mason Rothschild                                     2




     91           2         2         1    4           4        2        1     Meta                                                 4
     93           2         2         1    4           4        1        1     Metabirkins                                          2



     94           2         2         1    4           1        2        1     not your mothers handbag                             9

     95           2         2         1    4           4        2        1     Macys                                                3



     96           2         2         1    4           1        1        1     Mason Rothschild and LooksRare                       2       4




     97           2         2         1    4           2        1        1     lululemon as they make stylish bags                  3
     98           2         2         1    4           4        2        1     MetaHandbags. Made by one Mr                         5       1       4
                                                                               Rothchilds. Sold on looksrare.com

     99           2         2         1    4           2        2        1     Meta handbag was shown in the website                5
                                                                               and it was a ladies bag which have great
                                                                               stylish looks.

     100          2         2         1    4           1        1        1     MetaBirkins Facebook                                 2       4




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                                                                      Q2_      Q2_                                                                  Q4_     Q4_
 ResponseID                    Q2_TEXT                     Q2_DK     Code1    Code2     Q3                      Q4_TEXT                    Q4_DK   Code1   Code2
     88     The ad itself tells you who created the                    3                 1     He also has the baby handbags that were               9
            bags. Doesnt really say what company he                                            created before
            is using but they are sold on a national
            website
     89       I read it                                                3                 2
     90       It says in the description that Mason                    3                 1     Baby Handbag, the NFT covered                         9
              Rothschild is the creator                                                        handbags.



     91       The website is meta                                      3                 1     Looks rare                                            4
     93       Because the name is at the top of the                    3                 2
              website so I think its the name of the
              company
     94       it says it as i mouse over the icons .                   3                 1     meta is a metaverse, they are full of                 4
                                                                                               products .
     95       Metahandbags from Meta. The name                         3                 2
              seems connected to Meta which could
              be from former Facebook
     96       The description on the page credits                      3                 1     Mason Rothschild has been involved in                 2       4
              Mason Rothschild as the creator and                                              and/or created other NFT projects and
              indicates MetaBirkins will be available to                                       LooksRare is a somewhat well known
              purchase via LooksRare.                                                          NFT platform.
     97       the style seems similar                                  2                 1     claire                                                3
     98       That was the information I read in the                   3                 2
              post talking about Meta Handbags and
              their creator.
     99       I saw the bag which is unique design and                 2                 1     Other product they have made is shoes                 9
              those bags are seems like expensive and                                          brand and have great stylish feature with
              have a great brand value.                                                        them

     100      Meta is the new corporate name for                       1                 2
              Facebook, and with Meta starting the
              name before Birkins, maybe they are
              behind it.


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                                                                    Q5_                                                                Q7_     Q7_
 ResponseID                   Q5_TEXT                    Q5_DK     Code1     Q6                     Q7_TEXT                   Q7_DK   Code1   Code2
     88     Its told in the descriptions                             3        1    Looks Rae is the company thats                       4
                                                                                   supporting g the sales of these handbags



     89                                                                       2
     90       It says in the description that before                 3        1    I think they are sponsored by Looksrare              4
              Mason Rothschild made MetaHandbags
              he first sold Baby Handbag for millions.

     91       Its labeled                                            3        1                                                98      10
     93                                                                       2



     94       its the truth                                          9        1    meta, facebook, metaverse                            4

     95                                                                       1    Meta handbags                                        5



     96       I know this from personal experience and               1        2
              following NFT related news and projects
              on social media for quite some time.

     97       they have modern looking bags                          2        1                                                98      10
     98                                                                       2



     99       They have exclusive collection and they                9        1    Facebook could make the sponsor of this              4
              are trying to make their collection more                             brand I guess
              unique and popular

     100                                                                      1    Meta                                                 4




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                                                         Data File for All Interviews Conducted Among NFT Purchasers

                                                                        Q8_
 ResponseID                 Q8_TEXT                           Q8_DK    Code1     Q9       Q10      Q11
     88     Every designer has to have a webmaster                       9      39212               1
            or company that is Supply the materials
            and shipment for the product

     89                                                                         5701                1
     90       They are selling them on the website.                      3      22193               1




     91                                                                         8620                1
     93                                                                         63109               1



     94       its the company .                                          9      97365               1

     95       Quality                                                    9      20772               1



     96                                                                         97402               1




     97                                                                         21029               1
     98                                                                         96727               1



     99       I said that as I saw them in the website                   3      10045               1
              and it was clear.



     100      Meta is the first syllabul for the full name.              3      43224               1




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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                           Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND           IPAddress       _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
    101         7/11/2022 12:33       7/11/2022 12:49      99.66.2.200        1         1       2        2       77382      3       1     1     2

     102        7/11/2022 12:37       7/11/2022 12:45    108.75.135.33        1         1       2        4       92130      4       1     1      1
     103        7/11/2022 12:41       7/11/2022 13:00    76.125.221.231       2         2       1        3       43935      1       1     1      1

     104        7/11/2022 13:01       7/11/2022 13:06     71.183.193.78       2         1       1        2       10009      2       1     1      1
     105        7/11/2022 13:03       7/11/2022 13:07      8.40.66.234        1         2       2        3       44333      1       1     2      1

     106        7/11/2022 14:15       7/11/2022 14:34    174.240.23.190       2         1       2        4       20001      3       1     1      1
     107        7/11/2022 14:36       7/11/2022 14:44    104.183.243.99       1         1       2        2       94582      4       1     1      1

     108        7/11/2022 15:38       7/11/2022 15:51    174.208.39.185       2         2       2        3       23235      3       1     1      1
     109        7/11/2022 16:01       7/11/2022 16:12    98.254.101.55        2         2       2        2       33016      3       1     1      1



     110        7/11/2022 16:15       7/11/2022 16:18     98.38.63.203        2         1       1        2       80004      4       1     2      1
     111        7/11/2022 17:01       7/11/2022 17:17     99.127.69.151       2         1       2        3       32068      3       1     1      1




     112        7/11/2022 17:01       7/11/2022 17:06    108.80.237.130       2         1       1        4       60098      1       1     2      2
     113        7/11/2022 17:04       7/11/2022 17:12      99.6.158.60        1         2       1        4       72210      3       1     3      1
     114        7/11/2022 17:11       7/11/2022 17:21     73.49.191.96        2         1       2        2       33476      3       1     1      1
     115        7/11/2022 17:13       7/11/2022 17:21    162.247.202.152      2         1       2        2       11207      2       1     1      1
     116        7/11/2022 17:26       7/11/2022 17:30     69.250.124.8        2         2       2        2       21223      3       1     1      1
     117        7/11/2022 17:30       7/11/2022 17:40    208.101.167.249      1         1       1        3       17777      2       1     1      1



     118        7/11/2022 17:30       7/11/2022 17:47     98.97.33.253        1         2       1        2       98160      4       1     1      1
     120        7/11/2022 17:35       7/11/2022 17:46     24.188.60.38        1         1       2        3       11003      2       1     1      1

     121        7/11/2022 17:41       7/11/2022 17:48    76.177.199.244       1         2       1        2       43701      1       1     1      1



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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    101          1         1           1      0         1        1         0        0         3       1          1      0      1      0      2

     102          2         1          0      0          0        0        1         0        4        1         1      1      0      0      2
     103          1         1          1      1          1        0        0         0        4        1         1      1      0      0      2

     104          2         1          1      1          1        0        0         0        3        1         1      0      0      0      2
     105          2         0          1      0          1        1        0         0        3        1         1      0      0      0      2

     106          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     107          2         1          0      0          1        1        0         0        4        1         0      0      0      0      2

     108          1         0          1      1          1        1        0         0        4        1         1      1      0      0      2
     109          1         1          1      0          1        0        1         0        3        1         1      0      1      0      2



     110          2         1          0      1          1        1        0         0        3        1         1      0      0      0      2
     111          1         1          1      0          1        1        1         0        3        1         1      1      0      0      2




     112          2         1          0      0          0        0        0         0        3        0         1      0      1      0      2
     113          3         1          0      0          0        0        0         0        4        1         1      1      0      0      2
     114          1         1          1      1          1        1        1         0        4        1         1      1      0      0      2
     115          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     116          1         1          0      1          0        0        0         0        3        1         1      0      0      0      2
     117          3         1          0      0          0        1        0         0        3        1         1      0      0      0      2



     118          2         1          1      1          1        1        0         0        4        1         1      0      0      0      2
     120          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2

     121          1         1          1      1          1        1        0         0        4        1         1      0      0      0      2



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                                                                                                                                      Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                    Q1_TEXT                        Q1_DK   Code1   Code2   Code3
    101          2         2          1    4           4        1        1     The company Hermes makes the meta                       1       9
                                                                               Burlington bag
     102          2         2         1    4           4        2        1     metahandbag.com                                         5
     103          2         2         1    4           4        1        1     Meta Birkenstock,                                       3       4

     104          2         2         1    4           4        2        1     Mason Rothschild                                        2
     105          2         2         1    4           1        2        1     Hermes                                                  1

     106          2         2         1    4           1        1        1     gucci                                                   3
     107          2         2         1    4           1        2        1     prada, meta, facebook                                   3       4

     108          2         2         1    4           2        1        1     metabirkins                                             2
     109          2         2         1    4           2        2        1     Mason Rothschild                                        2



     110          2         2         1    4           4        1        1     I dont know                                            10
     111          2         2         1    4           4        1        1     Companies like discord and and                         4
                                                                               individual creators.I jave also seen sports
                                                                               nft for sale onnline.



     112          2         2         1    4           4        2        1     Darcy                                                  9
     113          2         2         1    4           2        2        1     I dont know                                            10
     114          2         2         1    4           2        2        1     Facebook marketplace                                   4
     115          2         2         1    4           1        1        1     GUCCI                                                  3
     116          2         2         1    4           2        1        1     birkins                                                1
     117          2         2         1    4           2        2        1     I have no idea                                         10



     118          2         2         1    4           1        1        1     lookspare                                               4
     120          2         2         1    4           1        2        1     Facebook                                                4

     121          2         2         1    4           1        1        1     MetaBirkins                                             2



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                                                                    Q2_      Q2_                                                               Q4_     Q4_
 ResponseID                   Q2_TEXT                     Q2_DK    Code1    Code2     Q3                    Q4_TEXT                   Q4_DK   Code1   Code2
    101     Because I have a little background                       1                 1     The brand meta verse makes the nft and             4       1
            knowledge about the Burlington bag                                               the brand Hermes makes the bag
    102     I will not buy.                                          9                 2
    103     That’s what it says at the beginning of                  3                 1     Clothing, shoes, bags belts coats                  9
            the add
    104     It states it down below                                  3                 1     Metahandbags                                       5
    105     I recognize the style and also I saw these               1                 2
            on a social media page
    106     gucci brand                                              9                 1     balenciaga                                         3
    107     it has meta in the name and it has                       3                 2
            handbags
    108     very good                                                9                 1     hermes                                             1
    109     Because the description says "Creator                    3                 2
            Mason Rothschild began working on
            MetaHandbags...".
     110      Ive never seen something like this                    10                 3
     111      I would think that it would be a designer             2                  1     She also had the baby Birkin NFT that              2
              or artist because of the uniqueness of                                         dold for a crazy amount of crypto.
              the nfts. Megan Rothschild amd her
              birkins line is very attractive.


     112      It’s in the disclaimer text.                          3                  2
     113                                                   98       10                 2
     114      It a Metahandbag                                      9                  2
     115      BECAUSE HAVE SIMILAR PRODUCT                          1                  1     balenciaga                                         3
     116      it is there brand                                     9                  1     birkin clothing                                    1
     117      There is no way to tell.no brand names                10                 2
              visible and the items could have been by
              many retailers
     118                                                   98       10                 3
     120      is a completely new technical capability              9                  1     Virtual Real Estate                                9

     121      This looks unique                                      2                 1     gucci                                              3



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                                                                     Q5_                                                                  Q7_     Q7_
 ResponseID                   Q5_TEXT                      Q5_DK    Code1     Q6                    Q7_TEXT                      Q7_DK   Code1   Code2
    101     I have a lot of background knowledge                      1        1    OpenSea let’s the nft be published and                 4
            about thing like this                                                   then I
    102                                                                        1                                                  98      10
    103     I am familiar with the brand                              1        1    Vogue, forbs                                          3

     104      It states it down below                                 3        2
     105                                                                       1    Meta                                                   4

     106      the products                                            9        2
     107                                                                       2

     108      very good                                               9        1    hermes                                                 1
     109                                                                       2



     110                                                                       2
     111      The articles that I have read about an nft              1        1    The article stated she was an artist and I             9
              that sold for a very large sum . That is                              would assume it was a collaboration with
              when they really caught my attention.                                 a brand.



     112                                                                       2
     113                                                                       3
     114                                                                       1    Coinbase                                               4
     115      similar products                                        9        1    NO OTHER                                               9
     116      it is the same company                                  9        1    meta                                                   4
     117                                                                       3



     118                                                                       1    Metabirkins                                            2
     120                                                    98       10        1    Facebook                                               4

     121      It seems like a luxury                                  9        1                                                  98      10



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                                                     Data File for All Interviews Conducted Among NFT Purchasers

                                                                    Q8_
 ResponseID                   Q8_TEXT                     Q8_DK    Code1     Q9       Q10      Q11
    101     I know that because I have a lot of                      1      77382               1
            background knowledge
    102                                                                     92130               1
    103     It says so in the ad                                     3      43935               1

     104                                                                    10009               1
     105      The name "Meta" popped up in the ad                    3      44333               1

     106                                                                    20001               1
     107                                                                    94582               1

     108                                                   98       10      23235               1
     109                                                                    33016               1



     110                                                                    80004               1
     111      It is making a statement about fir and                 9      32068               1
              that is something that I would think that
              a large brand would endorse.



     112                                                                    60098               1
     113                                                                    72210               1
     114      Its avoid in NFTs                                      9      33476               1
     115      similar products                                       9      11207               1
     116      its name is included                                   3      21223               1
     117                                                                    17777               1



     118                                                   98       10      98160               1
     120                                                   98       10      11003               1

     121                                                                    43701               1



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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                           Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND           IPAddress       _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
    122         7/11/2022 17:42       7/11/2022 17:47     66.108.38.129       1         2       2        3       11222      2       1     1     1

     123        7/11/2022 17:42       7/11/2022 17:47     75.166.9.102        2         2       1        3       80247      4       1     1      1
     124        7/11/2022 17:42       7/11/2022 17:56     68.194.118.89       1         2       1        3       8854       2       1     1      1



     125        7/11/2022 17:42       7/11/2022 17:56     100.11.209.69       2         1       2        3       19124      2       1     1      1



     127        7/11/2022 17:43       7/11/2022 17:56    184.153.228.141      1         2       2        3       13205      2       1     1      1



     128        7/11/2022 17:43       7/11/2022 17:48    142.196.38.243       2         1       1        3       32820      3       1     1      1
     129        7/11/2022 17:44       7/11/2022 17:57    75.244.108.163       1         2       1        3       46250      1       1     1      1



     130        7/11/2022 17:45       7/11/2022 18:37     174.27.12.198       1         2       2        3       83703      4       1     1      1

     131        7/11/2022 17:45       7/11/2022 18:38    75.174.180.79        1         2       2        3       83709      4       1     1      1
     132        7/11/2022 17:45       7/11/2022 17:54     71.62.58.195        2         2       1        3       20147      3       1     1      1
     133        7/11/2022 17:45       7/11/2022 17:52    71.227.148.120       2         1       2        3       98208      4       1     1      1

     134        7/11/2022 17:45       7/11/2022 18:01     24.211.92.17        1         2       2        2       29115      3       1     1      1

     135        7/12/2022 12:05       7/12/2022 12:17    205.175.106.105      2         2       2        2       99301      4       1     1      1

     136        7/12/2022 12:07       7/12/2022 12:11    71.228.114.213       1         2       1        2       87121      4       1     2      1

     137        7/12/2022 12:08       7/12/2022 12:11    174.240.235.14       1         1       1        2       60942      1       1     1      1



     138        7/12/2022 12:09       7/12/2022 12:12     73.82.168.210       1         2       1        2       30315      3       1     1      3
     139        7/12/2022 12:14       7/12/2022 12:19      64.92.1.237        2         1       1        2       77423      3       1     3      1



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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    122          1         1           1      1         1        1         0        0         4       1          1      0      0      0      2

     123          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     124          1         1          1      1          1        1        0         0        4        1         1      0      0      0      2



     125          1         1          1      0          1        1        0         0        4        1         1      1      0      0      2



     127          1         1          1      0          1        1        0         0        4        1         0      1      0      0      2



     128          1         0          1      1          1        1        0         0        3        1         1      0      0      0      2
     129          1         1          1      0          1        1        0         0        4        1         1      1      0      0      2



     130          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2

     131          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     132          1         1          1      0          1        1        0         0        4        1         1      1      0      0      2
     133          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2

     134          2         1          1      0          1        1        0         0        4        1         1      1      0      0      2

     135          1         1          0      1          1        1        0         0        3        1         1      1      0      0      2

     136          2         1          0      1          0        0        0         0        4        1         1      0      0      0      2

     137          1         1          1      1          1        1        0         0        4        1         1      0      0      0      2



     138          1         1          1      1          1        0        0         0        3        1         1      0      0      0      2
     139          3         1          1      1          1        1        1         0        3        1         1      0      0      0      2



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                                                Data File for All Interviews Conducted Among NFT Purchasers

                                                                                                                             Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                     Q1_TEXT              Q1_DK   Code1   Code2   Code3
    122          2         2          1    4           2        1        1     MetaBirkins                                    2

     123          2         2         1    4           1        2        1                                           98      10
     124          2         2         1    4           1        1        1     Chaincella                                    9



     125          2         2         1    4           1        2        1     Binance Smart Chain                            4



     127          2         2         1    4           1        2        1     Ethereum                                       4



     128          2         2         1    4           4        2        1     Amazon                                         4
     129          2         2         1    4           1        1        1     MietaBirkins                                   2



     130          2         2         1    4           1        2        1                                           98      10

     131          2         2         1    4           1        2        1                                           98      10
     132          2         2         1    4           1        2        1                                           98      10
     133          2         2         1    4           1        2        1     MetaBirkins                                   2

     134          2         2         1    4           1        1        1     metabirkins                                    2

     135          2         2         1    4           2        1        1     NFTs company provide this website.             4

     136          2         2         1    4           4        1        1     Meta birkins                                   2

     137          2         2         1    4           4        1        1     Gucci or Ralph lauren                          3



     138          2         2         1    4           4        2        1     Metahandbags                                   5
     139          2         2         1    4           4        2        1     Mason Rothschild                               2



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                                                           Data File for All Interviews Conducted Among NFT Purchasers

                                                                          Q2_      Q2_                                                              Q4_     Q4_
 ResponseID                  Q2_TEXT                           Q2_DK     Code1    Code2     Q3                     Q4_TEXT                 Q4_DK   Code1   Code2
    122     I dont think theres any substitute for that                    9                 1     coach                                             3

     123                                                                                     1                                              98      10
     124      It is a professional company in the field                    9                 2
              of NFT, with enough experience and
              influence on NFT business
     125      This companys style of development in                        2                 2
              the NFT field has a lot of similarities to
              this product
     127      I am familiar with this company and I                        1                 2
              think they will definitely have this project

     128      They sell everything                                         1                 2
     129      It looks very new and can make each of                       2                 1     Hermes                                            1
              us have unique products

     130                                                                                     1                                              98      10

     131                                                                                     3
     132                                                                                     1                                              98      10
     133      Looks stylish and unique in appearance                       2                 2

     134      There is very good content to make me                        9                 1                                              98      10
              feel very relieved
     135      From the description I read.                                 3                 1     from image description it is easy to              9
                                                                                                   classify or to identify other brands
     136      The website name is on the top and the                       3                 1     I don’t know                                     10
              article talks about them
     137      Or birkens bc of the style and products                      2                 1     Macys JCPenney Walmart Birkenstock                3
              available                                                                            Bloomingdale Ralph Lauren Gucci coach

     138      That is the name of the website.                             3                 1     Baby handbags                                     9
     139      He was listed as a creator for the product                   3                 3
              .


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                                                                    Q5_                                                     Q7_     Q7_
 ResponseID                  Q5_TEXT                     Q5_DK     Code1     Q6                   Q7_TEXT          Q7_DK   Code1   Code2
    122     It looks luxurious                                       2        1                                      98      10

     123                                                                      1                                     98      10
     124                                                                      1    Binance Smart Chain                      4



     125                                                                      2



     127                                                                      2



     128                                                                      3
     129      The unique and modern design can                       2        1    MietaBirkins                              2
              attract more customers to learn more

     130                                                                      1    Web3.0                                    9

     131                                                                      3
     132                                                                      1                                     98      10
     133                                                                      1    MetaBirkins                              2

     134                                                                      1                                     98      10

     135      totally images tells many things for me.               2        2

     136                                                   98       10        1                                     98      10

     137      Based on the product available                         9        1    Meta                                      4



     138      It is listed on the website.                           9        2
     139                                                                      1                                     98      10



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                                                                      Q8_
 ResponseID                    Q8_TEXT                       Q8_DK   Code1     Q9       Q10      Q11
    122                                                                       11222               1

     123                                                                      80247               1
     124      Because I think it is also an NFT-related                9      8854                1
              company, it must be involved in this
              product
     125                                                                      19124               1



     127                                                                      13205               1



     128                                                                      32820               1
     129      The design atmosphere of the brand and                   2      46250               1
              the ability to bring me a very unique
              experience
     130      Salute to the world celebrities in all areas             9      83703               1
              of life
     131                                                                      83709               1
     132                                                                      20147               1
     133                                                      98      10      98208               1

     134                                                                      29115               1

     135                                                                      99301               1

     136                                                                      87121               1

     137      Half the website domain is meta                          3      60942               1



     138                                                                      30315               1
     139                                                                      77423               1



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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND           IPAddress      _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
    140         7/12/2022 12:18       7/12/2022 12:28     73.224.192.37      2         1        2        3       31520      3       1     1     1

     141        7/12/2022 12:19       7/12/2022 12:22    71.224.197.219      2         1        2        2       19003      2       1     1      1

     142        7/12/2022 12:19       7/12/2022 12:24    108.39.197.170      2         1        2        3       15243      2       1     1      1




     143        7/12/2022 12:20       7/12/2022 12:27     73.182.31.186      1         1        1        3       33160      3       1     1      1
     146        7/13/2022 10:34       7/13/2022 10:40     161.38.155.56      1         2        2        2       72554      3       1     1      1

     147        7/13/2022 10:35       7/13/2022 10:45     73.32.113.129      1         2        1        2       77503      3       1     1      1
     148        7/13/2022 10:35       7/13/2022 10:41     73.195.117.85      1         2        2        2       19020      2       1     2      1
     149        7/13/2022 10:42       7/13/2022 10:48     24.180.217.51      1         1        2        3       49341      1       1     1      1




     150        7/13/2022 10:42       7/13/2022 10:46     169.227.254.8      1         2        1        2       53216      1       1     1      1

     151        7/13/2022 10:43       7/13/2022 10:47    107.210.8.172       1         2        1        3       93727      4       1     1      1
     152        7/13/2022 10:43       7/13/2022 10:45    47.220.142.154      1         1        2        2       77303      3       1     1      1
     153        7/13/2022 10:43       7/13/2022 10:47     174.59.43.19       2         2        2        2       17602      2       1     1      1



     154        7/13/2022 10:43       7/13/2022 10:59     50.27.205.123      2         2        2        2       64507      1       1     1      1

     155        7/13/2022 10:43       7/13/2022 10:54     172.58.221.86      1         1        1        3       2129       2       1     1      1

     156        7/13/2022 10:46       7/13/2022 10:55    108.218.84.125      2         2        1        3       33062      3       1     1      1
     157        7/13/2022 10:47       7/13/2022 10:53     74.64.8.209        1         1        1        3       11434      2       1     3      3




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    140          1         1           1      1         1        1         0        0         4       1          1      1      0      0      2

     141          1         1          0      1          1        1        0         0        3        1         1      1      1      0      2

     142          3         1          0      1          1        1        0         0        3        1         1      0      0      0      2




     143          1         1          1      1          1        1        1         0        4        1         1      1      0      0      2
     146          1         1          0      0          1        1        0         0        4        1         1      0      1      0      2

     147          1         1          1      1          1        0        0         0        3        1         1      1      0      0      2
     148          1         1          0      1          0        1        0         0        3        1         1      1      0      0      2
     149          1         1          0      0          1        0        0         0        4        0         1      0      0      0      2




     150          1         1          1      1          1        1        1         0        4        1         1      0      1      0      2

     151          1         0          1      0          1        1        0         0        3        1         1      0      0      0      2
     152          1         1          0      1          1        1        1         0        3        1         1      0      1      0      2
     153          1         1          0      1          1        0        0         0        3        1         1      1      0      0      2



     154          2         1          0      1          1        0        0         0        4        1         1      0      0      0      2

     155          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2

     156          1         1          0      0          1        0        0         0        4        1         1      0      0      0      2
     157          1         1          1      1          0        0        0         0        3        0         1      0      0      0      2




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                                                                                                                                 Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                      Q1_TEXT                 Q1_DK   Code1   Code2   Code3
    140          2         2          1    4           3        2        1     Mason Rothschild makes the meta hand               2       9
                                                                               bags nfts, which Darcy owns
     141          2         2         1    4           2        1        1     Birkin                                             1

     142          2         2         1    4           2        1        1     birkin                                             1




     143          2         2         1    4           2        1        1     vouge business                                     3
     146          2         2         1    4           1        1        1     The creator Mason Rothschild started               2
                                                                               MetaBirkins.
     147          2         2         1    4           2        2        1     Darcy                                              9
     148          2         2         1    4           1        2        1     meta handbags nft                                  5
     149          2         2         1    4           2        2        1     This company is a womans fashion store             3
                                                                               that makes hand bags and possibly
                                                                               womens clothing apparel.




     150          2         2         1    4           1        1        1     coinbase                                           4

     151          2         2         1    4           4        1        1     Metabrinks                                         2
     152          2         2         1    4           4        2        1     Metahandbags                                       5
     153          2         2         1    4           4        2        1     Not sure who makes or designs them but             9
                                                                               they plain needs more added to the
                                                                               picture
     154          2         2         1    4           4        1        1     Metabirkins                                        2

     155          2         2         1    4           2        1        1     MetaBirkin                                         2

     156          2         2         1    4           2        1        1                                               98      10
     157          2         2         1    4           2        1        1     Berkin                                            1




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                                                                       Q2_      Q2_                                                                   Q4_     Q4_
 ResponseID                   Q2_TEXT                        Q2_DK    Code1    Code2     Q3                     Q4_TEXT                      Q4_DK   Code1   Code2
    140     It says so in the disclaimer.                               3                 2

     141      I saw Birkin on the webpage and in the                    3                 1     babybirkin                                             2
              description of the product.
     142      the name of the website is meta birkin                    3                 1     birkin makes real bags that are incredibly             1
              and over the last image in each row is                                            popluar for people to own and carry
              birkin the name of the bag

     143      it says it in the description below.                      3                 1     baby birkin                                            9
     146      I think this based on the websites name                   3                 2

     147                                                      98       10                 2
     148      the url and name                                         3                  2
     149      I just got the feeling that this was a                   2                  2
              womens store because of the detail in
              the purses I saw. With that many
              different purses, they surely must be a
              womens fashion company.


     150      it just seems like a cyrto company made                   9                 2
              these bags and this website
     151      The web page                                              9                 1     Babybrink                                             2
     152      Because it was on the site                                9                 1                                                   98      10
     153      I do art                                                  1                 2



     154      because it is on metabirkins.com thats                    3                 2
              why I think that
     155      It is a range of NFT birkins (not affiliated              1                 1                                                   98      10
              with Hermes, of course)
     156                                                                                  3
     157      They look exactly like he style of bags                   2                 2
              made by that designer



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                                                                   Q5_                                                                 Q7_     Q7_
 ResponseID                     Q5_TEXT                 Q5_DK     Code1     Q6                    Q7_TEXT                     Q7_DK   Code1   Code2
    140                                                                      2

     141      It says it in the description                         3        2

     142      i am aware of birkin and the status                   1        2
              symbol that comes with having a birkin
              bag

     143      it say so in the description below.                   3        2
     146                                                                     3

     147                                                                     1                                                 98      10
     148                                                                     1                                                 98      10
     149                                                                     1    I would say that each product this                   9
                                                                                  company sells is most likely a sponsor of
                                                                                  that product so I would say most if not
                                                                                  all items for sale are sponsored by the
                                                                                  company that makes that product.


     150                                                                     2

     151                                                  98       10        1                                                 98      10
     152                                                                     3
     153                                                                     2



     154                                                                     1                                                 98      10

     155                                                                     2

     156                                                                     3
     157                                                                     3




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                                                                   Q8_
 ResponseID                   Q8_TEXT                   Q8_DK     Code1     Q9       Q10      Q11
    140                                                                    31520               1

     141                                                                   19003               1

     142                                                                   15243               1




     143                                                                   33160               1
     146                                                                   72554               1

     147                                                                   77503               1
     148                                                                   19020               1
     149      The retail industry is well known for                 1      49341               1
              selling brand name items that of course
              come from that brand names company.




     150                                                                   53216               1

     151                                                                   93727               1
     152                                                                   77303               1
     153                                                                   17602               1



     154                                                                   64507               1

     155                                                                   2129                1

     156                                                                   33062               1
     157                                                                   11434               1




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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND           IPAddress      _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
    158         7/13/2022 10:47       7/13/2022 10:58     172.56.97.162      1         2        2        3       33609      3       1     1     1




     160        7/13/2022 10:48       7/13/2022 10:54    68.224.162.113      2         1        2        2       68128      1       1     1      1
     161        7/13/2022 10:49       7/13/2022 10:59     70.39.10.57        1         1        1        3       50124      1       1     1      1
     162        7/13/2022 10:50       7/13/2022 11:09     75.24.202.91       2         2        2        2       77069      3       1     1      1
     163        7/13/2022 10:51       7/13/2022 10:56    76.21.213.111       1         2        2        3       20001      3       1     1      1
     164        7/13/2022 10:52       7/13/2022 10:57     73.10.144.93       1         1        1        3       7018       2       1     1      1
     165        7/13/2022 10:53       7/13/2022 11:07    174.211.230.73      2         1        2        3       80015      4       1     1      1

     166        7/13/2022 10:53       7/13/2022 10:58     174.100.99.64      2         1        2        2       44718      1       1     1      1
     167        7/13/2022 10:54       7/13/2022 11:49      73.62.81.27       2         2        2        2       33948      3       1     1      1




     168        7/13/2022 10:54       7/13/2022 11:02      96.60.41.5        2         2        2        2       54410      1       1     1      1
     169        7/13/2022 10:54       7/13/2022 11:12     174.31.18.90       1         1        1        3       98005      4       1     1      1

     170        7/13/2022 10:58       7/13/2022 11:06     99.36.240.68       2         1        2        2       48507      1       1     1      2
     172        7/13/2022 10:59       7/13/2022 11:03    172.58.175.218      1         1        1        2       33626      3       1     3      3

     173        7/13/2022 11:01       7/13/2022 11:04     68.51.182.179      2         2        2        3       48213      1       1     1      1
     175        7/13/2022 11:02       7/13/2022 11:08     24.99.134.232      2         1        2        3       30349      3       1     1      1
     176        7/13/2022 11:03       7/13/2022 11:08     75.173.64.110      2         1        2        2       71068      3       1     1      1

     177        7/13/2022 11:09       7/13/2022 11:17    74.139.237.116      1         2        2        3       40222      3       1     1      1



     178        7/13/2022 11:17       7/13/2022 11:22      47.6.168.35       2         1        2        2       33101      3       1     1      1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    158          1         1           0      0         1        1         0        0         3       1          1      1      1      0      2




     160          1         1          1      1          1        1        1         0        4        1         1      1      1      0      2
     161          2         0          1      1          1        1        0         0        3        1         1      0      0      0      2
     162          2         0          1      0          1        0        0         0        3        1         1      0      0      0      2
     163          1         1          0      1          1        1        0         0        3        1         1      0      0      0      2
     164          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     165          1         1          1      1          1        0        0         0        4        1         1      1      0      0      2

     166          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     167          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2




     168          2         1          0      1          1        1        0         0        4        1         1      0      0      0      2
     169          3         1          1      0          1        1        0         0        3        1         1      0      0      0      2

     170          1         1          0      0          0        1        0         0        3        0         1      1      0      0      2
     172          1         1          0      0          1        0        1         0        3        1         1      0      0      0      2

     173          1         1          1      1          1        1        0         0        3        1         1      0      1      0      2
     175          1         1          0      0          1        0        0         0        3        0         1      1      0      0      2
     176          2         1          1      1          1        1        1         0        4        1         1      0      0      0      2

     177          3         1          0      1          0        1        0         0        3        1         1      0      0      0      2



     178          1         1          0      0          1        1        0         0        4        1         1      1      0      0      2




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                                                                                                                                 Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                   Q1_TEXT                    Q1_DK   Code1   Code2   Code3
    158          2         2          1    4           2        2        1     MetaHandbags, Mason Rothschild                     2




     160          2         2         1    4           1        2        1     Meta                                              4
     161          2         2         1    4           4        1        1     Mason Rothschild                                  2
     162          2         2         1    4           2        2        1     darcy                                             9
     163          2         2         1    4           3        2        1                                               98      10
     164          2         2         1    4           2        1        1     Metabirkins                                       2
     165          2         2         1    4           2        1        1     Hermes                                            1

     166          2         2         1    4           1        2        1     Opensea                                            4
     167          2         2         1    4           2        1        1     Mason Rothschild create the successful             2
                                                                               MetaBirkins and he makes the NFT fur
                                                                               free purses as shown on the webpage



     168          2         2         1    4           1        1        1     Mason ROthschild                                   2
     169          2         2         1    4           2        1        1     MetaBirkin, Hermes, Forbes, Vogue                  1       2       9

     170          2         2         1    4           2        2        1     Facebook I think.                                 4
     172          2         2         1    4           4        2        1                                               98      10

     173          2         2         1    4           1        2        1     Meta                                              4
     175          2         2         1    4           2        2        1                                               98      10
     176          2         2         1    4           3        1        1     Nft metaberkins company with pictures             2
                                                                               of purse nft for sale
     177          2         2         1    4           4        2        1     Meta handbags, Mason Rothschild,                   2       4
                                                                               Looks Rare

     178          2         2         1    4           2        1        1     MetaBirkins                                        2




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                                                                         Q2_      Q2_                                                               Q4_     Q4_
 ResponseID                  Q2_TEXT                           Q2_DK    Code1    Code2     Q3                      Q4_TEXT                 Q4_DK   Code1   Code2
    158     MetaHandbags is clearly the name of the                       3                 1     From reading the text, apparently this             9
            offering, and the text about the NFTs                                                 creator offered an NFT called Baby
            mentions they were created by Mason                                                   Handbag
            Rothschild
     160      Its in the title.                                           3                 2
     161      It says it in the 2nd paragraph                             3                 2
     162      It represent the product                                    9                 2
     163                                                                                    2
     164      its says it on the top of website                           3                 1                                               98      10
     165      It keeps up with the latest technology                      9                 2

     166      Ive seen them before.                                       1                 2
     167      Its shown on the webpage that Mason                         3                 2
              Rothschild began working on the fur free
              MetaBirkins, after the success of the one-
              of-one NFT "Baby Birkin" that was sold in
              an auction.
     168      They state that hes the creator of this                     3                 2
     169      I see these companies names on the                          3                 2
              website
     170      Meta is facebook                                            1                 1     Facebook                                           4
     172                                                                                    3

     173      the name                                                    3                 1     oculus                                             4
     175                                                                                    2
     176      Because its on the website I just looked                    3                 2
              through
     177      It says it in the info about the bag. It lists              3                 2
              the hand bag company, the artist and
              the company selling them.
     178      The site name                                               3                 2




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                                                                  Q5_                                                                  Q7_     Q7_
 ResponseID                   Q5_TEXT                    Q5_DK   Code1     Q6                     Q7_TEXT                     Q7_DK   Code1   Code2
    158     Its clearly stated in the paragraphs under             3        2
            the title



     160                                                                    1    Facebook                                              4
     161                                                                    1    Forbes and Vogue                                      3
     162                                                                    1    Mason Rothschild                                      2
     163                                                                    1                                                  98      10
     164                                                                    3
     165                                                                    1    Elie ,I think it cares about NFT and wants             3
                                                                                 to invest in it.
     166                                                                    2
     167                                                                    1    Im not sure, but I believe its Forbes and              9
                                                                                 Vogue




     168                                                                    2
     169                                                                    1    Hermes                                                 1

     170      Meta is facebook.                                    1        1    Vogue                                                  3
     172                                                                    1    Rothenburg                                             9

     173      the name                                             3        2
     175                                                                    3
     176                                                                    1                                                  98      10

     177                                                                    2



     178                                                                    3




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                                                        Data File for All Interviews Conducted Among NFT Purchasers

                                                                       Q8_
 ResponseID                    Q8_TEXT                      Q8_DK     Code1     Q9       Q10      Q11
    158                                                                        33609               1




     160                                                      98       10      68128               1
     161      It also says it in the 2nd paragraph                     3       50124               1
     162      The one who created metahandbags                         9       77069               1
     163                                                                       20001               1
     164                                                                       7018                1
     165      I saw an article about the handbag of the                 1      80015               1
              future on Elle website
     166                                                                       44718               1
     167      It says in the webpage that Baby Birkin                   3      33948               1
              was covered by Forbes and Vogue




     168                                                                       54410               1
     169      It is written on this website                             3      98005               1

     170      It said it in the article.                                3      48507               1
     172      The mention of their name but it’s not                    3      33626               1
              their site
     173                                                                       48213               1
     175                                                                       30349               1
     176                                                                       71068               1

     177                                                                       40222               1



     178                                                                       33101               1




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                                                                           Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND           IPAddress       _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
    179         7/13/2022 11:17       7/13/2022 11:27     68.96.102.102       1         1       2        4       89107      4       1     2     1




     180        7/13/2022 11:19       7/13/2022 11:32    199.190.238.132      1         1       1        2       58401      1       1     1      1
     181        7/13/2022 11:20       7/13/2022 11:40    76.238.248.212       1         2       2        3       70112      3       1     2      1




     182        7/13/2022 11:22       7/13/2022 11:27     76.167.233.40       2         2       1        3       92117      4       1     2      1
     183        7/13/2022 11:22       7/13/2022 11:44     75.36.198.216       1         2       2        2       77080      3       1     3      1

     184        7/13/2022 11:24       7/13/2022 11:30     69.143.97.51        1         2       2        2       22311      3       1     1      1
     185        7/13/2022 11:29       7/13/2022 11:34     75.11.204.106       2         1       2        2       91770      4       1     1      1

     186        7/13/2022 11:31       7/13/2022 11:35     108.217.72.81       1         1       2        3       90744      4       1     1      1

     187        7/13/2022 11:32       7/13/2022 11:39    162.191.248.73       2         2       2        2       30157      3       1     1      1
     189        7/13/2022 11:33       7/13/2022 11:39     69.237.14.25        1         2       2        4       32765      3       1     1      1

     190        7/13/2022 11:33       7/13/2022 12:07     98.251.221.19       2         1       2        3       71203      3       1     1      1
     191        7/13/2022 11:34       7/13/2022 11:45     184.89.144.83       1         1       2        3       32824      3       1     1      1

     192        7/13/2022 11:36       7/13/2022 11:52    172.58.156.177       2         2       2        3       72745      3       1     1      1
     193        7/13/2022 11:38       7/13/2022 11:46    184.55.196.19        1         1       1        2       53224      1       1     3      1



     194        7/13/2022 11:48       7/13/2022 11:52     70.177.86.102       2         2       2        2       74033      3       1     1      1



     196        7/13/2022 11:52       7/13/2022 12:00    65.151.180.176       2         1       1        3       32836      3       1     1      1



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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    179          1         1           1      1         1        0         0        0         4       1          1      0      0      0      2




     180          3         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     181          2         1          0      1          1        1        0         0        4        1         1      0      0      0      2




     182          2         1          1      0          1        0        0         0        3        1         1      0      0      0      2
     183          2         1          1      1          1        1        0         0        4        1         1      0      1      0      2

     184          1         1          1      0          0        0        0         0        4        1         1      0      0      0      2
     185          1         1          1      1          1        1        0         0        4        1         1      0      0      0      2

     186          1         0          1      1          1        1        0         0        3        1         1      0      1      0      2

     187          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     189          1         1          0      0          1        0        0         0        3        1         1      0      0      0      2

     190          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     191          1         1          1      0          1        1        0         0        3        1         1      0      0      0      2

     192          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2
     193          1         1          1      1          1        0        0         0        3        1         1      0      0      0      2



     194          1         1          1      1          1        1        0         0        4        1         0      0      1      0      2



     196          1         1          1      1          1        1        0         0        3        1         1      0      0      0      2



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                                                                                                                                    Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                      Q1_TEXT                    Q1_DK   Code1   Code2   Code3
    179          2         2          1    4           2        2        1                                                   98      10




     180          2         2         1    4           2        2        1     Meta Handbags                                         5
     181          2         2         1    4           2        2        1     Mason Rothschild                                      2




     182          2         2         1    4           4        1        1                                                  98      10
     183          2         2         1    4           2        1        1     MetaBirkins by Mason Rothschild                      2

     184          2         2         1    4           1        2        1     MetaHandbags                                          5
     185          2         2         1    4           1        2        1     Mason Rothschild                                      2

     186          2         2         1    4           2        1        1     The company that provides this item I                 3
                                                                               think is Forever 21
     187          2         2         1    4           2        1        1     MetaBirkins                                           2
     189          2         2         1    4           1        1        1     Mason Rothchilds MetaBikinis                          2

     190          2         2         1    4           4        2        1     Prada                                                 3
     191          2         2         1    4           1        1        1     the company that i see that provides this             2
                                                                               item is metabirkins
     192          2         2         1    4           2        2        1     metahanband                                           5
     193          2         2         1    4           2        2        1     So its called Meta hand bags. Im                      4
                                                                               assuming maybe they are associated
                                                                               with the Meta facebook people.
     194          2         2         1    4           2        2        1     Well there are metahandbags which is                  5
                                                                               just crazy. as well as the crazy looking
                                                                               ones
     196          2         2         1    4           1        1        1     meta birkins                                          2



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                                                          Data File for All Interviews Conducted Among NFT Purchasers

                                                                         Q2_      Q2_                                                         Q4_     Q4_
 ResponseID                    Q2_TEXT                        Q2_DK     Code1    Code2     Q3                     Q4_TEXT            Q4_DK   Code1   Code2
    179                                                                                     1     Mason Rothschild amongst other               2
                                                                                                  particular and obscure brands.




     180      It is the name of the title                                 3                 2
     181      Mason Rothschild is the creator of Meta                     1                 1     Terminal27 is the other brand                2
              Handbags. I have known it about a                                                   established by Mr. Mason.
              couple of months prior to the survey. Mr.
              Mason is an artist as well as a creator.


     182                                                                                    3
     183      From the description I read on the                          3                 3
              webpage
     184      It says on the website                                      3                 2
     185      It says in the description that Mason                       3                 2
              Rothschild is the creator.
     186      The slogan that is provided                                 3                 2

     187      I like the variety                                          9                 1     NFTs                                         9
     189      It says that in the description of the                      3                 2
              products
     190      They make some good product                                 9                 1                                         98      10
     191      i see the name on the title i think thats                   3                 2
              what makes this itlem
     192      wallets for women in metaverse                              9                 2
     193      Just going based off of the name.                           3                 2



     194      because just look at them homie.                            2                 1     i know samsung and microsoft are             4
                                                                                                  getting in on nfts

     196      more like it is cool the best attractive                    9                 1     meta                                         4



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                                                    Data File for All Interviews Conducted Among NFT Purchasers

                                                                   Q5_                                                                   Q7_     Q7_
 ResponseID                  Q5_TEXT                    Q5_DK     Code1     Q6                    Q7_TEXT                       Q7_DK   Code1   Code2
    179     I say that because I happened to notice                 3        1    These brands could be from various                      3
            the brand names listed in the pictures.                               major fashion brands and manufacturers.




     180                                                                     3
     181      Meta Handbags is the best collection of               1        1    Forbes and Vogue are the two                            3
              the creator but the other project is                                companies that are selling the NFTs.
              Terminal27.



     182                                                                     1    Vague                                                   9
     183                                                                     3

     184                                                                     1                                                   98      10
     185                                                                     2

     186                                                                     1                                                   98      10

     187      Quality products                                      9        1    Good brands                                             9
     189                                                                     2

     190                                                                     2
     191                                                                     3

     192                                                                     2
     193                                                                     1                                                   98      10



     194      because of some game i played.                        1        1    well like i just said samsung and microsoft             4



     196                                                  98       10        1    unique                                                  9



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                                                      Data File for All Interviews Conducted Among NFT Purchasers

                                                                     Q8_
 ResponseID                  Q8_TEXT                      Q8_DK     Code1     Q9       Q10      Q11
    179     I think that because a lot of major                       1      89107               1
            clothing manufacturers and clothing
            brands are in the NFT marketplace or
            thinking of getting into the market for
            NFTs.
     180                                                                     58401               1
     181      It is clearly shown on the webpage.                     3      70112               1




     182                                                    98       10      92117               1
     183                                                                     77080               1

     184                                                                     22311               1
     185                                                                     91770               1

     186                                                                     90744               1

     187      I think is quality products                             9      30157               1
     189                                                                     32765               1

     190                                                                     71203               1
     191                                                                     32824               1

     192                                                                     72745               1
     193                                                                     53224               1



     194      everyone is getting in on it                            9      74033               1



     196                                                    98       10      32836               1



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                                                   Data File for All Interviews Conducted Among NFT Purchasers

                                                                           Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND          IPAddress        _Order   _Order    QA       QB        QC     QRegion   QDA   QDB   QDC
    197         7/13/2022 11:53       7/13/2022 12:09    172.58.146.121       2         2       1        2       37076      3       1     1     1




     201        7/13/2022 12:01       7/13/2022 12:12     174.101.239.1       2         2       2        3       43235      1       1     1      1

     202        7/13/2022 12:04       7/13/2022 12:18    173.169.231.184      2         2       2        2       33598      3       1     1      1



     203        7/13/2022 12:07       7/13/2022 12:11    108.214.109.73       1         1       2        2       33023      3       1     1      1
     204        7/13/2022 12:10       7/13/2022 12:20    172.56.81.255        1         1       2        2       85705      4       1     1      1
     205        7/13/2022 12:11       7/13/2022 12:17    172.56.104.229       1         1       2        3       98003      4       1     1      1

     206        7/13/2022 12:13       7/13/2022 12:16    174.192.133.175      1         1       2        2       61018      1       1     1      1
     208        7/13/2022 12:23       7/13/2022 12:29    172.58.107.226       1         2       1        2       74467      3       1     1      1

     209        7/13/2022 12:25       7/13/2022 12:53    108.64.203.143       2         1       2        2       60133      1       1     1      1

     210        7/13/2022 12:27       7/13/2022 12:30    70.127.184.202       1         1       1        2       33880      3       1     1      1
     211        7/13/2022 12:27       7/13/2022 12:56     71.82.81.227        2         1       2        2       90008      4       1     1      1

     212        7/13/2022 12:57       7/13/2022 13:00     38.133.118.8        2         1       2        2       96021      4       1     1      2
     213        7/13/2022 13:00       7/13/2022 13:08     108.35.81.197       1         2       2        2       7652       2       1     1      1
     214        7/13/2022 13:11       7/13/2022 13:15    174.242.221.182      1         1       1        2       90065      4       1     1      1
     215        7/13/2022 13:32       7/13/2022 13:38     24.74.31.186        2         2       1        2       90210      4       1     1      1



     216        7/13/2022 13:40       7/13/2022 13:44      99.54.97.80        1         2       2        2       43147      1       1     1      1
     217        7/13/2022 13:49       7/13/2022 14:05     69.251.72.247       1         2       2        2       21224      3       1     1      1
     219        7/13/2022 14:06       7/13/2022 14:38     66.68.210.157       2         2       2        2       78537      3       1     1      1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    197          1         1           1      1         1        0         0        0         4       1          1      1      0      0      2




     201          1         1          0      0          1        1        0         0        3        1         1      0      0      0      2

     202          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2



     203          1         1          1      1          1        0        0         0        3        1         1      1      0      0      2
     204          1         1          1      1          1        1        1         0        3        1         1      1      0      0      2
     205          1         1          0      1          0        1        1         0        3        1         0      0      1      0      2

     206          3         0          1      1          1        1        0         0        3        1         1      0      0      0      2
     208          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2

     209          1         1          0      0          1        0        0         0        4        1         1      0      1      0      2

     210          3         1          0      0          1        0        0         0        3        1         1      0      0      0      2
     211          1         1          1      1          1        0        0         0        3        1         1      0      0      0      2

     212          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     213          1         1          1      1          1        1        1         0        4        1         1      1      1      0      2
     214          1         1          1      1          1        1        0         0        4        1         1      1      0      0      2
     215          1         0          1      0          1        1        0         0        4        1         1      1      0      0      2



     216          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2
     217          1         1          1      1          1        1        0         0        4        1         1      0      0      0      2
     219          1         1          0      1          1        1        0         0        4        1         1      1      0      0      2




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                                                                                                                                  Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                    Q1_TEXT                    Q1_DK   Code1   Code2   Code3
    197          2         2          1    4           4        2        1     Mason Rothschild, meta handbags                     2




     201          2         2         1    4           2        2        1     Rotschild, May be Vogue                             2       9

     202          2         2         1    4           1        1        1     A store outlet that is pretty expensive             9
                                                                               that sells meta birkins.

     203          2         2         1    4           1        1        1                                                98      10
     204          2         2         1    4           4        2        1                                                98      10
     205          2         2         1    4           4        2        1     An accessory or handbag company for                3
                                                                               women.
     206          2         2         1    4           4        2        1     Metahandbags                                        5
     208          2         2         1    4           4        1        1     Metabrinks is the company. Mason                    2
                                                                               rothschild is the creator
     209          2         2         1    4           4        1        1     HERMES.COM                                          1

     210          2         2         1    4           4        2        1     Nft                                                 4
     211          2         2         1    4           2        1        1     Dienaga                                             9

     212          2         2         1    4           4        2        1     Metahandbags                                        5
     213          2         2         1    4           2        2        1     Mets Handbags                                       5
     214          2         2         1    4           1        2        1     none in particular                                  9
     215          2         2         1    4           1        1        1     MetaBirkins                                         2



     216          2         2         1    4           2        2        1     Macys                                               3
     217          2         2         1    4           1        1        1     MetaBirkins                                         2
     219          2         2         1    4           1        2        1     MetaHandbags                                        5




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                                                                       Q2_      Q2_                                                                Q4_     Q4_
 ResponseID                   Q2_TEXT                       Q2_DK     Code1    Code2     Q3                     Q4_TEXT                   Q4_DK   Code1   Code2
    197     Well it blatantly says int hw first                         3                 1     Metabirkin                                          2
            sentence, the designers name is Mason
            Rothschild. The URL and web page is
            metahandbags
     201      I read the text and i remember some                       3                 1     Forbes, Vogue                                       3
              things like the 5.5 ETH cost
     202      I see a lot of purse and I know what                      1                 1     Hermes Birkin is the company that makes             1
              Birkins are.                                                                      Birkin and I think they do crypto.

     203                                                                                  2
     204                                                                                  2
     205      Because of all the purses that was                        2                 1     Super Stephen shoes nft art                         9
              displayed on the prior screen.
     206      Because its the website for then                          9                 2
     208      Its clearly stated on the website                         3                 1     Baby birkin                                         2

     209      They said you can find it on that website.                3                 1     Metabirkins.com                                     2

     210      I seen nft                                                9                 2
     211      Looking at the style looks like Dienaga                   1                 1     Zares                                               9

     212      Its the website name                                     3                  2
     213      It says it in the url screenshot below                   3                  2
     214      I am not sure                                            10                 2
     215      Because the website page is                              3                  2
              www.metabirkins.com and it says it in
              big letters at the top.
     216      Its premium clothing.                                     9                 2
     217      It is said on the preview                                 3                 1     LooksRare                                           4
     219      Cause it says in there.                                   3                 1     darcy                                               9




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                                                          Data File for All Interviews Conducted Among NFT Purchasers

                                                                         Q5_                                                          Q7_     Q7_
 ResponseID                 Q5_TEXT                           Q5_DK     Code1     Q6                   Q7_TEXT               Q7_DK   Code1   Code2
    197     He is known for creating babyhandbag                          1        1    Vogue and forbes                               3




     201      The text from this image                                    3        1    The creator, Rothschild                        2

     202      They make the bags which have the best                      1        2
              quality.

     203                                                                           2
     204                                                                           1                                          98      10
     205      Because I own a nft by them                                 1        1    Nft art by a exchange like opensea            4

     206                                                                           2
     208      Its stated in the text                                      3        2

     209      This is the name of the site it is displayed                3        1    Mason Rothschild                               2
              in.
     210                                                                           3
     211      When I see the color pink. I think of it.                   2        1    Burberry                                       3

     212                                                                           1    Coinbase                                      4
     213                                                                           1                                          98      10
     214                                                                           2
     215                                                                           1    Mason Rothschild                               2



     216                                                                           2
     217                                                        98       10        3
     219      it says in the words.                                      3         1    rothschilds                                    2




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                                                    Data File for All Interviews Conducted Among NFT Purchasers

                                                                   Q8_
 ResponseID                 Q8_TEXT                     Q8_DK     Code1     Q9       Q10      Q11
    197     Vogue and Forbes covered Rothschild                     1      37076               1
            first baby handbag



     201      The text                                              3      43235               1

     202                                                                   33598               1



     203                                                                   33023               1
     204                                                                   85705               1
     205      Because I use their services                          1      98003               1

     206                                                                   61018               1
     208                                                                   74467               1

     209      The site told me the person who created               3      60133               1
              and funded the nft.
     210                                                                   33880               1
     211      The style is furry                                    2      90008               1

     212      Its a guess                                          10      96021               1
     213                                                                   7652                1
     214                                                                   90065               1
     215      It says that in the paragraph below                   3      90210               1



     216                                                                   43147               1
     217                                                                   21224               1
     219      it says in the words.                                 3      78537               1




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                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND          IPAddress       _Order   _Order     QA       QB        QC     QRegion   QDA   QDB   QDC
    220         7/13/2022 14:18       7/13/2022 14:28     66.10.40.186       1         2        2        2       75134      3       1     1     1




     221        7/13/2022 14:21       7/13/2022 14:26     76.106.219.91      2         2        2        2       32055      3       1     1      1




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 ResponseID     QDD       QE_1        QE_2   QE_3      QE_4     QE_5      QE_6     QE_7      QF      QG_1       QG_2   QG_3   QG_4   QG_5   QHA
    220          1         1           0      1         1        0         0        0         3       1          1      0      0      0      2




     221          1         1          1      1          1        1        0         0        3        1         1      1      0      0      2




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                                                                                                                                 Q1_     Q1_     Q1_
 ResponseID     QHB       QHC         QI   QJ         QK      QCELL     QM                      Q1_TEXT                 Q1_DK   Code1   Code2   Code3
    220          2         2          1    4           4        1        1     Im assuming Mason Rothschild, since he             2
                                                                               worked on the project, that made these
                                                                               on this website.



     221          2         2         1    4           1        1        1     mason rothschild                                   2




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                                                     Data File for All Interviews Conducted Among NFT Purchasers

                                                                    Q2_      Q2_                                              Q4_     Q4_
 ResponseID                    Q2_TEXT                    Q2_DK    Code1    Code2     Q3                   Q4_TEXT   Q4_DK   Code1   Code2
    220     He made the first one according to the                   3                 2
            article so this is his second project.




     221      it says in the second paragraph: Creeator              3                 3
              Mason Rothschild




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                                            Data File for All Interviews Conducted Among NFT Purchasers

                                                           Q5_                                                                   Q7_     Q7_
 ResponseID                  Q5_TEXT            Q5_DK     Code1     Q6                     Q7_TEXT                      Q7_DK   Code1   Code2
    220                                                              1    I dont exactly know the company per                     9
                                                                          say, but he had to have some sort of
                                                                          funding to get this off the ground. That is
                                                                          a lot of money spent.


     221                                                             1    Mason Rothschild                                        2




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                                                    Data File for All Interviews Conducted Among NFT Purchasers

                                                                   Q8_
 ResponseID                  Q8_TEXT                     Q8_DK    Code1     Q9       Q10      Q11
    220     Everybody has a hidden investor                         9      75134               1
            somewhere. He has a lot 9f someones
            money gambled into something that
            might flop. Definitely not using his own
            money on that bet.
     221      because thats what it says on the second              3      32055               1
              paragraph




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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                              Variable Information
Variable                              Label
ResponseID                            Respondent ID
SURVEYSTART                           Survey start date
SURVEYEND                             Survey end date
IPAddress                             IP Address
Random_Order                          Yes-no order
Reverse_Order                         Questionnaire order-reverse order
QA                                    What is your gender? (SELECT ONE RESPONSE)
QB                                    What is your age? (SELECT ONE RESPONSE)
QC                                    Please enter the ZIP code of your home address.
QRegion                               Region
QDA                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A Non-Fungible Token, or NFT
QDB                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A Virtual Private Network subscription, or VPN subscription
QDC                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A Virtual Reality headset, or VR headset
QDD                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A website domain, or URL
QE_1                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for digital artwork
QE_2                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for fashion apparel or fashion accessories
QE_3                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for music
QE_4                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for a video game item or video game asset
QE_5                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for sports memorabilia
QE_6                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - An NFT for something else not listed above
QE_7                                  Which, if any, of the following types of Non-Fungible Tokens (NFTs) are you likely to purchase in the next 12 months? (SELECT ALL THAT
                                      APPLY) - I don’t know
QF                                    Which, if any, of the following ranges best reflects the most you would be willing to spend to purchase an NFT? (SELECT ONE RESPONSE)



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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                              Variable Information
Variable                              Label
QG_1                                  If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)
                                      - Cryptocurrency
QG_2                                  If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)
                                      - Credit card
QG_3                                  If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)
                                      - Check
QG_4                                  If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)
                                      - Something else not listed above
QG_5                                  If you purchased something online, which, if any, of the following payment methods would you consider using? (SELECT ALL THAT APPLY)
                                      - I don’t know
QHA                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - An advertising or public relations agency
QHB                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - A marketing research agency
QHC                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - A company that creates or mints NFTs
QI                                    How many surveys about Non-Fungible Tokens (NFTs) have you completed in the past month? (SELECT ONE RESPONSE)
QJ                                    For quality control purposes, please select the number seven from the list below. (SELECT ONE RESPONSE)
QK                                    Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)
QCELL                                 Cell Assignment
QM                                    Did you see the webpage clearly? (SELECT ONE RESPONSE)
Q1_TEXT                               What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as
                                      possible. If you don’t know, please select “I don’t know.” - Text
Q1_DK                                 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as
                                      possible. If you don’t know, please select “I don’t know.” - I don't know
Q1_Code1                              Verbatim code
Q1_Code2                              Verbatim code
Q1_Code3                              Verbatim code
Q2_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q2_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q2_Code1                              Verbatim code
Q2_Code2                              Verbatim code




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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                               Variable Information
Variable                              Label
Q3                                    Are you aware of any other brands or products made or provided by whoever makes or provides the items shown on the webpage?
                                      Please answer yes, no, or you don’t know. (SELECT ONE RESPONSE)
Q4_TEXT                               What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage?
                                      Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q4_DK                                 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage?
                                      Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q4_Code1                              Verbatim code
Q4_Code2                              Verbatim code
Q5_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q5_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q5_Code1                              Verbatim code
Q6                                    Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE RESPONSE)
Q7_TEXT                               What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on
                                      the webpage? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q7_DK                                 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on
                                      the webpage? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q7_Code1                              Verbatim code
Q7_Code2                              Verbatim code
Q8_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q8_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q8_Code1                              Verbatim code
Q9                                    Please re-enter the ZIP code of your home address.
Q10                                   To verify, please re-enter the ZIP code of your home address.
Q11                                   Please read the statement that follows and select either “I agree” or “I disagree.” If any portion of the statement is not true, please
                                      select “I disagree.”
                                      STATEMENT
                                      I am the person who was invited to participate in this survey. I completed this survey myself, without assistance or advice from any other
                                      person or source, and in accordance with the instructions provided in the survey. The answers I have provided are truthful expressions of
                                      my situation and opinions.




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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                                  Variable Values
Value                                 Label
Random_Order              1           yes, no
                          2           no, yes
Reverse_Order             1           Questionnaire order
                          2           Reverse order
QA                        1           Female
                          2           Male
                          3           Non-binary or other
                          4           Prefer not to answer
QB                        1           17 years old or younger
                          2           18 to 34 years old
                          3           35 to 54 years old
                          4           55 years old or older
                          5           Prefer not to answer
QC                                    Please enter your response
QRegion                   1           Midwest
                          2           Northeast
                          3           South
                          4           West
QDA                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDB                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDC                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDD                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QE_1                      0           Not selected
                          1           Selected




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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                              Variable Values
Value                                 Label
QE_2                      0           Not selected
                          1           Selected
QE_3                      0           Not selected
                          1           Selected
QE_4                      0           Not selected
                          1           Selected
QE_5                      0           Not selected
                          1           Selected
QE_6                      0           Not selected
                          1           Selected
QE_7                      0           Not selected
                          1           Selected
QF                        1           Less than $1,000
                          2           $1,000 - $2,499
                          3           $2,500 - $4,999
                          4           $5,000 or more
                          5           I don’t know
QG_1                      0           Not selected
                          1           Selected
QG_2                      0           Not selected
                          1           Selected
QG_3                      0           Not selected
                          1           Selected
QG_4                      0           Not selected
                          1           Selected
QG_5                      0           Not selected
                          1           Selected
QHA                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know
QHB                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know



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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                               Variable Values
Value                                 Label
QHC                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know
QI                        1           None
                          2           1 to 2
                          3           3 or more
                          4           I don’t know
QJ                        1           1
                          2           3
                          3           5
                          4           7
                          5           9
QK                        1           Desktop computer
                          2           Laptop computer
                          3           Tablet
                          4           Smartphone
                          5           Some other type of device not listed above
                          6           I don’t know
QCELL                     1           Cell 1 Test Website MetaBirkins
                          2           Cell 2 Control Website MetaHandbags
QM                        1           Yes, I did see the webpage clearly
                          2           No, I did not see the webpage clearly
                          3           I don’t know
Q1_TEXT                               Please enter your response
Q1_DK                     98          I don’t know
Q2_TEXT                               Please enter your response
Q2_DK                     98          I don’t know
Q3                        1           Yes, I am aware of other brands or products made or provided by whoever makes or provides these items
                          2           No, I am not aware of other brands or products made or provided by whoever makes or provides these items
                          3           I don’t know
Q4_TEXT                               Please enter your response
Q4_DK                     98          I don’t know




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                                                   Data Map for All Interviews Conducted Among NFT Purchasers


                                                                              Variable Values
Value                                 Label
Q5_TEXT                               Please enter your response
Q5_DK                     98          I don’t know
Q6                        1           Is sponsored, authorized, or approved by another company, person or brand
                          2           Is not sponsored, authorized, or approved by another company, person or brand
                          3           I don’t know
Q7_TEXT                               Please enter your response
Q7_DK                     98          I don’t know
Q8_TEXT                               Please enter your response
Q8_DK                     98          I don’t know
Q9                                    Please enter your response
Q10                                   Please enter your response
Q11                       1           I agree
                          2           I disagree




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                               Exhibit 13:
All Responses for All Interviews Conducted Among Handbag Purchasers
                          Survey Data File
                          Survey Data Map
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                                                Data File for All Interviews Conducted Among Handbag Purchasers

                                                                          Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress        _Order   _Order    QA       QB      QC     QRegion   QDA   QDB   QDC
     1          7/8/2022 11:27        7/8/2022 12:03     71.179.160.4        2         1       1        3     21029     3        1     1     1
     3          7/8/2022 12:22        7/8/2022 12:30     67.140.6.252        2         1       1        3     42503     3        1     1     1
     5          7/8/2022 14:12        7/8/2022 14:25    67.250.106.36        1         2       1        3     10306     2        1     1     1
     6          7/8/2022 14:27        7/8/2022 14:33     73.44.177.54        1         2       1        2     70544     3        1     1     1
     7          7/8/2022 14:48        7/8/2022 15:02    50.244.45.237        1         1       2        3     60467     1        1     1     1
     9          7/8/2022 20:19        7/8/2022 20:30    69.250.218.229       1         1       1        2     21229     3        1     1     2
     10         7/8/2022 21:17        7/8/2022 21:20     38.13.0.155         2         2       2        3     2215      2        1     1     1

     11         7/8/2022 22:54        7/8/2022 23:18     98.30.62.165       2         1       1        2      44109     1        1     1     1



     12         7/8/2022 22:57        7/8/2022 23:12     24.175.243.13      2         2       1        3      85024     4        1     1     1



     13         7/8/2022 22:57        7/8/2022 23:10     99.122.89.118      1         1       1        2      38133     3        1     1     1
     14         7/8/2022 22:58        7/8/2022 23:17     98.170.152.20      1         2       1        2      31210     3        1     1     1

     15         7/8/2022 23:00        7/8/2022 23:24      68.50.81.90       1         2       1        2      47304     1        1     2     1

     16         7/8/2022 23:04        7/8/2022 23:23     73.11.162.216      1         2       1        3      98503     4        1     3     1
     17         7/8/2022 23:04        7/8/2022 23:21     24.5.226.106       1         2       2        3      94568     4        1     3     1

     18         7/8/2022 23:06        7/8/2022 23:22     96.239.17.162      1         2       1        2      11222     2        1     2     1



     19         7/8/2022 23:06        7/8/2022 23:12     68.77.157.121      1         1       1        3      75205     3        1     2     1
     20         7/8/2022 23:07        7/8/2022 23:30     65.28.164.250      2         2       1        2      53209     1        1     3     1

     21         7/8/2022 23:14        7/8/2022 23:53     70.92.142.252      1         1       2        2      53215     1        1     2     1

     22         7/8/2022 23:15        7/8/2022 23:30     76.94.53.166       2         1       1        2      90027     4        1     1     1

     23         7/8/2022 23:16        7/8/2022 23:43    174.207.227.135     2         2       1        2      45431     1        1     1     1



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                                           Data File for All Interviews Conducted Among Handbag Purchasers



 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     1           1         1          4     1       2        1        1        1        1        2        2       2     1   4    2
     3           1         1          4     1       1        1        1        1        1        2        2       2     1   4    4
     5           1         1          4     2       1        2        2        1        1        2        2       2     1   4    4
     6           1         1          4     1       1        1        1        1        1        2        2       2     1   4    2
     7           1         1          4     1       2        1        1        1        1        2        2       2     1   4    1
     9           1         1          4     1       1        2        1        1        1        2        2       2     1   4    1
     10          1         1          4     1       1        1        1        1        1        2        2       2     1   4    2

     11           1         1         4     1       1        1        2        1         1        2          2    2    1    4    1



     12           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1



     13           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1
     14           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     15           1         2         4     1       1        2        3        2         1        2          2    2    1    4    2

     16           1         1         4     1       1        1        1        1         1        2          2    2    1    4    2
     17           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     18           1         1         4     1       1        1        1        2         1        2          2    2    1    4    1



     19           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1
     20           1         1         4     1       1        1        1        2         1        2          2    2    1    4    1

     21           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     22           1         1         4     1       1        1        1        1         2        2          2    2    1    4    1

     23           1         1         4     1       1        1        3        1         1        2          2    2    1    4    1



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                                               Data File for All Interviews Conducted Among Handbag Purchasers

                                                                                   Q1_     Q1_      Q1_
 ResponseID    QCELL       QL                    Q1_TEXT                  Q1_DK   Code1   Code2    Code3                    Q2_TEXT                       Q2_DK
     1           1         1                                               98       10
     3           2         1     Google it works great                              4                      Because they are great
     5           1         1                                               98       10
     6           2         1     Meta handbags                                      5                      The name of the website
     7           2         1     Meta Handbags                                      5                      It is written at the top
     9           2         1                                               98       10
     10          1         1     It could be fashion brands like LV and             3                      Those bags look great
                                 Gucci
     11           2         1    Im not sure                                       10                      Because I think this handbag is probably
                                                                                                           sponsored by a lot more companies

     12           1         1    meta                                               4                      I think this brand has a very distinctive
                                                                                                           handbag with very nice colors.

     13           1         1                                              98      10
     14           2         1    Web Development Agency in Cali                    4                       Because I think he is very good-looking I
                                                                                                           really like I want
     15           2         1    masonrothschild                                    2                                                                      98

     16           2         1                                              98      10
     17           2         1    MetaBirkins                                       2                       This is a very nice item and looks very
                                                                                                           high class
     18           1         1    Hermès USA                                         1                      Because I have seen his information and
                                                                                                           many of his product introductions.

     19           1         1                                              98      10
     20           1         1    I think its from a luxury company                 9                       I think the material looks luxury

     21           2         1    Handbag companies can provide these                3                      I often see different styles of bags in
                                 items                                                                     various bag stores
     22           1         1    MetaBirkins                                        2                      Excellent reputation and use of
                                                                                                           environmentally friendly materials
     23           2         1    gucci                                              3                      I think it fits with the philosophy of their
                                                                                                           company


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                                              Data File for All Interviews Conducted Among Handbag Purchasers

                Q2_       Q2_                                                                 Q4_     Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT                   Q4_DK   Code1   Code2                        Q5_TEXT               Q5_DK
     1                                1                                               98       10
     3            9                   1    Amazon I think its great                            4             I love all of this
     5                                2
     6            3                   2
     7            3                   2
     9                                1                                               98      10
     10           2                   1    Macys                                              3              I like Macys

     11           9                   2



     12           2                   1    CHUMS Chums                                         9             The texture of the tote bag is very good
                                                                                                             and the price is very appropriate.

     13                               1    They also produced handbags                         9                                                         98
     14           2                   1    metabirkins                                         2                                                         98

     15          10                   1    vogue                                               3             I have seen these news on Google before

     16                               2
     17           2                   2

     18           1                   2



     19                               3
     20           2                   1    coach                                               3             It looks like their company designed it

     21           1                   1    They also provide backpacks, purses and             9             I think the same bag can be sold in more
                                           so on                                                             than one store
     22           1                   2

     23           1                   1    Eco-friendly clothes and accessories                9             I think this is the future of the market



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                Q5_       Q5_                                                             Q7_                                                       Q8_
 ResponseID    Code1     Code2        Q6                 Q7_TEXT                Q7_DK    Code1                    Q8_TEXT                  Q8_DK   Code1
     1                                1                                          98        10
     3            9                   1    8crosoft                                        4     I love it very much                                 9
     5                                1                                           98       10
     6                                2
     7                                2
     9                                1                                           98       10
     10           1                   1                                           98       10

     11                               1    vogue                                           3     I think its a good sponsorship                      9



     12           2                   1    Chupa Chups                                     9     Very nice color scheme and unique                   2
                                                                                                 material.

     13          10                   1                                           98       10
     14          10                   1    lppksrare                                       4     Because I look at his name on the page              3

     15           1                   1    masonrothschild                                 2                                                98      10

     16                               1    gucci                                           3     This looks like a very high class item.             2
     17                               1    VOGUE                                           3     I remember seeing this picture before               1

     18                               1                                           98       10



     19                               1                                           98       10
     20           2                   1    vogue                                           3     Ive read about it in magazines before               1

     21           9                   1                                           98       10

     22                               2

     23           9                   1    apple                                           3     I think they share the same philosophy              9



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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     1                   21029               1
     3                   42503               1
     5                   10306               1
     6                   70544               1
     7                   60467               1
     9                   21229               1
     10                  2215                1

     11                  44109               1



     12                  85024               1



     13                  38133               1
     14                  31210               1

     15                  47304               1

     16                  98503               1
     17                  94568               1

     18                  11222               1



     19                  75205               1
     20                  53209               1

     21                  53215               1

     22                  90027               1

     23                  45431               1



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                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND           IPAddress      _Order   _Order     QA       QB      QC        QRegion   QDA   QDB   QDC
     24         7/8/2022 23:17        7/8/2022 23:36     98.168.219.84      1         1        2        3     68046        1        1     1     2

     25         7/8/2022 23:19        7/8/2022 23:39     24.45.87.188       1        1        2        3      10472        2        1     1     2

     27         7/8/2022 23:20        7/8/2022 23:35     98.230.70.113      1        2        1        2      36695        3        1     1     1

     28         7/8/2022 23:23        7/8/2022 23:41     73.76.39.196       1        2        1        3      77077        3        1     3     1

     29         7/8/2022 23:25        7/8/2022 23:35    73.124.209.254      1        1        2        3      33410        3        1     1     1
     30         7/8/2022 23:25        7/8/2022 23:39    67.248.113.35       1        1        2        3      12210        2        1     1     1

     31         7/8/2022 23:26        7/8/2022 23:52      24.4.3.102        1        2        2        2      93458        4        1     1     1

     32         7/8/2022 23:30        7/8/2022 23:36    72.220.153.46       1        2        2        3      92114        4        1     2     1
     34         7/8/2022 23:33        7/8/2022 23:40    73.122.138.247      2        1        1        3      30349        3        1     1     1

     35         7/8/2022 23:33        7/8/2022 23:57     24.20.231.177      1        1        1        2      97301        4        1     1     1

     36         7/8/2022 23:34        7/8/2022 23:50     98.124.165.81      2        1        2        2          2266     2        1     3     1

     37         7/8/2022 23:34        7/8/2022 23:56    24.192.118.184      1        1        1        2      48080        1        1     1     1

     38         7/8/2022 23:34        7/8/2022 23:54     66.169.18.127      1        1        1        3      29330        3        1     1     2

     39         7/8/2022 23:36        7/8/2022 23:57     97.118.30.151      2        2        1        3      80229        4        1     1     1

     40         7/8/2022 23:37        7/8/2022 23:57     68.109.22.88       2        1        1        3          2835     2        1     1     1

     42         7/8/2022 23:38        7/8/2022 23:51     99.67.24.234       1        2        2        3      28209        3        1     1     1

     43         7/8/2022 23:44        7/8/2022 23:53     68.43.251.80       1        2        2        3      48170        1        1     2     1
     44         7/8/2022 23:45        7/9/2022 0:02      68.194.84.36       1        2        1        3      11213        2        1     2     1




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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     24          2         1          4     1       1        1        2        1        2        2        2       2     1   4    1

     25           1         1         4     1       1        1        2        1         1        2          2    2    1    4    1

     27           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     28           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     29           1         1         4     1       2        1        1        1         1        2          2    2    1    4    1
     30           1         1         4     1       1        1        2        1         1        2          2    2    1    4    1

     31           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     32           1         1         4     1       1        1        1        1         1        2          2    2    1    4    2
     34           1         1         4     1       1        1        1        1         2        2          2    2    1    4    1

     35           1         1         4     1       1        1        1        2         1        2          2    2    1    4    1

     36           1         1         4     1       1        1        1        3         1        2          2    2    1    4    1

     37           1         1         4     1       1        2        1        1         1        2          2    2    1    4    1

     38           1         1         4     1       1        1        2        1         1        2          2    2    1    4    1

     39           1         1         4     1       1        2        1        2         1        2          2    2    1    4    1

     40           1         2         4     2       1        1        1        1         2        2          2    2    1    4    1

     42           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1

     43           1         1         4     1       1        1        1        1         1        2          2    2    1    4    1
     44           1         2         4     1       1        2        2        1         1        2          2    2    1    4    2




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                                                                                   Q1_      Q1_      Q1_
 ResponseID    QCELL       QL                 Q1_TEXT                     Q1_DK   Code1    Code2    Code3                     Q2_TEXT                   Q2_DK
     24          2         1     VOGUE,Mason Rothschild                             2        3              There is no reason why, I see it written
                                                                                                            inside the introduction.
     25           1         1    Mason Rothschild                                   2                       The webpage has the creator written on
                                                                                                            it.
     27           1         1    I think these well-known brands can be             9                       Because I think these products are very
                                 displayed on the web                                                       environmentally friendly
     28           2         1    I think YOUR will provide these items              9                       Because they both make bags. Theyre all
                                                                                                            connected
     29           1         1    MetaBirkins                                        2                       It looks very textured and advanced.
     30           1         1    Mason Rothschild                                   2                       I saw that he is the creator.

     31           1         1    NOT should provide the items displayed             9                       I think bag shops have a wide range of
                                 on the web page                                                            bags
     32           2         1    MetaHandbags                                       5                       This is a luxury looking item
     34           2         1    LooksRare                                          4                       More purchasing channels and cost
                                                                                                            effective
     35           1         1    META BIRKIN                                        2                       I think the message on the chart is very
                                                                                                            clear.
     36           2         1    chanel                                             3                       This luxury can bring lasting benefits

     37           1         1    Meta birkins                                       2                       The very detailed presentation attracted
                                                                                                            my interest.
     38           2         1    Mason Rothschild                                   2                       I saw the introduction inside the
                                                                                                            message content.
     39           2         1    Mason Rothschild                                   2                       Very in-depth presentation of the
                                                                                                            products.
     40           1         1    Hermes                                             1                       In line with the style and image
                                                                                                            characteristics of its product design
     42           1         1    I think it came from mason Rothschild,             2                       Its because I saw some products that I
                                 the founder                                                                thought were really good
     43           1         1    Mason Rothschild                                   2                       This is very worthy of affirmation
     44           1         1    hermes                                             1                       Because I saw this kind of information on
                                                                                                            Google



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                Q2_       Q2_                                                                Q4_     Q4_
 ResponseID    Code1     Code2        Q3                      Q4_TEXT               Q4_DK   Code1   Code2                   Q5_TEXT                    Q5_DK
     24          3                    1                                              98       10

     25           3                   1    I dont think so.                                  10             I think he has collaborations with other
                                                                                                            brands.
     27           9                   1    Some similar products are offered                  9             I think what products gave me these
                                                                                                            ideas
     28           1                   1    They also provided purses and stuff                9                                                         98

     29           2                   1                                              98      10
     30           3                   1    I dont think this person makes other              9                                                          98
                                           products.
     31           9                   1    I think bag shops have a wide range of             9             I saw the advertisement about handbags
                                           bags                                                             before
     32           2                   2
     34           9                   2

     35           3                   1    MASON ROTHSCHILD                                   2             The diagram introduces the concept of
                                                                                                            the creation of these products.
     36           9                   1    metabandbag                                        5             I think its their companys design

     37           9                   1    MASON ROTHSCHILD                                   2             The basic information about the
                                                                                                            products shows the concept.
     38           3                   1                                              98      10

     39           9                   1    FORBES                                             3             The information about the products has
                                                                                                            been very clearly described.
     40           2                   2

     42           9                   1    There are also some other packaging of             9             There are also some other packaging of
                                           products this is my personal idea                                products this is my personal idea
     43           9                   1    hermes                                             1             It looks like something similar
     44           1                   1    vogue                                              3             Because I read about this information in
                                                                                                            magazines



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                Q5_       Q5_                                                              Q7_                                                          Q8_
 ResponseID    Code1     Code2        Q6                      Q7_TEXT            Q7_DK    Code1                     Q8_TEXT                    Q8_DK   Code1
     24                               1                                           98        10

     25           9                   1    I think its illegal not to.                      9                                                   98      10

     27           9                   1                                            98       10

     28          10                   1    MetaBirkins                                      2     Its also about bags                                    9

     29                               1                                            98       10
     30          10                   1    I dont know, it should be his own                10                                                  98      10
                                           creation, there is no licensing.
     31           1                   1    MOTHERS                                          9                                                   98      10

     32                               1    coach                                            3     I saw a lot of things like that                        1
     34                               2

     35           3                   1    Hermes                                           1     It seems to be a luxury bag.                           9

     36           2         1         1    gucci                                            3     I think they have the same philosophy                  9

     37           3                   1    Gucci                                            3     Its design style is perfect for Gucci.                 2

     38                               1    NIKE                                             3     I saw it on the news.                                  1

     39           3                   1    Barbie Brown                                     3     The design is very much like the design                2
                                                                                                  concept of Barbie Brown.
     40                               1    Hermes                                           1     Is a different brand image characteristics             2
                                                                                                  are more clear
     42           2                   1    I think there are other well-known               9                                                   98      10
                                           brands that know this
     43           2                   1                                            98       10
     44           1                   1                                            98       10




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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     24                  68046               1

     25                  10472               1

     27                  36695               1

     28                  77077               1

     29                  33410               1
     30                  12210               1

     31                  93458               1

     32                  92114               1
     34                  30349               1

     35                  97301               1

     36                   2266               1

     37           1      48080               1

     38                  29330               1

     39                  80229               1

     40                   2835               1

     42                  28209               1

     43                  48170               1
     44                  11213               1




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                                               Data File for All Interviews Conducted Among Handbag Purchasers

                                                                        Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress      _Order   _Order     QA       QB      QC     QRegion   QDA   QDB   QDC
     45         7/8/2022 23:46        7/9/2022 0:03      75.90.84.17       1         2        1        3     77498     3        1     1     1

     46         7/8/2022 23:54        7/9/2022 0:03     76.252.227.46      1        1        2        2      92173     4        1     2     1
     47         7/8/2022 23:54        7/9/2022 0:16     71.28.173.121      1        1        1        3      40509     3        1     2     1



     48         7/8/2022 23:54        7/9/2022 0:08     75.140.0.237       1        1        2        3      92345     4        1     1     1

     49         7/8/2022 23:55        7/9/2022 0:05    107.115.171.49      2        1        2        3      75244     3        1     2     1

     50         7/8/2022 23:55        7/9/2022 0:05     71.74.66.114       2        1        1        3      43551     1        1     1     1
     51         7/8/2022 23:55        7/9/2022 0:03     76.89.48.87        1        1        2        3      85349     4        1     1     1

     52         7/8/2022 23:58        7/9/2022 0:15    68.231.149.206      1        1        1        3      85142     4        1     2     2

     53          7/9/2022 0:00        7/9/2022 0:09     172.5.208.109      2        2        1        3      48237     1        1     1     1



     54          7/9/2022 0:00        7/9/2022 0:08    98.117.63.148       2        1        2        2      21797     3        1     1     1
     55          7/9/2022 0:00        7/9/2022 0:11    173.66.187.115      1        2        2        2      20815     3        1     1     1




     56          7/9/2022 0:03        7/9/2022 0:23    98.213.191.105      2        1        2        3      61008     1        1     3     1

     57          7/9/2022 0:06        7/9/2022 0:18     68.131.13.35       2        2        1        2      23608     3        1     3     1

     58          7/9/2022 0:09        7/9/2022 0:28     68.40.155.16       1        1        2        3      48124     1        1     1     1

     59          7/9/2022 0:11        7/9/2022 0:17     73.48.129.247      1        1        1        3      95355     4        1     1     1
     60          7/9/2022 0:12        7/9/2022 0:23     73.68.220.160      1        1        1        2      1843      2        1     2     1

     61          7/9/2022 0:15        7/9/2022 0:28     99.170.45.190      1        1        1        3      30238     3        1     1     1



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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     45          1         1          4     1       1        2        3        1        1        2        2       2     1   4    1

     46           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     47           1         2         4     1       1        1        2        1         2        2          2    2    1    4     1



     48           1         1         4     1       1        1        1        1         2        2          2    2    1    4     1

     49           1         1         4     1       1        2        1        1         2        2          2    2    1    4     1

     50           1         1         4     1       2        1        1        1         1        2          2    2    1    4     1
     51           1         1         4     1       1        1        1        1         1        2          2    2    1    4     2

     52           1         2         4     1       1        2        2        2         1        2          2    2    1    4     1

     53           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



     54           1         1         4     1       1        1        1        1         1        2          2    2    1    4     2
     55           1         1         4     1       1        2        1        2         1        2          2    2    1    4     1




     56           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     57           1         1         4     1       1        1        1        1         3        2          2    2    1    4     1

     58           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     59           1         1         4     1       1        1        1        1         1        2          2    2    1    4     2
     60           1         2         4     1       1        1        1        1         1        2          2    2    1    4     1

     61           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



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                                                                                    Q1_      Q1_      Q1_
 ResponseID    QCELL       QL                   Q1_TEXT                    Q1_DK   Code1    Code2    Code3                     Q2_TEXT                     Q2_DK
     45          1         1     Mason Rothschild,LooksRare,Forbes                   2        4        3     I saw the profile of this bag very clearly.
                                 Vogue
     46           2         1    Mason Rothschild,LooksRare                          2        4              No need to think, I saw this.
     47           1         1    masonrothschild                                     2                       Because I am a fan of masonrothschild, I
                                                                                                             always pay attention to his information

     48           1         1    MetaBirkins                                         2                       Brand values and logo and good word-of-
                                                                                                             mouth attitude
     49           1         1    MetaBirkins                                         2                       Seeing the kinds and colors I like makes
                                                                                                             me want to try to buy more
     50           2         1    MetaHandbags                                        5                       It fits my aesthetic and is my type.
     51           2         1    Mason Rothschild                                    2                       This is a very impressive sample

     52           2         1    masonrothschild                                     2                       Because I looked up the information
                                                                                                             about the founder
     53           1         1    Louis Vuitton                                       3                       Because I think they are a high end
                                                                                                             brand, they will probably make a page
                                                                                                             like this.
     54           2         1    Mason Rothschild                                    2                       Its style is very fashionable
     55           2         1    Hermes                                              1                       Because Hermes has a dispute with it.




     56           1         1    Mason Rothschild                                    2        4        3     I saw the page.
                                 ,LooksRare,Forbes,Vogue
     57           2         1    dior                                                3                       I think thats their product concept

     58           2         1    I think its the brand maker who started             9                       It was the feeling of the brand as a whole
                                 these projects                                                              that led me to those thoughts
     59           1         1    Mason Rothschild                                    2                       This is the latest fashion
     60           2         1    Mason Rothschild ,LooksRare,Forbes                  2        4        3     Because its on the webpage information.

     61           1         1    I think it was the founders entire team             9                       Its because of these products that I have
                                 that provided it                                                            these ideas


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                Q2_       Q2_                                                                     Q4_     Q4_
 ResponseID    Code1     Code2        Q3                    Q4_TEXT                      Q4_DK   Code1   Code2                     Q5_TEXT                      Q5_DK
     45          2                    1    NFT Digital Currency                                    9                                                             98

     46           9                   1    NFT                                                     9             Saw the news about it.
     47           1                   1    metabirkins                                             2             I saw these in the magazine in the
                                                                                                                 following pages and I thought so

     48           1                   2

     49           2                   1                                                   98      10

     50           2                   2
     51           9                   1    coach                                                   3             I like its style very much and have seen it
                                                                                                                 advertised in the media.
     52           1                   1                                                   98      10

     53           9                   1    This page must be made by a big brand                   3             Because I think only big brands can have
                                           of luxury goods.                                                      such vision and potential.

     54           9                   1    hermes                                                  1             Its style is very fashionable
     55           1                   1    vogue                                                   3             It is very clear to see that its positioning
                                                                                                                 is is still fashionable luxury jewelry, and
                                                                                                                 the magazine is a fashion brand.

     56           9                   1    NFT                                                     9             I searched Google for information about
                                                                                                                 him.
     57           9                   1    Environmentally designed clothes and                    9             Its about where the company is going
                                           shoes
     58           9                   1    I personally think there are other lines of             9             Because of the whole feel of the brand
                                           different products on offer
     59           9                   1    LV                                                      3             Its trendy. Its tasteful
     60           3                   1    NFT Currency                                            9             I saw the news about him.

     61           2                   1    I think there are more environmentally                  9             Because I think its very innovative
                                           friendly products


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                Q5_       Q5_                                                             Q7_                                                          Q8_
 ResponseID    Code1     Code2        Q6                   Q7_TEXT              Q7_DK    Code1                    Q8_TEXT                     Q8_DK   Code1
     45          10                   1    Gucci                                           3                                                   98       10

     46           1                   1    Hermes                                          1     Seemed to have seen the report.                        1
     47           1                   1                                           98       10



     48                               1    MetaBrikins                                     2     Professional design and cost effectiveness             2

     49                               1    Vogue                                           3     Brand quality and more affordable prices               9

     50                               2
     51           2         1         1                                           98       10

     52                               1    vogue                                           3     I always read this magazine                            1

     53           9                   1    Louis Vuitton                                   3                                                   98      10



     54           2                   1    coach                                           3     Ive seen it in the media.                              1
     55           9                   1    Mason Rothschild                                2     What he created is basically a high-end                9
                                                                                                 fashion bag.



     56           1                   1    Chanel                                          3                                                   98      10

     57           9                   1    coach                                           3     I think thats one of the things they all               9
                                                                                                 want to do
     58           9                   3

     59           9                   1                                           98       10
     60           1                   1    Diro                                            3                                                   98      10

     61           9                   3



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                                            Data File for All Interviews Conducted Among Handbag Purchasers

                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     45                  77498               1

     46                  92173               1
     47                  40509               1



     48                  92345               1

     49                  75244               1

     50                  43551               1
     51                  85349               1

     52                  85142               1

     53                  48237               1



     54                  21797               1
     55                  20815               1




     56                  61008               1

     57                  23608               1

     58                  48124               1

     59                  95355               1
     60                  1843                1

     61                  30238               1



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                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND         IPAddress        _Order   _Order    QA       QB      QC        QRegion   QDA   QDB   QDC
     62         7/10/2022 12:23       7/10/2022 12:27   174.215.144.82       2         2       1        2     35211        3        1     2     1

     63         7/10/2022 13:55       7/10/2022 14:03   172.58.223.243      2         1       1        2          6901     2        1     1     1




     64         7/10/2022 18:47       7/10/2022 18:57   162.196.144.241     1         1       2        2      93309        4        1     1     1
     65         7/10/2022 19:48       7/10/2022 19:56    24.107.21.132      2         1       2        2      63146        1        1     1     1
     66         7/10/2022 22:03       7/10/2022 22:09   98.212.200.121      2         1       2        2      60107        1        1     2     1

     67         7/10/2022 23:06       7/10/2022 23:19   174.61.103.185      2         1       1        3      33313        3        1     1     1
     68         7/10/2022 23:24       7/10/2022 23:30    75.64.178.32       2         2       1        3      38114        3        1     2     1
     69         7/11/2022 0:22        7/11/2022 0:34    97.124.62.183       1         2       2        2      85257        4        1     1     1
     70         7/11/2022 0:23        7/11/2022 0:32    24.165.155.217      1         2       1        3      16503        2        1     2     1



     71         7/11/2022 0:33        7/11/2022 0:45     98.194.52.178      2         2       2        3      77494        3        1     2     2

     72         7/11/2022 0:33        7/11/2022 0:46     71.83.156.179      2         1       2        2      90650        4        1     1     1

     73         7/11/2022 0:33        7/11/2022 0:42     76.18.197.157      1         2       1        3      32259        3        1     1     1



     74         7/11/2022 0:33        7/11/2022 0:48    108.84.238.173      2         2       2        2      95355        4        1     1     1



     75         7/11/2022 0:34        7/11/2022 0:46     69.109.245.41      2         1       2        3      32825        3        1     1     2

     76         7/11/2022 0:35        7/11/2022 0:42     173.66.91.233      2         1       1        2      22003        3        1     2     1



     77         7/11/2022 0:35        7/11/2022 0:41    73.135.182.154      2         1       1        3      20772        3        1     2     1




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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     62          1         1          4     1       1        1        1        1        1        2        2       2     1   4    4

     63           1         1         4     1       1        1        1        1         1        2          2    2    1    4     4




     64           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     65           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     66           1         1         4     1       1        1        2        1         1        2          2    2    1    4     1

     67           1         3         4     1       1        2        1        1         1        2          2    2    1    4     1
     68           1         1         4     1       1        1        2        1         1        2          2    2    1    4     1
     69           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     70           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



     71           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     72           1         2         4     1       2        1        1        1         1        2          2    2    1    4     1

     73           1         1         4     1       2        1        1        1         1        2          2    2    1    4     1



     74           1         1         4     1       1        1        1        1         1        2          2    2    1    4     2



     75           1         2         4     1       2        1        1        1         2        2          2    2    1    4     1

     76           1         1         4     1       1        1        2        1         2        2          2    2    1    4     1



     77           1         1         4     1       2        1        1        1         2        2          2    2    1    4     2




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                                                 Data File for All Interviews Conducted Among Handbag Purchasers

                                                                                    Q1_      Q1_      Q1_
 ResponseID    QCELL       QL                     Q1_TEXT                 Q1_DK    Code1    Code2    Code3                 Q2_TEXT                        Q2_DK
     62          1         1     Burkins                                             1                       The company name is listed on the page

     63           1         1    Mason Rothschild. Birkin. Hermes.                   2        1              The article mentioned mason Rothschild.
                                                                                                              Hermes as the parent company of birkin
                                                                                                             is common knowledge.

     64           2         1                                              98        10
     65           2         1    google                                              4                                                                     98
     66           1         1    MetaBirkins                                         2                       Have products that fit their brand design
                                                                                                             philosophy
     67           2         1                                              98        10
     68           1         1                                              98        10
     69           2         1                                              98        10
     70           1         1    GUCCI                                               3                       Because I think they are the most
                                                                                                             forward thinking and their products are
                                                                                                             very new.
     71           2         1    Meta                                                4                       This package is rather special and
                                                                                                             modern.
     72           2         1    Hermes                                              1                       My feeling is that the cut is very similar

     73           2         1    MetaHandbags                                        5                       The materials are very distinctive and
                                                                                                             there are many types to choose from.

     74           1         1    Louis Vuitton                                       3                       Because their packages are very similar
                                                                                                             to web pages. So I think they made it.

     75           1         1    Hermes                                              1                       Very much in line with the design
                                                                                                             concept of Hermes
     76           1         1    Hermes                                              1                       Let me have a very strong attraction to
                                                                                                             the image of the picture is more uniform

     77           1         1    MetaBirkins                                         2                       It is a product that I like and can meet
                                                                                                             my needs



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                Q2_       Q2_                                                                  Q4_     Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT                    Q4_DK   Code1   Code2                    Q5_TEXT                      Q5_DK
     62          3                    2

     63           1                   1    I am unsure if you are implying birkin               1       2                                                    98
                                           and Hermes or if you are speaking on the
                                           mason Rothschild in particular.

     64                               1                                                98      10
     65          10                   2
     66          2                    2

     67                               1                                                98      10
     68                               2
     69                               3
     70           9                   1                                                98      10



     71           2                   2

     72           2                   1    Hermes                                               1             The style is relatively the same

     73           2                   1    NOT                                                  9             Want a high quality, textured product.



     74           2                   1    They definitely made more about the                  9             I think trendsetters must be ahead of
                                           front end of the fashion brand, their                              their time. Ive seen ads designed like this
                                           ideas are very trendy                                              before.
     75           1                   1    Hermes                                               1                                                            98

     76           2                   1    Hermes                                               1             Is the characteristics of this brand and
                                                                                                              represent more different impressions to
                                                                                                              us
     77           1                   1    Rot                                                  9             The unique appearance and packaging
                                                                                                              look makes me want to know more



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                Q5_       Q5_                                                                   Q7_                                                          Q8_
 ResponseID    Code1     Code2        Q6                   Q7_TEXT                     Q7_DK   Code1                   Q8_TEXT                      Q8_DK   Code1
     62                               3

     63          10                   2




     64                               2
     65                               1                                                 98      10
     66                               1                                                 98      10

     67                               2
     68                               1                                                 98      10
     69                               1    Metakoavn                                            9      Seen it elsewhere                                     1
     70                               1    I think the more high-end luxury brands              4                                                    98      10
                                           will sponsor it, because its very forward
                                           thinking.
     71                               1    Hermes                                                1     In the previous time this was able to                  1
                                                                                                       remind me of him.
     72           2                   1    Hermes                                                1                                                   98      10

     73           2                   1                                                 98      10



     74           9                   1    I think fashion and luxury goods are                  9     Luxury brands are particularly forward-                1
                                           made and sponsored.                                         looking and discerning. Thats how I got
                                                                                                       the idea.
     75          10                   2

     76           9                   2



     77           2                   1    Roths                                                 9     The design is very good and the feeling of             2
                                                                                                       carrying it up is very good



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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     62                  35211               1

     63                   6901               1




     64                  93309               1
     65                  63146               1
     66                  60107               1

     67                  33313               1
     68                  38114               1
     69                  85257               1
     70                  16503               1



     71                  77494               1

     72                  90650               1

     73                  32259               1



     74                  95355               1



     75                  32825               1

     76                  22003               1



     77                  20772               1




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                                                Data File for All Interviews Conducted Among Handbag Purchasers

                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress       _Order   _Order     QA       QB      QC     QRegion   QDA   QDB   QDC
     78         7/11/2022 0:35        7/11/2022 0:49     99.189.39.71       1         2        2        2     48341     1        1     2     2

     79         7/11/2022 0:40        7/11/2022 0:51     72.109.143.91      2        1        2        3      29640     3        1     1     1




     80         7/11/2022 0:40        7/11/2022 0:59     73.32.235.169      2        1        2        3      77072     3        1     2     1

     81         7/11/2022 0:40        7/11/2022 1:00     75.24.119.20       1        1        2        3      46060     1        1     1     1

     82         7/11/2022 0:41        7/11/2022 0:47     173.62.30.214      2        1        1        2      12518     2        1     1     1
     83         7/11/2022 0:41        7/11/2022 0:48     97.89.107.193      2        1        1        3      28092     3        1     2     1



     84         7/11/2022 0:41        7/11/2022 1:02     76.190.180.86      2        2        1        2      44077     1        1     1     1

     85         7/11/2022 0:42        7/11/2022 0:49     98.49.133.59       2        1        1        3      17972     2        1     1     1



     86         7/11/2022 0:42        7/11/2022 0:47     76.213.142.56      2        1        1        3      30040     3        1     1     1

     87         7/11/2022 0:42        7/11/2022 1:04     108.67.196.65      2        2        2        2      38401     3        1     1     1



     88         7/11/2022 0:43        7/11/2022 0:52     68.51.198.49       2        1        1        2      49548     1        1     2     1

     89         7/11/2022 0:44        7/11/2022 1:00     71.94.113.129      2        2        2        3      61073     1        1     1     1

     90         7/11/2022 0:44        7/11/2022 0:55      47.13.6.117       1        2        2        3      37110     3        1     1     1




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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     78          1         1          4     1       1        2        2        1        1        2        2       2     1   4    2

     79           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1




     80           1         2         4     1       1        1        2        1         1        2          2    2    1    4     1

     81           1         1         4     1       1        2        2        1         1        2          2    2    1    4     1

     82           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     83           1         1         4     2       1        1        1        1         1        2          2    2    1    4     2



     84           1         2         4     1       1        1        1        2         1        2          2    2    1    4     4

     85           1         1         4     1       1        1        1        1         3        2          2    2    1    4     1



     86           1         1         4     1       2        1        1        1         1        2          2    2    1    4     1

     87           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



     88           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     89           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     90           1         1         4     1       2        1        2        1         1        2          2    2    1    4     1




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                                              Data File for All Interviews Conducted Among Handbag Purchasers

                                                                                   Q1_     Q1_     Q1_
 ResponseID    QCELL       QL                   Q1_TEXT                   Q1_DK   Code1   Code2   Code3                   Q2_TEXT                        Q2_DK
     78          2         1     vogue                                              3                     Because I always read this magazine I
                                                                                                          read in this magazine
     79           2         1                                              98      10




     80           1         1    Hermes                                             1                     Product appearance looks very similar

     81           2         1    Zora                                               3                     It is a mainstream trading platform,

     82           2         1    metahandbags                                       5                     That looks pretty good
     83           1         1    MetaBirkins                                        2                     Bright colors can see the packaging I like



     84           1         1    Mason Rothschile                                   2                     The page I saw had these names written
                                                                                                          in it.
     85           1         1    gucci                                              3                     I think its a good environmental brand



     86           2         1    MetaHandbags                                       5                     Offers quality products that can be
                                                                                                          selected at will.
     87           1         1    I personally think it was the founders             9                     Because I read about the author in the
                                 production team that did the packaging                                   profile

     88           1         1    Hermes                                             1                     The pictures Ive seen look a lot like their
                                                                                                          style.
     89           1         1    I think the companys founding team                 9                     Because its one of the more popular
                                 made the project                                                         virtual platforms these days
     90           2         1    MetaHandbags                                       5                     There are a lot of products that I like that
                                                                                                          fit my aesthetic very well.




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                Q2_       Q2_                                                                    Q4_     Q4_
 ResponseID    Code1     Code2        Q3                    Q4_TEXT                     Q4_DK   Code1   Code2                   Q5_TEXT                   Q5_DK
     78          3                    1    forbes                                                 3             Because I read about this one on Google

     79                               1                                                  98      10




     80           2                   1    Xiao Wang                                              3             Looks high-end atmosphere is very
                                                                                                                quality
     81           9                   2

     82           9                   1    coach                                                  3             This series is very advanced
     83           2                   1    NFTS                                                   9             It is my most concerned about the
                                                                                                                people made to make me more
                                                                                                                interested
     84           3                   1    NFT                                                    9             The news has this information.

     85           9                   1    All kinds of clothes and accessories                   9             Ive read about this on the Internet



     86           9                   2

     87           3                   1    The founders also created virtual art                  9                                                        98
                                           exhibitions

     88           2         1         3

     89           9                   1    It also offers some products about virtual             9             Because THATs what I care about
                                           avatars
     90           2                   2




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                Q5_       Q5_                                                                  Q7_                                                           Q8_
 ResponseID    Code1     Code2        Q6                   Q7_TEXT                    Q7_DK   Code1                    Q8_TEXT                      Q8_DK   Code1
     78          1                    1                                                98       10

     79                               1    I think only people with advanced vision             9     Ordinary people have no vision for                      9
                                           can make or provide things.                                making products, only people with
                                                                                                      advanced ideas can design such products.

     80           2                   1    Dior                                                 3     Let me feel the atmosphere of fashion                   9

     81                               1    OpenSea                                              4     I think it will definitely be owned by this             9
                                                                                                      company
     82           9                   1                                                98      10
     83           9                   1                                                98      10



     84           1                   1    Gucci,Armani                                         3                                                    98      10

     85           1                   1    chanel                                               3     Share the same corporate philosophy                     9
                                                                                                      and environmental philosophy

     86                               2

     87          10                   1                                                98      10



     88                               1    Hermes                                               1     The style and the color shape of the bag,               2
                                                                                                      etc. match my imagination
     89           1                   1                                                98      10

     90                               2




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                                            Data File for All Interviews Conducted Among Handbag Purchasers

                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     78                  48341               1

     79                  29640               1




     80                  77072               1

     81                  46060               1

     82                  12518               1
     83                  28092               1



     84                  44077               1

     85                  17972               1



     86                  30040               1

     87                  38401               1



     88                  49548               1

     89                  61073               1

     90                  37110               1




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                                                                          Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND          IPAddress        _Order   _Order    QA       QB      QC        QRegion   QDA   QDB   QDC
     91         7/11/2022 0:44        7/11/2022 1:01    23.121.196.222       1         2       2        3     32927        3        1     1     1




     92         7/11/2022 0:45        7/11/2022 1:00    208.107.195.150     1         2       1        2      56560        1        1     1     1

     93         7/11/2022 0:45        7/11/2022 0:52    104.231.207.13      1         2       1        3      53225        1        1     1     1
     94         7/11/2022 0:45        7/11/2022 0:53    73.96.181.123       2         2       1        2      97267        4        1     1     1
     95         7/11/2022 0:47        7/11/2022 1:00    162.247.53.86       1         1       2        2      37042        3        1     1     2
     96         7/11/2022 0:48        7/11/2022 1:06    75.162.187.248      1         1       1        3      50311        1        1     1     1
     97         7/11/2022 0:48        7/11/2022 0:53    73.169.133.159      1         1       2        3      98077        4        1     1     2



     98         7/11/2022 0:48        7/11/2022 0:55     73.53.139.191      1         1       2        3      32277        3        1     1     1

     99         7/11/2022 0:48        7/11/2022 0:54    168.149.196.65      1         2       1        3      67039        1        1     1     1
     100        7/11/2022 0:48        7/11/2022 1:02    72.111.72.153       2         2       1        3      92503        4        1     1     1
     101        7/11/2022 0:49        7/11/2022 1:09    73.186.162.184      2         2       1        3      6340         2        1     1     1

     102        7/11/2022 0:49        7/11/2022 0:56     76.220.78.200      2         2       1        3      94565        4        1     1     1
     103        7/11/2022 0:49        7/11/2022 1:02     50.36.126.65       1         1       2        3      49091        1        1     1     1

     104        7/11/2022 0:50        7/11/2022 1:06      98.23.242.2       2         1       1        3      30453        3        1     1     1

     106        7/11/2022 0:51        7/11/2022 0:57    73.123.150.112      2         2       1        2          6512     2        1     1     1

     107        7/11/2022 0:51        7/11/2022 1:02     73.118.41.78       1         2       1        2      36605        3        1     1     1

     108        7/11/2022 0:51        7/11/2022 1:03     174.203.3.228      2         2       2        3      77014        3        1     1     1

     109        7/11/2022 0:51        7/11/2022 1:02     68.98.31.132       1         1       1        3      85041        4        1     2     2
     110        7/11/2022 0:51        7/11/2022 1:07    67.141.252.196      2         2       1        2      28079        3        1     1     1



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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
     91          1         1          4     1       1        1        1        1        1        2        2       2     1   4    1




     92           1         1         4     1       1        1        2        2         1        2          2    2    1    4     1

     93           1         2         4     1       1        1        1        1         2        2          2    2    1    4     1
     94           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     95           1         2         4     1       1        1        1        1         1        2          2    2    1    4     1
     96           1         1         4     1       1        2        1        2         1        2          2    2    1    4     1
     97           1         1         4     1       1        1        2        2         1        2          2    2    1    4     1



     98           1         1         4     1       1        1        2        1         2        2          2    2    1    4     1

     99           1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     100          1         2         4     1       1        1        1        1         1        2          2    2    1    4     4
     101          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     102          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     103          1         2         4     1       1        1        1        3         1        2          2    2    1    4     1

     104          1         1         4     1       1        2        1        1         1        2          2    2    1    4     1

     106          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     107          1         1         4     1       1        1        2        1         1        2          2    2    1    4     1

     108          1         2         4     1       1        2        1        2         1        2          2    2    1    4     1

     109          1         1         4     1       1        1        3        2         1        2          2    2    1    4     1
     110          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



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                                                                                   Q1_      Q1_      Q1_
 ResponseID    QCELL       QL                     Q1_TEXT                Q1_DK    Code1    Code2    Code3                    Q2_TEXT                      Q2_DK
     91          2         1                                              98        10




     92           1         1    OpenSea                                            4                       I think it will be sold on this platform

     93           1         1    Hermes                                             1                       I read about Hermes in the webpage.
     94           2         1    MetaHandbags                                       5                       This is a very fashionable design
     95           2         1    Foundation                                         9                       Because the design fits its image well
     96           1         1    NETS                                               9                       It is very distinctive in its style.
     97           1         1    Hermes and dema                                    1        9              Not only in line with the brands design
                                                                                                            concept but also the design style is very
                                                                                                            similar
     98           2         1    Hermes                                             1                       Advanced design with a sense of quality
                                                                                                            and high cost performance
     99           1         1                                             98        10
     100          2         1    Mason Rothschile，Forbes                            2        3              It is easy to see these names.
     101          1         1    I think it was created by NFT virtual              9                                                                      98
                                 currency
     102          1         1                                             98        10
     103          2         1    zora                                               3                       I think this kind of virtual company will
                                                                                                            sell these products
     104          2         1    FORBES                                             3                       It is very special and is very easily
                                                                                                            recognizable.
     106          1         1    MetaBirkins                                        2                       Personally, I like this superior style very
                                                                                                            much
     107          2         1    Mason Rothschile，Forbes，Vogue                      2        3              They are displayed right there on the
                                                                                                            page.
     108          2         1    SuperRare                                          4                       I know this company. They will have
                                                                                                            artwork designs.
     109          1         1    Forbes，Vogue,Mason Rothschile                      2        3              I can spot their names.
     110          2         1    I think rothschild made it                         2                       Because it was the founder of the brand



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                Q2_       Q2_                                                                  Q4_     Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT                    Q4_DK   Code1   Code2                   Q5_TEXT                      Q5_DK
     91                               1    Only a company or individual with a                  9             Because their ideas are so appealing, its
                                           professional design team can design such                           not something that a single person can
                                           a product.                                                         easily make.



     92           9                   1    OpenSea                                              4             Because it has artwork in its design
                                                                                                              category
     93           3                   1                                                98      10
     94           2                   1    hermes                                              1              I saw a similar design in a magazine
     95           2                   1    OpenSea                                             4              Its a big platform, for sure
     96           2                   1    MASON BOTHSCHILD                                    2              A distinctive style orientation.
     97           2                   2



     98           2                   2

     99                               2
     100         3                    1    Digital Currency                                    9              I searched Google.
     101         10                   1                                                98      10

     102                              1                                                98      10
     103          9                   1    There are also games and design                     9              Ive read about this on the Internet, and I
                                                                                                              think so
     104          9                   1    VOGUE                                                3             Unique color combination and
                                                                                                              atmosphere.
     106          9                   1    chanel                                               3             This design is very rare

     107          9                   1    Virtual Currency                                     9             I searched the internet for information.

     108          1                   2

     109          3                   1    NFT Token                                            9                                                           98
     110          9                   2



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                Q5_       Q5_                                                             Q7_                                                           Q8_
 ResponseID    Code1     Code2        Q6                    Q7_TEXT             Q7_DK    Code1                     Q8_TEXT                     Q8_DK   Code1
     91          9                    1    I think people with dreams sponsor              9     This is an emerging industry in the                     9
                                           investments.                                          future, and it will be better and better in
                                                                                                 the future. At the same time, it can also
                                                                                                 achieve many people with dreams.


     92           2                   3

     93                               1                                           98       10
     94           1         2         1                                           98       10
     95           9                   3
     96           2                   1    METAHANDBAGS                                    5     Meaningful virtual goods.                               9
     97                               2



     98                               2

     99                               1                                           98       10
     100          1                   1    Dior,Chanel                                     3                                                    98      10
     101                              2

     102                              1                                           98       10
     103          1                   1    Axie Marketplace                                4                                                    98      10

     104          2                   1    FIORBES                                         3     Very attractive style positioning.                      2

     106          2                   1                                           98       10

     107          1                   1    Nike                                            3                                                    98      10

     108                              2

     109         10                   1    Chanel                                          3                                                    98      10
     110                              2



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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
     91                  32927               1




     92                  56560               1

     93                  53225               1
     94                  97267               1
     95                  37042               1
     96                  50311               1
     97                  98077               1



     98                  32277               1

     99                  67039               1
     100                 92503               1
     101                 6340                1

     102                 94565               1
     103                 49091               1

     104                 30453               1

     106                  6512               1

     107                 36605               1

     108                 77014               1

     109                 85041               1
     110                 28079               1



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                                                                         Random    Reverse
 ResponseID     SURVEYSTART            SURVEYEND           IPAddress      _Order   _Order     QA       QB      QC     QRegion   QDA   QDB   QDC
    111         7/11/2022 0:51        7/11/2022 0:57     73.139.27.118      1         2        2        2     33016     3        1     1     1
    112         7/11/2022 0:52        7/11/2022 1:02      24.3.196.79       2         2        1        3     15212     2        1     1     1

     113        7/11/2022 0:52        7/11/2022 1:06     75.180.62.51       1        1        1        3      45653     1        1     2     1
     114        7/11/2022 0:52        7/11/2022 1:04     71.167.107.28      2        2        1        3      10705     2        1     2     1

     115        7/11/2022 0:53        7/11/2022 1:07    70.123.164.241      2        1        1        2      78229     3        1     1     1

     116        7/11/2022 0:54        7/11/2022 1:00    63.153.183.118      1        2        1        3      57104     1        1     1     2
     117        7/11/2022 0:54        7/11/2022 1:03    73.191.232.220      1        1        1        3      49442     1        1     2     1
     118        7/11/2022 0:54        7/11/2022 1:11     76.122.48.37       2        2        2        3      32225     3        1     1     2
     119        7/11/2022 0:54        7/11/2022 0:59    73.224.33.248       1        2        1        3      32226     3        1     2     1
     120        7/11/2022 0:55        7/11/2022 1:05    47.203.152.125      1        2        1        3      33619     3        1     2     1

     121        7/11/2022 0:56        7/11/2022 1:06     98.20.182.196      2        2        2        2      32054     3        1     3     1



     122        7/11/2022 0:57        7/11/2022 1:07    173.88.183.136      1        1        1        3      44231     1        1     2     1

     123        7/11/2022 0:57        7/11/2022 1:07     173.92.149.3       1        2        1        2      28277     3        1     2     1



     124        7/11/2022 0:57        7/11/2022 1:06    174.134.36.100      2        2        1        3      93309     4        1     2     2
     125        7/11/2022 0:58        7/11/2022 1:03    108.16.101.185      2        1        1        3      19904     3        1     1     2



     128        7/12/2022 12:43       7/12/2022 13:00    68.201.48.12       1        2        1        4      79912     3        1     2     1

     129        7/12/2022 21:14       7/12/2022 21:19   172.119.84.111      1        2        1        2      91745     4        1     2     2
     130        7/12/2022 21:19       7/12/2022 21:25   73.35.154.169       1        1        1        2      98001     4        1     1     1
     132        7/12/2022 23:25       7/12/2022 23:32   73.104.139.159      1        1        1        2      32256     3        1     2     1
     133        7/13/2022 4:59        7/13/2022 5:04     97.97.85.160       2        2        1        3      93314     4        1     2     2
     135        7/13/2022 7:49        7/13/2022 7:56    72.73.113.190       2        1        1        3      4240      2        1     1     1
     136        7/13/2022 8:37        7/13/2022 8:47    216.246.218.29      2        1        1        4      38827     3        1     3     1


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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
    111          2         2          4     2       1        1        2        1        1        2        2       2     1   4    2
    112          1         1          4     1       1        1        1        1        1        2        2       2     1   4    1

     113          1         2         4     1       2        2        1        2         1        2          2    2    1    4     4
     114          1         2         4     1       1        1        2        1         2        2          2    2    1    4     1

     115          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     116          1         2         4     1       1        2        1        1         1        2          2    2    1    4     1
     117          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     118          1         2         4     1       1        1        1        2         2        2          2    2    1    4     1
     119          2         2         4     1       1        1        1        2         2        2          2    2    1    4     4
     120          1         1         4     1       1        1        1        1         2        2          2    2    1    4     1

     121          1         1         4     1       1        1        1        3         1        2          2    2    1    4     1



     122          1         1         4     1       1        1        3        1         1        2          2    2    1    4     1

     123          1         2         4     1       1        1        1        1         1        2          2    2    1    4     1



     124          1         2         4     1       1        2        1        2         1        2          2    2    1    4     1
     125          1         1         4     1       1        1        2        1         2        2          2    2    1    4     1



     128          2         2         4     1       1        1        1        1         1        2          2    2    1    4     2

     129          1         1         4     1       1        2        1        1         1        2          2    2    1    4     1
     130          1         1         4     1       1        1        1        1         2        2          2    2    1    4     1
     132          1         2         4     1       1        1        2        1         1        2          2    2    1    4     1
     133          1         1         4     1       1        3        1        1         1        2          2    2    1    4     1
     135          1         1         4     1       1        1        1        1         1        2          2    2    1    4     2
     136          1         3         4     1       2        2        2        1         2        2          2    2    1    4     1


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                                                                                    Q1_     Q1_     Q1_
 ResponseID    QCELL       QL                     Q1_TEXT                  Q1_DK   Code1   Code2   Code3                    Q2_TEXT                    Q2_DK
    111          1         1                                                98       10
    112          2         1     METEBIRKINS                                         2                     Its stylistic characteristics can be very
                                                                                                           clearly seen.
     113          2         1    vogue                                               3                       Because I read about it on this page
     114          2         1    Hermes                                              1                     Very stylish and can bring good benefits

     115          1         1    YOUR                                                9                     They have a good online store system

     116          2         1    Hermes                                             1                      I think the idea of design is the same
     117          1         1                                               98      10
     118          1         1    Mason Roschild                                     2                                                                   98
     119          1         1                                               98      10
     120          1         1    MetaBirkins                                        2                      A very high-class looking brand electric
                                                                                                           wholesale
     121          2         1    Axie Marketplace                                    4                     Because this is a virtual currency the
                                                                                                           company will come up with some of
                                                                                                           these categories
     122          1         1    MetaBirkins                                         2                     The people who supply these items can
                                                                                                           also offer other brands
     123          1         1                                               98      10



     124          2         1    looksrares                                          4                     Because I had previously
     125          2         1    Hermes                                              1                     In line with the design concept of the
                                                                                                           brand and the style is relatively similar

     128          2         1    Dont know not familiar with this brand.            10                                                                  98

     129          2         1                                               98      10
     130          1         1                                               98      10
     132          1         1    amazon.com                                         4                                                                   98
     133          1         1    vogue                                              3                                                                   98
     135          1         1    MetaBirkins                                        2                      web address, Name on Page
     136          2         1                                               98      10


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                Q2_       Q2_                                                                 Q4_     Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT                   Q4_DK   Code1   Code2                   Q5_TEXT                    Q5_DK
    111                               1                                               98       10
    112           2                   1    NETS                                                9             VOGUE

     113          3                   1    looksrare                                           4                                                         98
     114          9                   1    Hermes                                              1             High-grade feeling and cost-effective as
                                                                                                             well as collectible value
     115          9                   1    Theyll provide wallets, cell phone bags             9             Manufacturers make different bags

     116          2                   2
     117                              1                                               98      10
     118         10                   2
     119                              1                                               98      10
     120          2                   1    HERMÈS                                             1                                                          98

     121          9                   1    There will also be some souvenirs                   9             Ive seen some of these products on
                                                                                                             social media

     122          9                   1    They also provide handbags, backpacks,              9             Because manufacturers make different
                                           purses                                                            bags
     123                              1                                               98      10



     124          1                   1                                               98      10
     125          2                   2



     128         10                   2

     129                              1                                               98      10
     130                              2
     132         10                   1                                               98      10
     133         10                   2
     135         3                    2
     136                              2


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                Q5_       Q5_                                                                     Q7_                                                   Q8_
 ResponseID    Code1     Code2        Q6                    Q7_TEXT                      Q7_DK   Code1                     Q8_TEXT             Q8_DK   Code1
    111                               1                                                   98       10
    112           9                   1    FORBES                                                  3     Clearly indicates its stylistic                 2
                                                                                                         characteristics.
     113         10                   1                                                   98      10
     114         9                    2

     115          9                   2

     116                              2
     117                              1                                                   98      10
     118                              1                                                   98      10
     119                              1                                                   98      10
     120         10                   1                                                   98      10

     121          1                   2



     122          9                   2

     123                              1    I think people who are very idealistic and              9     People with ideals are more willing             9
                                           have a vision for the future will invest in                   because they have more ideas.
                                           sponsorship.
     124                              2
     125                              2



     128                              1                                                   98      10

     129                              1                                                   98      10
     130                              1                                                   98      10
     132                              1                                                   98      10
     133                              1    metabirkins                                            2                                             98      10
     135                              3
     136                              2


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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
    111                  33016               1
    112                  15212               1

     113                 45653               1
     114                 10705               1

     115                 78229               1

     116                 57104               1
     117                 49442               1
     118                 32225               1
     119                 32226               1
     120                 33619               1

     121                 32054               1



     122                 44231               1

     123                 28277               1



     124                 93309               1
     125                 19904               1



     128                 79912               1

     129                 91745               1
     130                 98001               1
     132                 32256               1
     133                 93314               1
     135                 4240                1
     136                 38827               1


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                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND         IPAddress        _Order   _Order    QA       QB      QC        QRegion   QDA   QDB   QDC
    138         7/13/2022 18:18       7/13/2022 18:23   174.242.223.49       1         1       1        2     90065        4        1     1     1

     139        7/13/2022 20:35       7/13/2022 20:45    69.249.145.77      1         2       1        2      19148        2        1     1     1

     140        7/13/2022 21:20       7/13/2022 21:38    68.193.83.239      1         2       1        2      11212        2        1     1     1

     142        7/13/2022 22:35       7/13/2022 22:45    76.178.72.149      1         1       1        3      91606        4        1     2     1

     144        7/14/2022 1:44        7/14/2022 1:50     108.2.102.203      2         2       1        3      19121        2        1     2     1
     145        7/14/2022 2:00        7/14/2022 2:08     73.221.217.94      1         1       1        2      98146        4        1     2     1

     146        7/14/2022 2:09        7/14/2022 2:18    184.152.178.247     1         1       1        3      11426        2        1     1     1

     147        7/14/2022 2:14        7/14/2022 2:25    209.58.130.130      1         2       1        3      94597        4        1     1     1

     148        7/14/2022 2:17        7/14/2022 2:22     67.87.156.202      2         2       1        3      7202         2        1     2     1
     149        7/14/2022 2:46        7/14/2022 2:51     172.90.133.25      2         2       1        3      90221        4        1     2     1
     150        7/14/2022 2:47        7/14/2022 2:58     70.105.247.77      1         2       1        2      3458         2        1     2     1

     151        7/14/2022 2:51        7/14/2022 3:11     67.84.41.162       1         1       1        3          6460     2        1     1     1

     152        7/14/2022 3:07        7/14/2022 3:17     72.253.16.24       1         2       1        2      96706        4        1     1     1
     153        7/14/2022 3:09        7/14/2022 3:14    148.75.224.158      2         1       1        3      11776        2        1     2     1

     154        7/14/2022 3:24        7/14/2022 3:31    172.58.228.114      1         1       1        3      10032        2        1     2     2
     155        7/14/2022 3:32        7/14/2022 3:36     98.97.36.77        1         1       1        3      98160        4        1     1     1
     156        7/14/2022 3:52        7/14/2022 3:57    73.178.186.20       2         2       1        3      7066         2        1     1     1
     157        7/14/2022 5:25        7/14/2022 6:03    72.160.120.215      1         2       1        2      98675        4        1     1     1



     158        7/14/2022 5:27        7/14/2022 6:22     174.25.1.161       2         2       1        2      98675        4        1     1     1



     159        7/14/2022 5:36        7/14/2022 5:58    174.21.176.163      2         2       1        2      98160        4        1     1     1


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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
    138          1         1          4     1       1        1        2        1        1        2        2       2     1   4    1

     139          1         2         4     1       1        1        2        2         1        2          2    2    1    4     1

     140          1         1         4     1       1        1        1        2         1        2          2    2    1    4     4

     142          1         2         4     1       1        1        1        1         1        2          2    2    1    4     1

     144          1         1         4     1       1        1        2        1         2        2          2    2    1    4     1
     145          1         1         4     1       2        1        1        1         2        2          2    2    1    4     1

     146          1         1         4     1       2        1        1        1         1        2          2    2    1    4     1

     147          1         1         4     1       2        1        1        1         1        2          2    2    1    4     1

     148          1         1         4     1       1        1        2        1         2        2          2    2    1    4     1
     149          1         1         4     1       1        1        1        1         2        2          2    2    1    4     1
     150          1         2         4     1       1        3        1        1         1        2          2    2    1    4     1

     151          1         2         4     2       1        2        1        1         1        2          2    2    1    4     1

     152          1         1         4     1       1        1        1        2         1        2          2    2    1    4     1
     153          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1

     154          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     155          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     156          1         2         4     1       1        1        1        2         1        2          2    2    1    4     1
     157          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



     158          1         2         4     1       1        1        1        1         1        2          2    2    1    4     1



     159          1         1         4     1       1        1        1        1         1        2          2    2    1    4     2


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                                                                                      Q1_     Q1_     Q1_
 ResponseID    QCELL       QL                     Q1_TEXT                    Q1_DK   Code1   Code2   Code3                      Q2_TEXT                   Q2_DK
    138          2         1     I am not entirely sure what I am looking              10                    Its just kind of confusing if I am being
                                 for.                                                                        honest.
     139          2         1    MetaHandbags                                          5                     Because it is the brand, it is produced by
                                                                                                             him
     140          1         1    Forbes and vogue are the companies                    3                     From what I read in the description on
                                 responsible                                                                 the site
     142          1         1    Facebook                                              4                     This brand is a great contributor in terms
                                                                                                             of technology
     144          2         1    MetaBirkins                                           2                                                                   98
     145          2         1    MetaBirkins                                           2                     See the products and packaging I like

     146          1         1    MetaBirkins                                           2                     Very design sense, looks very advanced.

     147          2         1    MateHandbags                                          5                     Very distinctive, each with a very
                                                                                                             attractive.
     148          1         1    MetaBirkins                                           2                     Looks very similar to that brand style
     149          1         1    MetaBirkins                                           2                     The method looks very similar
     150          2         1    Mason Rothschild                                      2                     Because he is the one who designed this
                                                                                                             bag
     151          2         1    Hermes                                                1                     Looks very good quality design very
                                                                                                             upscale
     152          2         1                                                 98      10
     153          1         1    Hermes                                               1                      Seeing these pictures reminds me of its
                                                                                                             products.
     154          1         1                                                 98      10
     155          2         1                                                 98      10
     156          1         1                                                 98      10
     157          1         1    Artist Mason N Rothschild has released a             2                                                                    98
                                 luxurious NFT, featuring faux fur.

     158          2         1    Artist Mason Rothschild unveiled these                2                     I quite agree with the consciousness of
                                 faux leather handbags at Art Basel Miami.                                   zero animal fur luxury.

     159          1         1                                                 98      10


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                Q2_       Q2_                                                             Q4_      Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT              Q4_DK    Code1    Code2                   Q5_TEXT                 Q5_DK
    138          10                   2

     139          9                   1    vogue                                           3                                                       98

     140          3                   1                                           98       10

     142          9                   2

     144         10                   1                                           98       10
     145         9                    1    No fur                                          9              The design is very good looks very
                                                                                                          attractive
     146          2                   2

     147          2                   2

     148          2                   2
     149          9                   2
     150          9                   2

     151          2                   1    Dior                                            3              The design is very elegant looks good
                                                                                                          texture
     152                              1                                           98       10
     153          2         1         3

     154                              2
     155                              2
     156                              1                                           98       10
     157         10                   2



     158          9                   1    Art School Dropout T-shirt                      3                                                       98



     159                              2


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                Q5_       Q5_                                                             Q7_                                                        Q8_
 ResponseID    Code1     Code2        Q6                  Q7_TEXT               Q7_DK    Code1                   Q8_TEXT                    Q8_DK   Code1
    138                               2

     139         10                   1                                           98       10

     140                              1                                           98       10

     142                              1    Google                                          4                                                 98      10

     144                              1                                           98       10
     145          2                   1                                           98       10

     146                              2

     147                              2

     148                              1    MetaBirkins                                     2                                                 98      10
     149                              1    MietaBirkins                                    2                                                 98      10
     150                              1    vogue                                           3     The NFT of this bag is provided by vogue            9

     151          2                   1    Hermes                                          1     Both have a modern design is very                    2
                                                                                                 attractive to me
     152                              1                                           98       10
     153                              3

     154                              1                                           98       10
     155                              1                                           98       10
     156                              1                                           98       10
     157                              2



     158         10                   2



     159                              1                                           98       10


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                Q8_
 ResponseID    Code2      Q9          Q10   Q11
    138                  90065               1

     139                 19148               1

     140                 11212               1

     142                 91606               1

     144                 19121               1
     145                 98146               1

     146                 11426               1

     147                 94597               1

     148                 7202                1
     149                 90221               1
     150                 3458                1

     151                  6460               1

     152                 96706               1
     153                 11776               1

     154                 10032               1
     155                 98160               1
     156                 7066                1
     157                 98675               1



     158                 98675               1



     159                 98160               1


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                                                Data File for All Interviews Conducted Among Handbag Purchasers

                                                                          Random    Reverse
 ResponseID      SURVEYSTART            SURVEYEND         IPAddress        _Order   _Order    QA       QB      QC     QRegion   QDA   QDB   QDC
    160         7/14/2022 6:02        7/14/2022 6:36    174.31.97.100        2         2       1        2     99223     4        1     1     1
    161         7/14/2022 18:33       7/14/2022 18:47   69.129.187.107       2         2       1        2     4961      2        1     1     1



     162        7/14/2022 18:49       7/14/2022 18:58    66.189.31.231      1         1       1        2      1543      2        1     2     1
     163        7/15/2022 1:51        7/15/2022 1:54      67.1.165.56       2         2       1        2      85710     4        1     1     1
     164        7/15/2022 2:07        7/15/2022 2:12     173.72.11.172      1         1       1        2      8550      2        1     2     1

     165        7/15/2022 2:08        7/15/2022 2:13     72.128.34.230      2         1       1        2      66111     1        1     1     1

     166        7/15/2022 19:54       7/15/2022 20:00    24.91.237.122      2         1       1        2      2301      2        1     2     2
     167        7/15/2022 20:28       7/15/2022 20:39    50.34.179.242      2         2       1        2      98223     4        1     1     2



     169        7/15/2022 20:40       7/15/2022 20:48    73.209.1.170       1         1       1        2      60076     1        1     1     1
     170        7/15/2022 20:45       7/15/2022 20:54    71.93.137.77       1         1       1        2      91730     4        1     2     1
     171        7/15/2022 20:46       7/15/2022 20:52   99.95.133.196       1         1       1        2      60608     1        1     1     1
     172        7/15/2022 20:54       7/15/2022 20:59    184.59.6.153       1         2       1        2      53211     1        1     1     1
     176        7/15/2022 23:05       7/15/2022 23:12   98.155.204.122      1         1       1        2      96825     4        1     2     1
     178        7/16/2022 0:59        7/16/2022 1:12     67.42.91.113       1         1       1        2      98338     4        1     1     2

     179        7/16/2022 1:29        7/16/2022 1:36    108.218.226.139     2         1       1        2      92119     4        1     2     1
     180        7/17/2022 8:43        7/17/2022 8:51    174.193.131.181     2         1       1        2      80005     4        1     1     1
     181        7/17/2022 10:16       7/17/2022 10:32    172.58.221.86      1         1       1        3      2129      2        1     1     1



     184        7/17/2022 18:38       7/17/2022 18:50    71.231.64.151      1         1       1        2      98247     4        1     2     1



     185        7/17/2022 20:09       7/17/2022 20:21    67.170.61.142      2         2       1        2      98106     4        1     2     2




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 ResponseID     QDD       QDE         QE   QFA     QFB      QFC      QFD      QFE      QFF      QGA      QGB     QGC   QH   QI   QJ
    160          1         1          4     1       1        1        1        1        1        2        2       2     1   4    1
    161          1         1          4     1       1        2        2        1        1        2        2       2     1   4    4



     162          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     163          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     164          1         2         4     1       1        1        2        1         2        2          2    2    1    4     1

     165          1         1         4     1       2        1        1        1         1        2          2    2    1    4     1

     166          1         2         4     1       1        1        1        2         1        2          2    2    1    4     1
     167          1         1         4     1       1        1        2        2         1        2          2    2    1    4     1



     169          1         1         4     1       1        1        1        2         1        2          2    2    1    4     1
     170          1         1         4     1       1        2        1        3         2        2          2    2    1    4     1
     171          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     172          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1
     176          1         2         4     1       1        1        2        2         1        2          2    2    1    4     1
     178          1         1         4     1       1        1        2        2         1        2          2    2    1    4     1

     179          1         1         4     1       1        1        1        1         2        2          2    2    1    4     1
     180          1         1         4     1       1        1        1        1         1        2          2    2    1    4     2
     181          1         1         4     1       1        1        1        1         1        2          2    2    1    4     1



     184          3         2         4     1       1        1        1        1         1        2          2    2    1    4     1



     185          1         1         4     1       1        1        1        1         1        2          2    2    1    4     2




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                                                                                  Q1_      Q1_      Q1_
 ResponseID    QCELL       QL                   Q1_TEXT                  Q1_DK   Code1    Code2    Code3                     Q2_TEXT                        Q2_DK
    160          2         1                                              98       10
    161          2         1     I would say that these bags would                 3                       Because of trendy wild colors feel very
                                 appear something on like Shein.com or                                     young funny whimsical like the sites
                                 Prettylittlething.com                                                     unsaid that just suits them.
     162          1         1                                             98       10
     163          2         1                                             98       10
     164          1         1    MetaBirkins                                       2                       Fine workmanship and high quality with
                                                                                                           high cost performance
     165          2         1    MetaHandbags                                      5                       Made with high quality materials, very
                                                                                                           unique.
     166          1         1                                             98       10
     167          2         1    GoDaddy                                           4                       They are a company that can provide
                                                                                                           quality web design and is very
                                                                                                           trustworthy
     169          1         1    OpenSea                                           4                       I think its a virtual app
     170          1         1    BIRKIN                                            1                       They have many styles of bags
     171          1         1    MetaBirkins                                       2                                                                         98
     172          2         1    MetaBirkins                                       2                       Its very fashionable
     176          2         1    Mason Rothschild and Forbes                       2        3              I see their name on this website page.
     178          2         1    Hermes                                            1                       I think this bag prototype is a product of
                                                                                                           the Hermes brand.
     179          1         1                                             98       10
     180          1         1    meta birkins                                      2                       name brand
     181          2         1    Looks Rare (NFT)                                  4                       It states it in the description. It is created
                                                                                                           by Rothschild but it is sold as an NFT on
                                                                                                           LooksRare.
     184          1         1    metabirkins                                       2                       The title of the picture was very clear
                                                                                                           and let me know which one it was.

     185          1         1    OpenSea                                           4                       It is a professional platform for these
                                                                                                           products will certainly be sold




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                Q2_       Q2_                                                               Q4_     Q4_
 ResponseID    Code1     Code2        Q3                   Q4_TEXT                 Q4_DK   Code1   Code2                    Q5_TEXT                      Q5_DK
    160                               2
    161           2                   2



     162                              2
     163                              2
     164          2                   2

     165          2                   2

     166                              3
     167          9                   2



     169         9                    1    Provide some virtual products                    9              I saw it on some social media
     170         2                    1                                             98      10
     171         10                   2
     172         9                    1    gucci                                             3             I saw something similar
     176         3                    1    Wallets, digital currency, magazines.             9             I check these out online.
     178         9                    2

     179                              2
     180          9                   1    dress                                             9             name brand
     181          3                   1    MetaHandbags                                      5             The description states it. I know it Is NOT
                                                                                                           affiliated with Hermes

     184          3                   1    Card                                              9             The rapid development of the Internet
                                                                                                           has made the information above faster.

     185          9                   2




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                Q5_       Q5_                                                              Q7_                                                          Q8_
 ResponseID    Code1     Code2        Q6                  Q7_TEXT                 Q7_DK   Code1                   Q8_TEXT                      Q8_DK   Code1
    160                               2
    161                               1    I think the sites name was Darcy.com             9     Because it said that under the pictures of             3
                                                                                                  the handbags..

     162                              2
     163                              2
     164                              2

     165                              2

     166                              3
     167                              1    Google                                           4     They are a trustworthy partner and their               9
                                                                                                  sponsored web pages will be very high
                                                                                                  end
     169          1                   2
     170                              1    MOTHERS                                         9      Their bags are very delicate                           2
     171                              1    metabirkins                                     2      An innovative fashion concept                          9
     172          1                   1                                            98      10
     176          1                   1                                            98      10
     178                              1    Mason Rothschild                                2                                                    98      10

     179                              1                                            98      10
     180          3                   3
     181          3                   2



     184          9                   1                                            98      10



     185                              2




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                                            Data File for All Interviews Conducted Among Handbag Purchasers

                Q8_
 ResponseID    Code2      Q9          Q10   Q11
    160                  99223               1
    161                  4961                1



     162                 1543                1
     163                 85710               1
     164                 8550                1

     165                 66111               1

     166                 2301                1
     167                 98223               1



     169                 60076               1
     170                 91730               1
     171                 60608               1
     172                 53211               1
     176                 96825               1
     178                 98338               1

     179                 92119               1
     180                 80005               1
     181                 2129                1



     184                 98247               1



     185                 98106               1




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                                                 Data Map for All Interviews Conducted Among Handbag Purchasers


                                                                              Variable Information
Variable                              Label
ResponseID                            Respondent ID
SURVEYSTART                           Survey start date
SURVEYEND                             Survey end date
IPAddress                             IP Address
Random_Order                          Yes-no order
Reverse_Order                         Questionnaire order-reverse order
QA                                    What is your gender? (SELECT ONE RESPONSE)
QB                                    What is your age? (SELECT ONE RESPONSE)
QC                                    Please enter the ZIP code of your home address.
QRegion                               Region
QDA                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A handbag
QDB                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A belt
QDC                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A pair of shoes
QDD                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A wallet
QDE                                   Which, if any, of the following types of items are you likely to purchase in the next 12 months? For each type of item, please answer yes,
                                      no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF ITEM) - A watch
QE                                    Which, if any, of the following ranges best reflects the most you would be willing to spend to purchase a handbag? (SELECT ONE
                                      RESPONSE)
QFA                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about fashion
QFB                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about artwork
QFC                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about personal finance
QFD                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about sports
QFE                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about wellness




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                                                                               Variable Information
Variable                              Label
QFF                                   Which, if any, of the following types of content do you typically read online? For each type of content, please answer yes, no, or you
                                      don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF CONTENT) - Content about entertainment
QGA                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - An advertising or public relations agency
QGB                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - A marketing research agency
QGC                                   Do you or does any member of your household work for any of the following types of companies? For each type of company, please
                                      answer yes, no, or you don’t know. (SELECT ONE RESPONSE FOR EACH TYPE OF COMPANY) - A company that manufactures handbags
QH                                    How many surveys about handbags have you completed in the past month? (SELECT ONE RESPONSE)
QI                                    For quality control purposes, please select the number seven from the list below. (SELECT ONE RESPONSE)
QJ                                    Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)
QCELL                                 Cell Assignment
QL                                    Did you see the webpage clearly? (SELECT ONE RESPONSE)
Q1_TEXT                               What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as
                                      possible. If you don’t know, please select “I don’t know.” - Text
Q1_DK                                 What company, companies, person, or people do you think makes or provides the items shown on the webpage? Please be as specific as
                                      possible. If you don’t know, please select “I don’t know.” - I don't know
Q1_Code1                              Verbatim code
Q1_Code2                              Verbatim code
Q1_Code3                              Verbatim code
Q2_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q2_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q2_Code1                              Verbatim code
Q2_Code2                              Verbatim code
Q3                                    Are you aware of any other brands or products made or provided by whoever makes or provides the items shown on the webpage?
                                      Please answer yes, no, or you don’t know. (SELECT ONE RESPONSE)
Q4_TEXT                               What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage?
                                      Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q4_DK                                 What other brands or products do you think are made or provided by whoever makes or provides the items shown on the webpage?
                                      Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q4_Code1                              Verbatim code
Q4_Code2                              Verbatim code
Q5_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text



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                                                                              Variable Information
Variable                              Label
Q5_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q5_Code1                              Verbatim code
Q5_Code2                              Verbatim code
Q6                                    Do you think that whoever makes or provides the items shown on the webpage… (SELECT ONE RESPONSE)
Q7_TEXT                               What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on
                                      the webpage? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q7_DK                                 What other company, person or brand do you believe sponsors, authorizes, or approves whoever makes or provides the items shown on
                                      the webpage? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q7_Code1                              Verbatim code
Q8_TEXT                               What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - Text
Q8_DK                                 What makes you think that? Please be as specific as possible. If you don’t know, please select “I don’t know.” - I don't know
Q8_Code1                              Verbatim code
Q8_Code2                              Verbatim code
Q9                                    Please re-enter the ZIP code of your home address.
Q10                                   To verify, please re-enter the ZIP code of your home address.
Q11                                   Please read the statement that follows and select either “I agree” or “I disagree.” If any portion of the statement is not true, please
                                      select “I disagree.”
                                      STATEMENT
                                      I am the person who was invited to participate in this survey. I completed this survey myself, without assistance or advice from any other
                                      person or source, and in accordance with the instructions provided in the survey. The answers I have provided are truthful expressions of
                                      my situation and opinions.




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                                                 Data Map for All Interviews Conducted Among Handbag Purchasers


                                                                                  Variable Values
Value                                 Label
Random_Order              1           yes, no
                          2           no, yes
Reverse_Order             1           Questionnaire order
                          2           Reverse order
QA                        1           Female
                          2           Male
                          3           Non-binary or other
                          4           Prefer not to answer
QB                        1           17 years old or younger
                          2           18 to 34 years old
                          3           35 to 54 years old
                          4           55 years old or older
                          5           Prefer not to answer
QC                                    Please enter your response
QRegion                   1           Midwest
                          2           Northeast
                          3           South
                          4           West
QDA                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDB                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDC                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDD                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know
QDE                       1           Yes, I am likely to purchase this type of item in the next 12 months
                          2           No, I am not likely to purchase this type of item in the next 12 months
                          3           I don’t know



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                                                                                  Variable Values
Value                                 Label
QE                        1           Less than $1,000
                          2           $1,000 - $4,999
                          3           $5,000 - $9,999
                          4           $10,000 or more
                          5           I don’t know
QFA                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QFB                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QFC                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QFD                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QFE                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QFF                       1           Yes, I do typically read this type of content online
                          2           No, I do not typically read this type of content online
                          3           I don’t know
QGA                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know
QGB                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know
QGC                       1           Yes, someone in my household works for this type of company
                          2           No, no one in my household works for this type of company
                          3           I don’t know




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                                                Data Map for All Interviews Conducted Among Handbag Purchasers


                                                                               Variable Values
Value                                 Label
QH                        1           None
                          2           1 to 2
                          3           3 or more
                          4           I don’t know
QI                        1           1
                          2           3
                          3           5
                          4           7
                          5           9
QJ                        1           Desktop computer
                          2           Laptop computer
                          3           Tablet
                          4           Smartphone
                          5           Some other type of device not listed above
                          6           I don’t know
QCELL                     1           Cell 1 Test Website MetaBirkins
                          2           Cell 2 Control Website MetaHandbags
QL                        1           Yes, I did see the webpage clearly
                          2           No, I did not see the webpage clearly
                          3           I don’t know
Q1_TEXT                               Please enter your response
Q1_DK                     98          I don’t know
Q2_TEXT                               Please enter your response
Q2_DK                     98          I don’t know
Q3                        1           Yes, I am aware of other brands or products made or provided by whoever makes or provides these items
                          2           No, I am not aware of other brands or products made or provided by whoever makes or provides these items
                          3           I don’t know
Q4_TEXT                               Please enter your response
Q4_DK                     98          I don’t know
Q5_TEXT                               Please enter your response
Q5_DK                     98          I don’t know




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                                                Data Map for All Interviews Conducted Among Handbag Purchasers


                                                                              Variable Values
Value                                 Label
Q6                        1           Is sponsored, authorized, or approved by another company, person or brand
                          2           Is not sponsored, authorized, or approved by another company, person or brand
                          3           I don’t know
Q7_TEXT                               Please enter your response
Q7_DK                     98          I don’t know
Q8_TEXT                               Please enter your response
Q8_DK                     98          I don’t know
Q9                                    Please enter your response
Q10                                   Please enter your response
Q11                       1           I agree
                          2           I disagree




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